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                                                                  +1 973 360 9831 fax




    Via ECF

    May 1, 2024

    Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court- District of NJ
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Court Room 7W
    Trenton, NJ 08608
    Re:       In re: Johnson & Johnson Talcum Powder Products
              Marketing, Sales Practices and Products Liability Litigation -
              MDL 2738
    Dear Magistrate Judge Singh:
           Pursuant to the Case Management Order entered on February 13, 2024
   (ECF No. 29032), outlining procedures for adjudication of cases where the plaintiff
   fails to comply with the Court Orders on case specific fact discovery and the
   Plaintiff Profile Form (“PPF”), please see the attached lists of non-compliant cases.
   Counsel for these plaintiffs have received notice through MDL Centrality (if they are
   registered there as required by Court Orders) and e-mail (whether registered or
   not).

           Enclosed are two separate lists of cases. The first attachment lists 2018-
   2019 cases, and deficient 2023 cases, which were listed on the April 1, 2024, PPF
   Report, that remain deficient in providing a PPF. Defendants will file an Order to
   Show Cause on June 1, 2024, should any of those 2018, 2019, and 2023 noted
   cases continue to fail to provide a PPF. The second attachment lists, for the first
   time, 2020 cases which are deficient in providing a PPF. Defendants will file an
   Order to Show Cause on July 1, 2024, should any of those 2020 cases continue to
   fail to provide a PPF.
             Thank you for your consideration of these matters.
CaseHon. Rukhsanah L. Singh, U.S. Magistrate
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                                                 Respectfully,

                                                /s/ Susan M. Sharko
                                                Susan M. Sharko
                                                Sean C. Garrett
                                                FAEGRE DRINKER BIDDLE & REATH LLP

    SMS/scg
    Encl: (2)
    Cc: Leigh O’Dell, Esq. (via e-mail)
        Michelle Parfitt, Esq., (via e-mail)
        All counsel of record (via ECF)
            May 1, 2024, 2018-2019
Case 3:16-md-02738-MAS-RLS         and 32127
                             Document  2023 Cases
                                             FiledDeficient
                                                  05/01/24 in Serving
                                                            Page      PPFPageID: 181420
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  This is the second month these cases have been listed. Failure to cure the deficiencies will result in the case being the
                                   subject of an Order to Show Cause on June 1, 2024
 Row # Case Name                                      Plaintiff Firm(s)                                 Current Cause #
      1        McWhite, Kamonica                                   Ahdoot & Wolfson, PC                   3:23-cv-20379
      2           Walker, Brenda                                   Andrus Wagstaff, P.C.                  3:18-cv-01902
      3          Campbell, Sheree                                  Andrus Wagstaff, P.C.                  3:19-cv-00655
      4            Plunkett, Shari                                 Andrus Wagstaff, P.C.                  3:19-cv-07718
      5            Liston, George                                  Andrus Wagstaff, P.C.                  3:19-cv-14590
      6           Choate, Shawn                                      Ashcraft & Gerel                     3:18-cv-00047
      7        Leatherwood, Elaine                                   Ashcraft & Gerel                     3:18-cv-00070
      8         Longmire, Ruthie E.                                  Ashcraft & Gerel                     3:18-cv-00072
      9               Rose, John                                     Ashcraft & Gerel                     3:18-cv-00092
    10             Smith, Charles                                    Ashcraft & Gerel                     3:18-cv-00094
    11              Hart, Sandra                                     Ashcraft & Gerel                     3:18-cv-00122
    12           Washington, Joy                                     Ashcraft & Gerel                     3:18-cv-01354
    13           Struthers, Nancy                                    Ashcraft & Gerel                     3:18-cv-04722
    14            Iverson, Gerald                                    Ashcraft & Gerel                     3:18-cv-09157
    15           Bettwy, Elizabeth                                   Ashcraft & Gerel                     3:18-cv-10551
    16            Lackey, Barbara                                    Ashcraft & Gerel                     3:18-cv-11211
    17           Williams, Derrick                                   Ashcraft & Gerel                     3:18-cv-11606
    18            Walters, Ronald                                    Ashcraft & Gerel                     3:18-cv-11752
    19          Gardner, William B                                   Ashcraft & Gerel                     3:18-cv-11837
    20         Doherty, Laura Lynn                                   Ashcraft & Gerel                     3:18-cv-11876
    21               Beck, Kathy                                     Ashcraft & Gerel                     3:18-cv-12776
    22         Burkholder, Carolyn                                   Ashcraft & Gerel                     3:18-cv-13307
    23               Roux, David                                     Ashcraft & Gerel                     3:18-cv-13382
    24           D'Angelo, Pamela                                    Ashcraft & Gerel                     3:18-cv-13427
    25              Ballon, Mary                                     Ashcraft & Gerel                     3:18-cv-17468
    26            Schimpf, Evelyn                                    Ashcraft & Gerel                     3:18-cv-17650
    27       Gregory-Bilotta, Margaret                               Ashcraft & Gerel                     3:18-cv-17653
    28             Hardin, Rickye                                    Ashcraft & Gerel                     3:18-cv-17659
    29           Brookman, Mary                                      Ashcraft & Gerel                     3:19-cv-00058
    30             Walker, Helen                                     Ashcraft & Gerel                     3:19-cv-00484
    31          Hasselbald, Yvonne                                   Ashcraft & Gerel                     3:19-cv-01044
    32            Serigney, Carrie                                   Ashcraft & Gerel                     3:19-cv-03065
    33            Sharkey, Joann                                     Ashcraft & Gerel                     3:19-cv-03095
    34          Homack, Meaghan                                      Ashcraft & Gerel                     3:19-cv-04396
    35           Orville, Stephanie                                  Ashcraft & Gerel                     3:19-cv-04569
    36             Gilbert, Rachel                                   Ashcraft & Gerel                     3:19-cv-06988
    37            Brewer, Tommy                                      Ashcraft & Gerel                     3:19-cv-07380
    38             Murray, Linda                                     Ashcraft & Gerel                     3:19-cv-07405
    39           Johnson, Rhonda                                     Ashcraft & Gerel                     3:19-cv-07775
    40          Dunn-Borgra, Laura                                   Ashcraft & Gerel                     3:19-cv-07919
    41           Ackerman, Carol                                     Ashcraft & Gerel                     3:19-cv-10210
    42              Raptis, Marie                                    Ashcraft & Gerel                     3:19-cv-11530
    43            Domato, Cheryl                                     Ashcraft & Gerel                     3:19-cv-11532
    44               Lyon, Vickie                                    Ashcraft & Gerel                     3:19-cv-11536
    45       Wesley Dowd, Ja'Donna R                                 Ashcraft & Gerel                     3:19-cv-11977
    46             Sacher, Adam                                      Ashcraft & Gerel                     3:19-cv-12420


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 Row # Case Name                        Plaintiff Firm(s)                    Current Cause #
    47              Flynn, Sherry                      Ashcraft & Gerel        3:19-cv-13166
    48            Coleman, Farry                       Ashcraft & Gerel        3:19-cv-13251
    49            Damon, Sandra                        Ashcraft & Gerel        3:23-cv-05141
    50             Mayon, Shelly                     Ashcraft & Gerel, LLP     3:18-cv-10774
    51            Angus, Meagan                      Ashcraft & Gerel, LLP     3:19-cv-06866
    52        Standefer, James Steve                 Ashcraft & Gerel, LLP     3:19-cv-06867
    53            McCoy, SaTaria                     Ashcraft & Gerel, LLP     3:19-cv-07776
    54           Rouse, Stephanie                    Ashcraft & Gerel, LLP     3:19-cv-08586
    55              Rich, Lorraine                   Ashcraft & Gerel, LLP     3:19-cv-09137
    56           McCain, Stephen                     Ashcraft & Gerel, LLP     3:19-cv-09150
    57            Speed, Kimberly                    Ashcraft & Gerel, LLP     3:19-cv-09308
    58         Southwick Jr., Richard                Ashcraft & Gerel, LLP     3:19-cv-11540
    59           Wilbur, Gretchen                    Ashcraft & Gerel, LLP     3:19-cv-11995
    60           Denyer, Christina                   Ashcraft & Gerel, LLP     3:19-cv-12598
    61            Schmitt, Sharon                    Ashcraft & Gerel, LLP     3:19-cv-12887
    62             Gonzalez, Irma                    Ashcraft & Gerel, LLP     3:19-cv-12889
    63          O'Connell, Kathleen                  Ashcraft & Gerel, LLP     3:19-cv-12947
    64             Toplenszki, Eva                   Ashcraft & Gerel, LLP     3:19-cv-12948
    65            White, Barbara                     Ashcraft & Gerel, LLP     3:19-cv-13370
    66            Campen, Karen                      Ashcraft & Gerel, LLP     3:19-cv-13371
    67         Foncerrada, Gerardo                   Ashcraft & Gerel, LLP     3:19-cv-13372
    68          Vavrinec, Kimberly                   Ashcraft & Gerel, LLP     3:19-cv-13574
    69            Willett, Therese                   Ashcraft & Gerel, LLP     3:19-cv-14184
    70         McCullough, Michael                   Ashcraft & Gerel, LLP     3:19-cv-14185
    71               Bell, Nellie                    Ashcraft & Gerel, LLP     3:19-cv-14186
    72             Kortyna, Kathy                    Ashcraft & Gerel, LLP     3:19-cv-14187
    73            Swenson, Janice                    Ashcraft & Gerel, LLP     3:19-cv-14188
    74            Africano II, John                  Ashcraft & Gerel, LLP     3:19-cv-14599
    75                Day, Kevin                     Ashcraft & Gerel, LLP     3:19-cv-15613
    76            Faulkner, Sherry                   Ashcraft & Gerel, LLP     3:19-cv-15651
    77           McDermott, Janet                    Ashcraft & Gerel, LLP     3:19-cv-15652
    78           Kozecke, Lindsey                    Ashcraft & Gerel, LLP     3:19-cv-15774
    79           Riggio, Salvatore                   Ashcraft & Gerel, LLP     3:19-cv-16022
    80              Bass, Denise                     Ashcraft & Gerel, LLP     3:19-cv-16038
    81           Bolden, Joseph W                    Ashcraft & Gerel, LLP     3:19-cv-16265
    82             Miller, Sharron                   Ashcraft & Gerel, LLP     3:19-cv-16292
    83           Mayette, Darryl K                   Ashcraft & Gerel, LLP     3:19-cv-16504
    84              Schnur, Terry                    Ashcraft & Gerel, LLP     3:19-cv-16718
    85              Pepin, Roger                     Ashcraft & Gerel, LLP     3:19-cv-16840
    86              Welch, Karen                     Ashcraft & Gerel, LLP     3:19-cv-17034
    87         Farris-Foster, Valerie                Ashcraft & Gerel, LLP     3:19-cv-17035
    88          Kuykendall, Joseph                   Ashcraft & Gerel, LLP     3:19-cv-17450
    89                Rice, Sean                     Ashcraft & Gerel, LLP     3:19-cv-17543
    90             Jadallah, Amal                    Ashcraft & Gerel, LLP     3:19-cv-17547
    91             Hite, Kimberly                    Ashcraft & Gerel, LLP     3:19-cv-17685
    92             Ward, Rachelle                    Ashcraft & Gerel, LLP     3:19-cv-17693


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 Row # Case Name                         Plaintiff Firm(s)                    Current Cause #
    93           Smith, Sydney Beth                   Ashcraft & Gerel, LLP     3:19-cv-17789
    94             Jury, Angel Marie                  Ashcraft & Gerel, LLP     3:19-cv-18149
    95            Colombo, Paulette                   Ashcraft & Gerel, LLP     3:19-cv-18294
    96            Richardson, Retha                   Ashcraft & Gerel, LLP     3:19-cv-18295
    97             Rodricks, Andrea                   Ashcraft & Gerel, LLP     3:19-cv-18297
    98                 Law, Nancy                     Ashcraft & Gerel, LLP     3:19-cv-18669
    99               Merida, Karyn                    Ashcraft & Gerel, LLP     3:19-cv-18670
   100            Matthews Jr., Earl                  Ashcraft & Gerel, LLP     3:19-cv-18671
   101            Stachelski, Kendell                 Ashcraft & Gerel, LLP     3:19-cv-18672
   102              Gamache, Reid                     Ashcraft & Gerel, LLP     3:19-cv-18961
   103               Sabb, Tranace                    Ashcraft & Gerel, LLP     3:19-cv-18963
   104            Manevich, Patricia                  Ashcraft & Gerel, LLP     3:19-cv-19341
   105           Cunningham, Karli D                  Ashcraft & Gerel, LLP     3:19-cv-19441
   106           Kreitzer, Sr., Donald                Ashcraft & Gerel, LLP     3:19-cv-19446
   107               Golson, Cindy                    Ashcraft & Gerel, LLP     3:19-cv-19500
   108                 Bray, Nancy                    Ashcraft & Gerel, LLP     3:19-cv-19505
   109               Shelker, Nancy                   Ashcraft & Gerel, LLP     3:19-cv-20705
   110               Bohacs, Nancy                    Ashcraft & Gerel, LLP     3:19-cv-20720
   111          Lambert, Rita Frances                 Ashcraft & Gerel, LLP     3:19-cv-20721
   112        Setters, Charles Timothy                Ashcraft & Gerel, LLP     3:19-cv-20723
   113            Moore, Mary Ann                     Ashcraft & Gerel, LLP     3:19-cv-20816
   114        Tarango, Deanna Marie                   Ashcraft & Gerel, LLP     3:19-cv-20817
   115                Franklin, Ivan                  Ashcraft & Gerel, LLP     3:19-cv-20956
   116             Dale, Lana Yoder                   Ashcraft & Gerel, LLP     3:19-cv-21699
   117           Clifford, Emma Jean                  Ashcraft & Gerel, LLP     3:19-cv-21873
   118              Richardson, Ana                   Ashcraft & Gerel, LLP     3:19-cv-21876
   119        Weber-Mullican, Karen L                 Ashcraft & Gerel, LLP     3:19-cv-21882
   120              Myers, James E                    Ashcraft & Gerel, LLP     3:19-cv-22082
   121               Fansler, Linda                   Ashcraft & Gerel, LLP     3:19-cv-22239
   122                Ward, Sandy                     Ashcraft & Gerel, LLP     3:23-cv-15822
   123             Glogowski, Karen                   Ashcraft & Gerel, LLP     3:23-cv-15950
   124                Bailey, Diana                   Ashcraft & Gerel, LLP     3:23-cv-15962
   125              Bonner, Debbie                    Ashcraft & Gerel, LLP     3:23-cv-15977
   126                Trost, Robyn                    Ashcraft & Gerel, LLP     3:23-cv-15990
   127            Marshall, Tawana                    Ashcraft & Gerel, LLP     3:23-cv-16018
   128          Stephens, Rebecca A.                  Ashcraft & Gerel, LLP     3:23-cv-16058
   129             Shantina, Gentry                   Ashcraft & Gerel, LLP     3:23-cv-16088
   130           Rice, Crystal Shellie                Ashcraft & Gerel, LLP     3:23-cv-16094
   131            Dewitte, Rebecca                    Ashcraft & Gerel, LLP     3:23-cv-16137
   132                Walker, Betty                   Ashcraft & Gerel, LLP     3:23-cv-16184
   133              Moore, Yakema                     Ashcraft & Gerel, LLP     3:23-cv-16465
   134         Bey, Ninotchka Lindsey                 Ashcraft & Gerel, LLP     3:23-cv-16471
   135             Morrison, Telesa                   Ashcraft & Gerel, LLP     3:23-cv-16493
   136             Williams, Tammy                    Ashcraft & Gerel, LLP     3:23-cv-16646
   137            Davis-Mott, Anita                   Ashcraft & Gerel, LLP     3:23-cv-16689
   138                White, Zaire                    Ashcraft & Gerel, LLP     3:23-cv-16717


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 Row # Case Name                      Plaintiff Firm(s)                    Current Cause #
   139             Franklin, Renee                 Ashcraft & Gerel, LLP     3:23-cv-16727
   140            Branch, Christina                Ashcraft & Gerel, LLP     3:23-cv-16790
   141             Morris, Yvonne                  Ashcraft & Gerel, LLP     3:23-cv-16870
   142           Halloway, Marian                  Ashcraft & Gerel, LLP     3:23-cv-16924
   143              Miller, Connie                 Ashcraft & Gerel, LLP     3:23-cv-16971
   144             Kennedy, Terry                  Ashcraft & Gerel, LLP     3:23-cv-17122
   145          Murphy, Catherine                  Ashcraft & Gerel, LLP     3:23-cv-17157
   146              Wallin, Regina                 Ashcraft & Gerel, LLP     3:23-cv-17186
   147             Baxter, Kristian                Ashcraft & Gerel, LLP     3:23-cv-17478
   148              Holt, Candace                  Ashcraft & Gerel, LLP     3:23-cv-17483
   149                Nilles, Josie                Ashcraft & Gerel, LLP     3:23-cv-17510
   150              Baca, Thomas                   Ashcraft & Gerel, LLP     3:23-cv-17529
   151             Jones, Clarence                 Ashcraft & Gerel, LLP     3:23-cv-17552
   152              Girgis, Marilyn                Ashcraft & Gerel, LLP     3:23-cv-17624
   153           Sprayberry, Stacey                Ashcraft & Gerel, LLP     3:23-cv-17664
   154              Tyre, Kimberly                 Ashcraft & Gerel, LLP     3:23-cv-17679
   155            Walker, Maxine                   Ashcraft & Gerel, LLP     3:23-cv-17693
   156               Glover, Tracy                 Ashcraft & Gerel, LLP     3:23-cv-17777
   157                Fultz, Grace                 Ashcraft & Gerel, LLP     3:23-cv-17796
   158              Charles, Eleria                Ashcraft & Gerel, LLP     3:23-cv-17884
   159             Banks, Dwayne                   Ashcraft & Gerel, LLP     3:23-cv-18018
   160          Thornton, Susanne                  Ashcraft & Gerel, LLP     3:23-cv-18144
   161              Lewis, Arizona                 Ashcraft & Gerel, LLP     3:23-cv-18147
   162               Bell, Ronique                 Ashcraft & Gerel, LLP     3:23-cv-18187
   163         Bloodgood, Matthew                  Ashcraft & Gerel, LLP     3:23-cv-18211
   164            Williams, Dorine                 Ashcraft & Gerel, LLP     3:23-cv-18222
   165              Stepp, Shenell                 Ashcraft & Gerel, LLP     3:23-cv-18226
   166           Stubenhofer, Julie                Ashcraft & Gerel, LLP     3:23-cv-18285
   167              Shay, Samson                   Ashcraft & Gerel, LLP     3:23-cv-18387
   168              Walker, Lester                 Ashcraft & Gerel, LLP     3:23-cv-18419
   169         Lincoln, Naomi Marie                Ashcraft & Gerel, LLP     3:23-cv-18428
   170            Rule, Dominique                  Ashcraft & Gerel, LLP     3:23-cv-18491
   171            Cooper, Cynthia                  Ashcraft & Gerel, LLP     3:23-cv-18495
   172            Williams, Lauren                 Ashcraft & Gerel, LLP     3:23-cv-18512
   173          McGowan, Patricia                  Ashcraft & Gerel, LLP     3:23-cv-18528
   174                Merry, Tina                  Ashcraft & Gerel, LLP     3:23-cv-18529
   175              Smith, Phyllis                 Ashcraft & Gerel, LLP     3:23-cv-18547
   176             Calhoun, Debra                  Ashcraft & Gerel, LLP     3:23-cv-18566
   177            Veleber, Dennie                  Ashcraft & Gerel, LLP     3:23-cv-18640
   178               Breech, Essie                 Ashcraft & Gerel, LLP     3:23-cv-18654
   179            Ferguson, Janice                 Ashcraft & Gerel, LLP     3:23-cv-18670
   180            Seahorn, Amelia                  Ashcraft & Gerel, LLP     3:23-cv-18699
   181            Stokes, Chimeko                  Ashcraft & Gerel, LLP     3:23-cv-18730
   182           Wooten, Dorothy                   Ashcraft & Gerel, LLP     3:23-cv-18762
   183            Nelson, Lakeshia                 Ashcraft & Gerel, LLP     3:23-cv-18803
   184               Glover, Doni                  Ashcraft & Gerel, LLP     3:23-cv-18818


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 Row # Case Name                            Plaintiff Firm(s)                             Current Cause #
   185           Johnston, Warren                        Ashcraft & Gerel, LLP              3:23-cv-18820
   186            Frederick, Harry                       Ashcraft & Gerel, LLP              3:23-cv-18832
   187            Bellaney, Earline                      Ashcraft & Gerel, LLP              3:23-cv-18854
   188             Robledo, Rosa                         Ashcraft & Gerel, LLP              3:23-cv-18867
   189            Hartwell, Roger                        Ashcraft & Gerel, LLP              3:23-cv-18869
   190     Aquavella, Heather and Charles                Ashcraft & Gerel, LLP              3:23-cv-20005
   191          Matlock, Samantha                        Ashcraft & Gerel, LLP              3:23-cv-20160
   192             Baker, John D.                        Ashcraft & Gerel, LLP              3:23-cv-20197
   193        Rogers, Madeline Angela                    Ashcraft & Gerel, LLP              3:23-cv-20943
   194            Green, Dorothy                         Ashcraft & Gerel, LLP              3:23-cv-21322
   195            Creech, Charles             Aylstock, Witkin, Kreis & Overholtz, PLLC     3:19-cv-00879

   196             Glasser, William          Aylstock, Witkin, Kreis & Overholtz, PLLC      3:19-cv-12094

   197           Anderson, Macy                       Bachus & Schanker LLC                 3:18-cv-14777
   198           Rodman, Teresa                       Bachus & Schanker LLC                 3:19-cv-00274
   199        Medina, Michelle Marie                  Bachus & Schanker LLC                 3:19-cv-00275
   200             Graham, Ada                        Bachus & Schanker LLC                 3:19-cv-00278
   201            Moss, Barbara                         Baron & Budd, P.C.                  3:19-cv-12665
   202             Klitzke, Laura                       Baron & Budd, P.C.                  3:19-cv-13276
   203               Rossi, Lisa                        Baron & Budd, P.C.                  3:19-cv-13646
   204            Smart, Rebecca                        Baron & Budd, P.C.                  3:19-cv-21059
   205             Guy, Jonique                         Baron & Budd, P.C.                  3:19-cv-21500
   206         Abercrombie, William            Baron & Budd, P.C. // Jenner Law, P.C.       3:19-cv-12977
   207        McNicholas, Siobhan Julia              Barrett Law Group, P.A.                3:18-cv-00033
   208             Peters, Robin              Baum, Hedlund, Aristei & Goldman, P.C.        3:18-cv-02804

   209           Murray Sr., Lavert A         Baum, Hedlund, Aristei & Goldman, P.C.        3:18-cv-13303

   210             Bolton, Keith A            Baum, Hedlund, Aristei & Goldman, P.C.        3:18-cv-13354

   211              Khodos, Mira              Baum, Hedlund, Aristei & Goldman, P.C.        3:19-cv-00418

   212       Alexander, Sherry Lashaunda      Baum, Hedlund, Aristei & Goldman, P.C.        3:19-cv-00477

   213              Lang, Kelly J.            Baum, Hedlund, Aristei & Goldman, P.C.        3:19-cv-02269

   214            Briscoe, Jacquelyn          Baum, Hedlund, Aristei & Goldman, P.C.        3:19-cv-08841

   215         Pendleton, Lynn Caudle         Baum, Hedlund, Aristei & Goldman, P.C.        3:19-cv-10525

   216             Mansfield, Mark            Baum, Hedlund, Aristei & Goldman, P.C.        3:19-cv-11331

   217               Griffin, Kelly           Baum, Hedlund, Aristei & Goldman, P.C.        3:19-cv-11347




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 Row # Case Name                        Plaintiff Firm(s)                          Current Cause #
   218           Amaral, Maria I          Baum, Hedlund, Aristei & Goldman, P.C.     3:19-cv-11363

   219           Stephens, Shirley       Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-11377

   220             Sainer, Denise        Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-11385

   221           Cintorino, Annette      Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-11388

   222           Chesna, Yvonne L        Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-11436

   223           Aycock, Dorothy D.      Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-11555

   224         Frank, Jennifer Louise    Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-12021

   225             Nasson, Mark          Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-12766

   226        Howard, Reginald James     Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-12769

   227         Horsley, Allison Leann    Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-12828

   228         Cormier, Wanda Nancy      Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-13111

   229            Holmes, Melinda        Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-13134

   230             Hill, Lanetta E       Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-13139

   231          Whittle, Youlanda C      Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-13142

   232          Langer, Andrea Lee       Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-13970

   233            Kocay, Michael         Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-14226

   234           Applebee, Cheryl A      Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-14241

   235            Norred, Sherri M       Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-15928

   236             Gallo, Maria A        Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-15929

   237          Kelly, Elizabeth Ann     Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-15973

   238            Price, Ginger F.       Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-15981

   239           Ferreira, Ramona L      Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-16073

   240          Calhoun, Colby J. R.     Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-16280



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 Row # Case Name                          Plaintiff Firm(s)                           Current Cause #
   241           Mills, Donald              Baum, Hedlund, Aristei & Goldman, P.C.      3:19-cv-16621

   242           Vankirk, Kelly Joe        Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-17197

   243             Botts, Bruce D          Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-17267

   244            Fryer, Lonnie D          Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-17732

   245           Carroll, Stacey N         Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-18193

   246        Herrera-Chavez, Karen A      Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-18313

   247          Christian, Gregory D       Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-19396

   248            Gray, Marsha K           Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-19608

   249      Walker, Steven Tyler Eugene    Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-20113

   250         Morgan, Lawrence W          Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-20709

   251         Daughdrill, Cynthia D       Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-21224

   252             Stacy, Thora J          Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-21527

   253          Bradley Jr., Joseph E      Baum, Hedlund, Aristei & Goldman, P.C.       3:19-cv-21770

   254           Waters, Joanna K           Beasley, Allen, Crow, Methvin, Portis &     3:18-cv-11399
                                                           Miles, P.C.
   255             Ohrt, Sheryl                  Ben Martin Law Group, PLLC             3:23-cv-19682
   256             Ali, Shumaila                 Ben Martin Law Group, PLLC             3:23-cv-19691
   257            Mcintire, Dona                 Ben Martin Law Group, PLLC             3:23-cv-19706
   258           Gonzalez, Linda                 Ben Martin Law Group, PLLC             3:23-cv-19731
   259             Ulloa, Daisy                  Ben Martin Law Group, PLLC             3:23-cv-19737
   260             Boober, Tina                  Ben Martin Law Group, PLLC             3:23-cv-19740
   261           Caldwell, Letoria               Ben Martin Law Group, PLLC             3:23-cv-19746
   262              Ewry, Arika                  Ben Martin Law Group, PLLC             3:23-cv-19755
   263           Buckner, Sharon                 Ben Martin Law Group, PLLC             3:23-cv-19762
   264          Thompson, Lajuan                 Ben Martin Law Group, PLLC             3:23-cv-19778
   265           Behrens, Joseph                 Ben Martin Law Group, PLLC             3:23-cv-19785
   266            Smith, Andrea                  Ben Martin Law Group, PLLC             3:23-cv-19790
   267            Clarke, Pamela                 Ben Martin Law Group, PLLC             3:23-cv-19794
   268           McCann, Kaylee                  Ben Martin Law Group, PLLC             3:23-cv-19795
   269             Garza, Erika                  Ben Martin Law Group, PLLC             3:23-cv-19812
   270            Boulier, Mark                   Berman & Simmons, P. A.               3:18-cv-05009
   271           Anforth, Donna                   BERNSTEIN & STERN, LLC                3:18-cv-16086
   272           Morales, Lydia E                 BERNSTEIN & STERN, LLC                3:19-cv-19064


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Row # Case Name                     Plaintiff Firm(s)                           Current Cause #
  273             Cicero, Cheryl                   Brown Chiari LLP               3:18-cv-00852
  274               Frost, Linda                   Brown Chiari LLP               3:18-cv-00853
  275         Woelfel, Rosemarie                   Brown Chiari LLP               3:18-cv-00854
  276            Chiari, Donald R                  Brown Chiari LLP               3:18-cv-01841
  277         Frost, Wesley James                  Brown Chiari LLP               3:23-cv-19980
  278             Crocoll, Tracey                Bruera Law Firm PLLC             3:18-cv-11624
  279           Thomas, Kathryn                    Burns Charest LLP              3:18-cv-00237
  280           Rossey, Maryann                    Burns Charest LLP              3:18-cv-00243
  281               Dinkel, Julie                  Burns Charest LLP              3:18-cv-00276
  282            Harper, Richard                   Burns Charest LLP              3:18-cv-03789
  283           Maxwell, Barbara                   Burns Charest LLP              3:18-cv-05236
  284            Watson, Esther                    Burns Charest LLP              3:18-cv-05827
  285                Elias, Julie                  Burns Charest LLP              3:18-cv-10680
  286             Sanders, Anita                   Burns Charest LLP              3:18-cv-11123
  287           Goodwin, Patricia                  Burns Charest LLP              3:18-cv-15342
  288             Stowell, Nancy                   Burns Charest LLP              3:18-cv-16085
  289            Taylor, Yolanda                   Burns Charest LLP              3:18-cv-16801
  290             Dean, Beverly                    Burns Charest LLP              3:19-cv-00998
  291          Weatherford, Iotra                  Burns Charest LLP              3:19-cv-01011
  292             Henry, Patrice                   Burns Charest LLP              3:19-cv-01018
  293         Matsumoto, Michael                   Burns Charest LLP              3:19-cv-06315
  294             Sanchez, Frank                   Burns Charest LLP              3:19-cv-08277
  295          Lawandales, Jason                   Burns Charest LLP              3:23-cv-18555
  296           Jackson, Pamela                    Burns Charest LLP              3:23-cv-18568
  297          Harrelson, Debbie                   Burns Charest LLP              3:23-cv-18586
  298            Garza, Veronica                   Burns Charest LLP              3:23-cv-18605
  299            James, Barbarra                   Burns Charest LLP              3:23-cv-18612
  300            Coffee, Kenneth                   Burns Charest LLP              3:23-cv-18627
  301               Boyl, Tasha                    Burns Charest LLP              3:23-cv-18646
  302               Ollis, Connie                  Burns Charest LLP              3:23-cv-18652
  303          Decoursey, Garnet                   Burns Charest LLP              3:23-cv-18660
  304          Edmonds, Heather                    Burns Charest LLP              3:23-cv-18669
  305             Morris, Javona                   Burns Charest LLP              3:23-cv-18678
  306              Zapata, Jamie                   Burns Charest LLP              3:23-cv-18687
  307              Shipley, Leah                   Burns Charest LLP              3:23-cv-18690
  308           Walker, Christina                  Burns Charest LLP              3:23-cv-18705
  309            Brooks, Patricia                  Burns Charest LLP              3:23-cv-18718
  310          Fernandez, Pauline                  Burns Charest LLP              3:23-cv-18741
  311            Toro, Maria Del                   Burns Charest LLP              3:23-cv-18755
  312           Broeckwr, Susan                    Burns Charest LLP              3:23-cv-18796
  313            Herrera, Wendy                    Burns Charest LLP              3:23-cv-19356
  314         Mcdonald, Deborah                    Burns Charest LLP              3:23-cv-19383
  315           Sanchez, Adelita       Burns Charest LLP // Burns Charest LLP     3:18-cv-00265
  316          Hammond, Abigail        Burns Charest LLP // Burns Charest LLP     3:18-cv-00639
  317             Wicks, Antrena       Burns Charest LLP // Burns Charest LLP     3:18-cv-00648
  318             Beach, Sandra        Burns Charest LLP // Burns Charest LLP     3:18-cv-00670


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Row # Case Name                         Plaintiff Firm(s)                           Current Cause #
  319           Simmons, Brenda            Burns Charest LLP // Burns Charest LLP     3:18-cv-00684
  320          Winters, Catherine          Burns Charest LLP // Burns Charest LLP     3:18-cv-00693
  321             Sanders, Paula           Burns Charest LLP // Burns Charest LLP     3:18-cv-01497
  322               Ross, Lynn             Burns Charest LLP // Burns Charest LLP     3:18-cv-01803
  323             Carter, Brenda           Burns Charest LLP // Burns Charest LLP     3:18-cv-02360
  324         Perez-Matos, Cecilia         Burns Charest LLP // Burns Charest LLP     3:18-cv-02536
  325             Jones, Patricia          Burns Charest LLP // Burns Charest LLP     3:19-cv-05808
  326             Lewis, Robert            Burns Charest LLP // Burns Charest LLP     3:19-cv-09270
  327           Spetrini, Patricia         Burns Charest LLP // Burns Charest LLP     3:19-cv-16997
  328        Estate of Lisa A. Cheese             Calcagno & Associates, LLP          3:18-cv-01125
  329            Sinclair, Deloise        Campbell & Associates // Frazer Law LLC     3:18-cv-08157

   330             Dixon, Brenda                   Cates Mahoney, LLC                 3:18-cv-02373
   331        Goldschmidt, Cassandra               Cates Mahoney, LLC                 3:18-cv-02383
   332             Miller, Teressa                 Cates Mahoney, LLC                 3:18-cv-02384
   333            Prokop, Cynthia                  Cates Mahoney, LLC                 3:18-cv-02385
   334             Robbins, Cindy                  Cates Mahoney, LLC                 3:18-cv-02386
   335             Holmes, Elijah                  Cates Mahoney, LLC                 3:18-cv-02426
   336          Lean, Lindsey Blake                Cates Mahoney, LLC                 3:18-cv-02431
   337          Stewart, Jackie Lee                Cates Mahoney, LLC                 3:18-cv-02433
   338           Lefosse, Francine                 Cates Mahoney, LLC                 3:23-cv-18775
   339             Zigman, Robin                     Cellino Law LLP                  3:18-cv-03780
   340           Colantino, Robert                   Cellino Law LLP                  3:18-cv-05397
   341           Munoz, Sharon K                     Cellino Law LLP                  3:18-cv-08263
   342            Groth, Richard C                   Cellino Law LLP                  3:18-cv-10949
   343           Gadsden, Minnie                     Cellino Law LLP                  3:18-cv-11239
   344            Pilcher, Brenda                    Cellino Law LLP                  3:18-cv-12255
   345              Korop, Randy                     Cellino Law LLP                  3:18-cv-12290
   346              Olix, Lacie E.                   Cellino Law LLP                  3:18-cv-12666
   347          Bergheger, Roger L.                  Cellino Law LLP                  3:18-cv-12682
   348         Du Purton, Panagiota                  Cellino Law LLP                  3:18-cv-12942
   349        Cividanes, Francisco M                 Cellino Law LLP                  3:18-cv-12943
   350             Meyer, Alison                     Cellino Law LLP                  3:18-cv-12945
   351            Horne, Destinie                    Cellino Law LLP                  3:18-cv-13249
   352              Rice, Mary E                     Cellino Law LLP                  3:18-cv-13656
   353            Riopedre, Rosa                     Cellino Law LLP                  3:18-cv-13683
   354            Burley, Barbara                    Cellino Law LLP                  3:18-cv-13952
   355           Garozzo, Nancy A                    Cellino Law LLP                  3:18-cv-14158
   356         Robinson-Horton, Gail                 Cellino Law LLP                  3:18-cv-14346
   357            Homire, Darlene                    Cellino Law LLP                  3:18-cv-14348
   358            Bennett, Regina                    Cellino Law LLP                  3:18-cv-14581
   359           Hawes, Lawrence                     Cellino Law LLP                  3:18-cv-14662
   360           Magera, Michael                     Cellino Law LLP                  3:18-cv-14663
   361            Hayes, Robert J                    Cellino Law LLP                  3:18-cv-14865
   362             Bair, Clinton T                   Cellino Law LLP                  3:18-cv-14980
   363           Sharifirad, Afshan                  Cellino Law LLP                  3:18-cv-15136


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Row # Case Name                       Plaintiff Firm(s)                 Current Cause #
  364             Doyle, Karen B                      Cellino Law LLP     3:18-cv-15272
  365             Flores, Carmen                      Cellino Law LLP     3:18-cv-15288
  366          Freeburg, Jennifer                     Cellino Law LLP     3:18-cv-15299
  367            Depace, Frances                      Cellino Law LLP     3:18-cv-16167
  368           Giorlando, Maria                      Cellino Law LLP     3:18-cv-16189
  369           Nowicki, David E                      Cellino Law LLP     3:18-cv-17162
  370         Matteson, Kathleen J                    Cellino Law LLP     3:18-cv-17664
  371            Russo, Michael J                     Cellino Law LLP     3:19-cv-01000
  372          Coleman, Christine                     Cellino Law LLP     3:19-cv-01983
  373            Cimino, Laura M                      Cellino Law LLP     3:19-cv-05592
  374              Nole, Judy W                       Cellino Law LLP     3:19-cv-05851
  375             Miller, Doris M                     Cellino Law LLP     3:19-cv-08479
  376           Dewall, Connie L                      Cellino Law LLP     3:19-cv-08557
  377           Arroyo, Merida M                      Cellino Law LLP     3:19-cv-09244
  378             Katz, Roberta L                     Cellino Law LLP     3:19-cv-11418
  379           Grame, Michelina                      Cellino Law LLP     3:19-cv-12975
  380        Carpen, Nandikumarie                     Cellino Law LLP     3:19-cv-12976
  381            Johann, Sylvia L                     Cellino Law LLP     3:19-cv-14686
  382           Burgio, Sharon A                      Cellino Law LLP     3:19-cv-15044
  383           Colon, Donna M.                       Cellino Law LLP     3:19-cv-15081
  384           Adragna, Doreen                       Cellino Law LLP     3:19-cv-15082
  385          Athanasio, Barbara                     Cellino Law LLP     3:19-cv-15083
  386           Berdzik, Gregory                      Cellino Law LLP     3:19-cv-15699
  387               Guisti, Rose                      Cellino Law LLP     3:19-cv-15743
  388            Croal, Collette N                    Cellino Law LLP     3:19-cv-16463
  389              Paul, Evelyn E                     Cellino Law LLP     3:19-cv-16642
  390             Nevins, Mary E                      Cellino Law LLP     3:19-cv-16643
  391            Brown, Arlene T                      Cellino Law LLP     3:19-cv-16645
  392             Jarvis, Rose M                      Cellino Law LLP     3:19-cv-16646
  393          Beasley, Donna M                       Cellino Law LLP     3:19-cv-16672
  394          Senger, Theresa M                      Cellino Law LLP     3:19-cv-17042
  395         Delpriore, Mary Anne                    Cellino Law LLP     3:19-cv-17045
  396           Fanelli, Patricia A                   Cellino Law LLP     3:19-cv-17131
  397            Gravely, Donna                       Cellino Law LLP     3:19-cv-17433
  398            Moore, Judith A                      Cellino Law LLP     3:19-cv-17743
  399          Bukaty, Julianne M                     Cellino Law LLP     3:19-cv-17745
  400          Neumann, Sandra L                      Cellino Law LLP     3:19-cv-18075
  401            Berlowitz, Myra                      Cellino Law LLP     3:19-cv-18076
  402             Brown, Joan M                       Cellino Law LLP     3:19-cv-18077
  403               Grace, Kay F                      Cellino Law LLP     3:19-cv-18078
  404          Beehler, Bonnie A.                     Cellino Law LLP     3:19-cv-18209
  405          Gorkin, Marjorie B                     Cellino Law LLP     3:19-cv-18210
  406          Patterson, Cynthia                     Cellino Law LLP     3:19-cv-18218
  407          Adorno, Carmen A.                      Cellino Law LLP     3:19-cv-18220
  408             Kay, Steven M                       Cellino Law LLP     3:19-cv-18221
  409         Maniscalco, Christine                   Cellino Law LLP     3:19-cv-18223


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Row # Case Name                          Plaintiff Firm(s)                 Current Cause #
  410        Lubas-Sirianni, Elizabeth                   Cellino Law LLP     3:19-cv-18225
  411            Flunder, Joanne                         Cellino Law LLP     3:19-cv-18226
  412            Gravelle, Lori A.                       Cellino Law LLP     3:19-cv-18228
  413           Elliott, Marshiyyat                      Cellino Law LLP     3:19-cv-18298
  414              Hicks, Lynn M.                        Cellino Law LLP     3:19-cv-18522
  415           Fahrer, Martha J.                        Cellino Law LLP     3:19-cv-18681
  416          Buzzelli, Ann Marie                       Cellino Law LLP     3:19-cv-18777
  417           Graham, Marie A.                         Cellino Law LLP     3:19-cv-18782
  418                Kelly, Elissa                       Cellino Law LLP     3:19-cv-18788
  419            Orlando, Kristina                       Cellino Law LLP     3:19-cv-18793
  420           Araujo, Gloria M.                        Cellino Law LLP     3:19-cv-18796
  421           Detonno, Theresa                         Cellino Law LLP     3:19-cv-18797
  422           Jankowiak, Erin R.                       Cellino Law LLP     3:19-cv-18801
  423            Cleary, Sylvester                       Cellino Law LLP     3:19-cv-18804
  424               Rogers, Amy                          Cellino Law LLP     3:19-cv-18828
  425          Polite, Cassandra A.                      Cellino Law LLP     3:19-cv-18835
  426           McCarty, Robin D.                        Cellino Law LLP     3:19-cv-18931
  427               Howell, Kelly                        Cellino Law LLP     3:19-cv-18934
  428          Washington, Salome                        Cellino Law LLP     3:19-cv-18935
  429          Detwiler, Margaret                        Cellino Law LLP     3:19-cv-18936
  430           Minielly, Kimberly                       Cellino Law LLP     3:19-cv-18938
  431             Signorelli, Mary                       Cellino Law LLP     3:19-cv-18980
  432             Bristow, Felecia                       Cellino Law LLP     3:19-cv-19079
  433          Marinaro, Debbie A                        Cellino Law LLP     3:19-cv-19080
  434           Acton, Elizabeth A                       Cellino Law LLP     3:19-cv-19188
  435            Takushi, Seishin                        Cellino Law LLP     3:19-cv-19194
  436              Eishen, Diane                         Cellino Law LLP     3:19-cv-19196
  437            Levesque, Elaine                        Cellino Law LLP     3:19-cv-19313
  438            Fusaro, Carmela                         Cellino Law LLP     3:19-cv-19318
  439           McShea, Elizabeth                        Cellino Law LLP     3:19-cv-19319
  440              Ossen, Arnold                         Cellino Law LLP     3:19-cv-19440
  441             Jones, Tonish E                        Cellino Law LLP     3:19-cv-19583
  442            Porcher, Claudia                        Cellino Law LLP     3:19-cv-19882
  443          Henneberger, David                        Cellino Law LLP     3:19-cv-19961
  444            Parmar, Kokila H                        Cellino Law LLP     3:19-cv-19963
  445          Condello, Donna A                         Cellino Law LLP     3:19-cv-19988
  446            Maass, Kathleen                         Cellino Law LLP     3:19-cv-20219
  447              Gervais, Sally J                      Cellino Law LLP     3:19-cv-20222
  448              Mikulka, Lois J                       Cellino Law LLP     3:19-cv-20224
  449       McDonald-Addison, Teresa                     Cellino Law LLP     3:19-cv-20285
  450          Freier, Catherine M                       Cellino Law LLP     3:19-cv-20287
  451            Stasio, Thomas C                        Cellino Law LLP     3:19-cv-20405
  452           Waldron, Karen L                         Cellino Law LLP     3:19-cv-20434
  453             Katz, Carolyn A                        Cellino Law LLP     3:19-cv-20435
  454           Beach, Theresa M                         Cellino Law LLP     3:19-cv-20574
  455               LePore, Gale                         Cellino Law LLP     3:19-cv-20575


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Row # Case Name                        Plaintiff Firm(s)                          Current Cause #
  456        Viele-Russo, Vanessa M                      Cellino Law LLP            3:19-cv-20576
  457             Fisher, Theresa                        Cellino Law LLP            3:19-cv-20602
  458             Ostrovskis Lilija                      Cellino Law LLP            3:19-cv-20604
  459                Kent, Lori A                        Cellino Law LLP            3:19-cv-20727
  460           Hollander, Joan S                        Cellino Law LLP            3:19-cv-20728
  461           Listengart, Janie B                      Cellino Law LLP            3:19-cv-20729
  462                Caba, Juana                         Cellino Law LLP            3:19-cv-20730
  463           Vega, Darlene M.                         Cellino Law LLP            3:19-cv-20733
  464          Woodyard, James A                         Cellino Law LLP            3:19-cv-20739
  465          Chudyk, Kristine M                        Cellino Law LLP            3:19-cv-20771
  466           O'Connor, Linda E                        Cellino Law LLP            3:19-cv-20871
  467           Bartus, Barbara A                        Cellino Law LLP            3:19-cv-20873
  468              Falbo, Carol A                        Cellino Law LLP            3:19-cv-20874
  469           DeClerck, Diane M                        Cellino Law LLP            3:19-cv-20946
  470             Corsetti, Salma                        Cellino Law LLP            3:19-cv-20947
  471          Melville, Joanne M.                       Cellino Law LLP            3:19-cv-20971
  472             Farkas, Melvyn                         Cellino Law LLP            3:19-cv-20990
  473          Podmore, Margaret                         Cellino Law LLP            3:19-cv-20991
  474             Devita, Gerard                         Cellino Law LLP            3:19-cv-20994
  475        Kaczmarek, Edmund D                         Cellino Law LLP            3:19-cv-20995
  476             Morra, Denise                          Cellino Law LLP            3:19-cv-20997
  477              Sommer, Sari                          Cellino Law LLP            3:19-cv-20999
  478         Calviello, Geraldine S                     Cellino Law LLP            3:19-cv-21044
  479               Khan, Shaira                         Cellino Law LLP            3:19-cv-21048
  480               Madho, Rita                          Cellino Law LLP            3:19-cv-21062
  481            Cassella, Silveria                      Cellino Law LLP            3:19-cv-21064
  482             Jones, Merle E                         Cellino Law LLP            3:19-cv-21065
  483            Layman, Allan L.                        Cellino Law LLP            3:19-cv-21094
  484             Hayes, Paula M                         Cellino Law LLP            3:19-cv-21098
  485           Cimino, Joseph C.                        Cellino Law LLP            3:19-cv-21191
  486         Kahraman, Kathleen A                       Cellino Law LLP            3:19-cv-21275
  487           Kader, Edward J III                      Cellino Law LLP            3:19-cv-21278
  488               Janiga, Linda                        Cellino Law LLP            3:19-cv-21477
  489             Ohar, Pamela J                         Cellino Law LLP            3:19-cv-21968
  490           Lutringer, Bruce C                       Cellino Law LLP            3:19-cv-21978
  491             Coolidge, Jane               Chappell, Smith & Arden, P.A.        3:19-cv-20412
  492            Purdue, Carol D               Chappell, Smith & Arden, P.A.        3:19-cv-20416
  493            Barrineau, Laura              Chappell, Smith & Arden, P.A.        3:19-cv-20425
  494         Guzman, Sophia Julia                  Clayeo C. Arnold, APC           3:19-cv-17675
  495                King, Roger                   Clifford Law Offices, P.C.       3:18-cv-03342
  496              Meyer, David           Cohen & Malad, LLP // Nix Patterson &     3:18-cv-08578
                                                              Roach
  497             Nickle, Stacey                        Cohen Hirsch, LP            3:23-cv-17330
  498            Roberts, Cynthia                       Cohen Hirsch, LP            3:23-cv-21308
  499             PERKS, KATHY                          Cohen Hirsch, LP            3:23-cv-21790
  500             Albert, Sandra                        Cohen Hirsch, LP            3:23-cv-22472


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Row # Case Name                         Plaintiff Firm(s)                          Current Cause #
  501               Bills, Mosie                       Cohen Hirsch, LP              3:23-cv-22473
  502             Bradley, Linda                       Cohen Hirsch, LP              3:23-cv-22474
  503            Carcieri, Denise                      Cohen Hirsch, LP              3:23-cv-22475
  504           Wentzel, Melinda                       Cohen Hirsch, LP              3:23-cv-22476
  505              Mills, Lynette                      Cohen Hirsch, LP              3:23-cv-22477
  506          Heintzelman, Carol                      Cohen Hirsch, LP              3:23-cv-22478
  507            Howell, Lynette                       Cohen Hirsch, LP              3:23-cv-22480
  508         Kazlausky, Mary Ann                      Cohen Hirsch, LP              3:23-cv-22481
  509            Keane, Georgia                        Cohen Hirsch, LP              3:23-cv-22482
  510             Dooher, Carol                  Coppice Asset Management            3:18-cv-06321
  511            Mccrary, Ashley                 Cory Watson Attorneys, P.C.         3:23-cv-17669
  512          Chiarello, Geraldine              Cory Watson Attorneys, P.C.         3:23-cv-18434
  513             Branham, Vicki                 Cory Watson Attorneys, P.C.         3:23-cv-18503
  514              Tolin, Shelia           Cory, Watson, Crowder & Degaris, P.C.     3:19-cv-13411
  515              Becker, Mary            Cory, Watson, Crowder & Degaris, P.C.     3:19-cv-14197
  516               Allen, Kelly           Cory, Watson, Crowder & Degaris, P.C.     3:19-cv-16218
  517            Lampley, Tonya            Cory, Watson, Crowder & Degaris, P.C.     3:19-cv-17392
  518             Barry, Linda M                              CPC                    3:18-cv-02586
  519       Borchardt, Nancy & David                          CPC                    3:18-cv-02588
  520          Castillo, Brittany C.                          CPC                    3:18-cv-02591
  521        Gandarilla, Grace & Jose                         CPC                    3:18-cv-02595
  522           Snyder, Donna J.                              CPC                    3:18-cv-02598
  523           Arabia, Dominick                              CPC                    3:19-cv-08870
  524           Mitchell, Darlene                    Dalimonte Rueb, LLP             3:18-cv-14464
  525              Kortz, Teresa                     Dalimonte Rueb, LLP             3:19-cv-05409
  526         Kraszczak, Victoria A                  Dalimonte Rueb, LLP             3:19-cv-21363
  527           Dobbins, Lucinda                     Dalimonte Rueb, LLP             3:19-cv-22112
  528              Frazier, Carol                   Daniel & Associates, LLC         3:18-cv-00969
  529            Stodghill, Janice                  Daniel & Associates, LLC         3:18-cv-02844
  530                Keel, Eric                     Daniel & Associates, LLC         3:18-cv-02963
  531              Hunter, Kelly                    Daniel & Associates, LLC         3:18-cv-03939
  532           Vanness, Natasha                    Daniel & Associates, LLC         3:18-cv-05413
  533           McMickle, Luanne                    Daniel & Associates, LLC         3:18-cv-05415
  534          Harbin, Averl Renee                  Daniel & Associates, LLC         3:18-cv-05530
  535             Cody, Michael                     Daniel & Associates, LLC         3:18-cv-08382
  536         Davis-Thomas, Karen                   Daniel & Associates, LLC         3:18-cv-08399
  537            Jones, Elizabeth                   Daniel & Associates, LLC         3:18-cv-08448
  538        Waybright, David Allen                 Daniel & Associates, LLC         3:18-cv-11136
  539            McCoy, Wanda                       Daniel & Associates, LLC         3:18-cv-11296
  540           Miloro, Elizabeth                   Daniel & Associates, LLC         3:18-cv-11314
  541               Roth, Susan                     Daniel & Associates, LLC         3:18-cv-11315
  542         Undercuffler, Luretta                 Daniel & Associates, LLC         3:18-cv-11317
  543            Brittman, Julius                   Daniel & Associates, LLC         3:18-cv-11689
  544         Washington, Roberta                   Daniel & Associates, LLC         3:18-cv-11692
  545               Blake, Alicia                   Daniel & Associates, LLC         3:18-cv-11712
  546           Hildebrandt, Lisa                   Daniel & Associates, LLC         3:18-cv-11732


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Row # Case Name                       Plaintiff Firm(s)                          Current Cause #
  547           Campanella, Rita                  Daniel & Associates, LLC         3:18-cv-11838
  548            Morton, Bahiya                   Daniel & Associates, LLC         3:18-cv-11840
  549          Doughtery, Windy                   Daniel & Associates, LLC         3:18-cv-11935
  550                Lane, Tina                   Daniel & Associates, LLC         3:18-cv-11939
  551            Waller, Rebecca                  Daniel & Associates, LLC         3:18-cv-12003
  552        Lebbert-Herlen, Stacey               Daniel & Associates, LLC         3:18-cv-12052
  553              Elliott, Dawn                  Daniel & Associates, LLC         3:18-cv-12683
  554               Flores, Tina                  Daniel & Associates, LLC         3:18-cv-12688
  555          Marquardt, Colleen                 Daniel & Associates, LLC         3:18-cv-13042
  556             Snyder, Linda                   Daniel & Associates, LLC         3:18-cv-13270
  557             Myers, Andrea                   Daniel & Associates, LLC         3:18-cv-13392
  558         Werren, Mary Patricia               Daniel & Associates, LLC         3:18-cv-13726
  559              Engle, Susan                   Daniel & Associates, LLC         3:18-cv-13760
  560           Wilkins, Rebecca                  Daniel & Associates, LLC         3:18-cv-13845
  561             Oviedo, Maria                   Daniel & Associates, LLC         3:18-cv-13848
  562             Hill, Julie Ann                 Daniel & Associates, LLC         3:18-cv-13850
  563           McPhillips, Laurie                Daniel & Associates, LLC         3:18-cv-13859
  564            Steppe, Wendy                    Daniel & Associates, LLC         3:18-cv-13863
  565             Fitch, Dorothy                  Daniel & Associates, LLC         3:18-cv-13977
  566            Fox, Teresa Ann                  Daniel & Associates, LLC         3:18-cv-13979
  567            Thomas, Susan                    Daniel & Associates, LLC         3:18-cv-13981
  568              Berry, Vicky                   Daniel & Associates, LLC         3:18-cv-14094
  569         Thilmany, Stephanie                 Daniel & Associates, LLC         3:18-cv-14160
  570              Martins, Lori                  Daniel & Associates, LLC         3:18-cv-14164
  571            Harrell, Belinda                 Daniel & Associates, LLC         3:18-cv-14167
  572                Hill, Dawn                   Daniel & Associates, LLC         3:18-cv-14181
  573                Kelly, Gail                  Daniel & Associates, LLC         3:18-cv-14290
  574           Brinkman, David                   Daniel & Associates, LLC         3:18-cv-15626
  575            Richard, Brenda                  Daniel & Associates, LLC         3:18-cv-15630
  576           Johnson, Patricia      Daniel & Associates, LLC // The Whitehead   3:18-cv-11291
                                                       Law Firm, LLC
  577           O'Connor, Rebecca      Daniel & Associates, LLC // The Whitehead   3:18-cv-13856
                                                       Law Firm, LLC
  578             Gagnon, Marie               Davis, Bethune & Jones, L.L.C.       3:23-cv-16258
  579              Graves, Teresa             Davis, Bethune & Jones, L.L.C.       3:23-cv-16278
  580             Murphy, Helen               Davis, Bethune & Jones, L.L.C.       3:23-cv-16830
  581           Olmstead, Rebecca             Davis, Bethune & Jones, L.L.C.       3:23-cv-17596
  582            Oquendo, Willie              Davis, Bethune & Jones, L.L.C.       3:23-cv-17618
  583           Thomas, Marlene               Davis, Bethune & Jones, L.L.C.       3:23-cv-17733
  584            Walker, Veronica             Davis, Bethune & Jones, L.L.C.       3:23-cv-17757
  585              Worsley, Tina              Davis, Bethune & Jones, L.L.C.       3:23-cv-17850
  586            Becketts, Richard            Davis, Bethune & Jones, L.L.C.       3:23-cv-18524
  587           Kelderhouse, Don              Davis, Bethune & Jones, L.L.C.       3:23-cv-18802
  588              Burnside, Jone             Davis, Bethune & Jones, L.L.C.       3:23-cv-20144
  589             Foreman, Robin              Davis, Bethune & Jones, L.L.C.       3:23-cv-20175
  590               Fulk, Marian              Davis, Bethune & Jones, L.L.C.       3:23-cv-20178


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Row # Case Name                       Plaintiff Firm(s)                        Current Cause #
  591           Hodges, Elizabeth             Davis, Bethune & Jones, L.L.C.     3:23-cv-20196
  592            Jones, Britania              Davis, Bethune & Jones, L.L.C.     3:23-cv-20203
  593             Reid, Brenda                Davis, Bethune & Jones, L.L.C.     3:23-cv-20220
  594           Rowland, Shirley              Davis, Bethune & Jones, L.L.C.     3:23-cv-20225
  595            Crouch, James                Davis, Bethune & Jones, L.L.C.     3:23-cv-20266
  596          Stedum, Gene Van               Davis, Bethune & Jones, L.L.C.     3:23-cv-20281
  597            Adams, Sandra                     De La Rosa Law, P.A.          3:23-cv-21344
  598            Allen, Roxanna                    De La Rosa Law, P.A.          3:23-cv-21353
  599              Self, Christa                   De La Rosa Law, P.A.          3:23-cv-21534
  600             Knauls, Ruby                     De La Rosa Law, P.A.          3:23-cv-21538
  601              Levine, Della                   De La Rosa Law, P.A.          3:23-cv-21539
  602                Lee, Anita                    De La Rosa Law, P.A.          3:23-cv-21540
  603             Ritter, Donna                    De La Rosa Law, P.A.          3:23-cv-21541
  604           Rodriguez, Rachel                  De La Rosa Law, P.A.          3:23-cv-21543
  605            Sloper, Janelle                   De La Rosa Law, P.A.          3:23-cv-21544
  606              Botkin, Lucie                   De La Rosa Law, P.A.          3:23-cv-21545
  607              Vond, Annie                     De La Rosa Law, P.A.          3:23-cv-21555
  608              Hill, Barbara                   De La Rosa Law, P.A.          3:23-cv-21559
  609              Bailey, Betsy                   De La Rosa Law, P.A.          3:23-cv-21561
  610             Bradley, Betty                   De La Rosa Law, P.A.          3:23-cv-21564
  611            Rollins, Carolyn                  De La Rosa Law, P.A.          3:23-cv-21565
  612          Sanchez, Catherine                  De La Rosa Law, P.A.          3:23-cv-21569
  613          Rivenburgh, Cathy                   De La Rosa Law, P.A.          3:23-cv-21575
  614            Olinske, Helen                    De La Rosa Law, P.A.          3:23-cv-21577
  615           Demarco, Celeste                   De La Rosa Law, P.A.          3:23-cv-21579
  616          Gallagherr, Charles                 De La Rosa Law, P.A.          3:23-cv-21582
  617            Olinske, Helen                    De La Rosa Law, P.A.          3:23-cv-21604
  618          Buckley, Charlotte                  De La Rosa Law, P.A.          3:23-cv-21605
  619            Nunnery, James                    De La Rosa Law, P.A.          3:23-cv-21609
  620             Scahill, Cheryl                  De La Rosa Law, P.A.          3:23-cv-21610
  621            Williams, Janise                  De La Rosa Law, P.A.          3:23-cv-21611
  622               Smith, Julie                   De La Rosa Law, P.A.          3:23-cv-21612
  623        Dempsey, Karen Perigo                 De La Rosa Law, P.A.          3:23-cv-21613
  624           Hertlein, Cindy Jo                 De La Rosa Law, P.A.          3:23-cv-21614
  625          Auld, Karla Dianne                  De La Rosa Law, P.A.          3:23-cv-21617
  626           Zwinge, Kathleen                   De La Rosa Law, P.A.          3:23-cv-21618
  627         Dalke, Helen Barbara                 De La Rosa Law, P.A.          3:23-cv-21619
  628             Petillo, Grace                   De La Rosa Law, P.A.          3:23-cv-21620
  629             Cofran, Laura                    De La Rosa Law, P.A.          3:23-cv-21621
  630            Torres, Cynthia                   De La Rosa Law, P.A.          3:23-cv-21626
  631         Landin, Laura Imelda                 De La Rosa Law, P.A.          3:23-cv-21629
  632          Tomasso, Deborah                    De La Rosa Law, P.A.          3:23-cv-21630
  633              Jones, Linda                    De La Rosa Law, P.A.          3:23-cv-21633
  634          Parraway, Lisa Jean                 De La Rosa Law, P.A.          3:23-cv-21635
  635         Gutierrez, Lisa Marie                De La Rosa Law, P.A.          3:23-cv-21637
  636             Redman, Lori                     De La Rosa Law, P.A.          3:23-cv-21639


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Row # Case Name                          Plaintiff Firm(s)                   Current Cause #
  637           Carney, Madeline                      De La Rosa Law, P.A.     3:23-cv-21641
  638             Kekawa, Grace                       De La Rosa Law, P.A.     3:23-cv-21643
  639             Keenan, Dianne                      De La Rosa Law, P.A.     3:23-cv-21646
  640       Acosta Rodriguez, Maria V.                De La Rosa Law, P.A.     3:23-cv-21657
  641           Pilgreen, Marjorie                    De La Rosa Law, P.A.     3:23-cv-21658
  642        Ryals, Marlene Johnson                   De La Rosa Law, P.A.     3:23-cv-21660
  643            Morgwen, Davies                      De La Rosa Law, P.A.     3:23-cv-21661
  644              Madril, Naomi                      De La Rosa Law, P.A.     3:23-cv-21663
  645              Exum, Pamela                       De La Rosa Law, P.A.     3:23-cv-21665
  646             Shanks, Pamela                      De La Rosa Law, P.A.     3:23-cv-21667
  647         Kalsinski, Patricia Ann                 De La Rosa Law, P.A.     3:23-cv-21671
  648             Lay, Regina Lyn                     De La Rosa Law, P.A.     3:23-cv-21672
  649             Allen, Roxanna                      De La Rosa Law, P.A.     3:23-cv-21675
  650               Knauls, Ruby                      De La Rosa Law, P.A.     3:23-cv-21676
  651               Baker, Sherri                     De La Rosa Law, P.A.     3:23-cv-21681
  652               Lepri, Susan                      De La Rosa Law, P.A.     3:23-cv-21682
  653                Hall, Sylvia                     De La Rosa Law, P.A.     3:23-cv-21683
  654             Harris, Tammra                      De La Rosa Law, P.A.     3:23-cv-21686
  655          Pile, Tammy Teresa                     De La Rosa Law, P.A.     3:23-cv-21689
  656          Madisen, Terra Ann                     De La Rosa Law, P.A.     3:23-cv-21691
  657       Kennedy-Roberts, Theresa                  De La Rosa Law, P.A.     3:23-cv-21700
  658             Hemphili, Traci                     De La Rosa Law, P.A.     3:23-cv-21702
  659          Townsend, Trenna                       De La Rosa Law, P.A.     3:23-cv-21704
  660              Barker, Trudy                      De La Rosa Law, P.A.     3:23-cv-21723
  661               Faaoso, Uila                      De La Rosa Law, P.A.     3:23-cv-21724
  662             Leabo, Victoria                     De La Rosa Law, P.A.     3:23-cv-21726
  663          Kelly, Victoria Lynn                   De La Rosa Law, P.A.     3:23-cv-21731
  664             Arevalo, Zayda                      De La Rosa Law, P.A.     3:23-cv-21733
  665           Johnson, Christine                    De La Rosa Law, P.A.     3:23-cv-21756
  666             Felix, Alejandra                    De La Rosa Law, P.A.     3:23-cv-21873
  667              Casas, Amelyn                      De La Rosa Law, P.A.     3:23-cv-21875
  668             Anderson, Amy                       De La Rosa Law, P.A.     3:23-cv-21877
  669            Rodriguez, Anna                      De La Rosa Law, P.A.     3:23-cv-21879
  670             Robbins, Debra                      De La Rosa Law, P.A.     3:23-cv-21881
  671              Brisson, Silvia                    De La Rosa Law, P.A.     3:23-cv-21883
  672          Domingue, Audrey                       De La Rosa Law, P.A.     3:23-cv-21884
  673            Clinkscale, Debra                    De La Rosa Law, P.A.     3:23-cv-21885
  674             Attardi, Martha                     De La Rosa Law, P.A.     3:23-cv-21886
  675              Bartlett, Staci                    De La Rosa Law, P.A.     3:23-cv-21887
  676            Dowling, Delores                     De La Rosa Law, P.A.     3:23-cv-21888
  677             Cravetts, Diane                     De La Rosa Law, P.A.     3:23-cv-21890
  678             Martin, Teresa                      De La Rosa Law, P.A.     3:23-cv-21891
  679              Flores, Eliasar                    De La Rosa Law, P.A.     3:23-cv-21892
  680              Herring, Mary                      De La Rosa Law, P.A.     3:23-cv-21894
  681                Bibi, Batool                     De La Rosa Law, P.A.     3:23-cv-21895
  682         Cooper, Emma Carole                     De La Rosa Law, P.A.     3:23-cv-21896


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Row # Case Name                         Plaintiff Firm(s)                   Current Cause #
  683            Merenda, Maria                      De La Rosa Law, P.A.     3:23-cv-21897
  684             Keech, Janice                      De La Rosa Law, P.A.     3:23-cv-21898
  685         Hector-Zepeda, Toni                    De La Rosa Law, P.A.     3:23-cv-21899
  686          Brownlow, Ethel L.                    De La Rosa Law, P.A.     3:23-cv-21900
  687              Swingle, Eve                      De La Rosa Law, P.A.     3:23-cv-21901
  688         Ballou, Linda Polidore                 De La Rosa Law, P.A.     3:23-cv-21902
  689         Weldon, Tonya Marie                    De La Rosa Law, P.A.     3:23-cv-21903
  690         Weldon, Tonya Marie                    De La Rosa Law, P.A.     3:23-cv-21906
  691               Wells, Mary                      De La Rosa Law, P.A.     3:23-cv-21908
  692               Jones, Vicky                     De La Rosa Law, P.A.     3:23-cv-21909
  693         Skidmore, Janice Lee                   De La Rosa Law, P.A.     3:23-cv-21910
  694                 Hill, Betty                    De La Rosa Law, P.A.     3:23-cv-21911
  695             Harris, Frances                    De La Rosa Law, P.A.     3:23-cv-21912
  696              Baker, Linda                      De La Rosa Law, P.A.     3:23-cv-21913
  697              Purvis, Gatha                     De La Rosa Law, P.A.     3:23-cv-21914
  698           Kennedy, Victoria                    De La Rosa Law, P.A.     3:23-cv-21915
  699             Love, Georgia                      De La Rosa Law, P.A.     3:23-cv-21916
  700                Soliz, Janie                    De La Rosa Law, P.A.     3:23-cv-21917
  701         Fodor, Leslie Theresa                  De La Rosa Law, P.A.     3:23-cv-21918
  702                Truong, Vy                      De La Rosa Law, P.A.     3:23-cv-21919
  703           Bayne, Ginger Lea                    De La Rosa Law, P.A.     3:23-cv-21920
  704                 Ring, Lark                     De La Rosa Law, P.A.     3:23-cv-21921
  705            Patria, Jeannine                    De La Rosa Law, P.A.     3:23-cv-21922
  706          Sendgraff, Michelle                   De La Rosa Law, P.A.     3:23-cv-21923
  707              Hood, Gloria                      De La Rosa Law, P.A.     3:23-cv-21924
  708                Hirt, Carol                     De La Rosa Law, P.A.     3:23-cv-21925
  709             Valley, Kristin                    De La Rosa Law, P.A.     3:23-cv-21926
  710               Ford, Grace                      De La Rosa Law, P.A.     3:23-cv-21927
  711            Miles, Christine                    De La Rosa Law, P.A.     3:23-cv-21928
  712             Fritz, Gwanda                      De La Rosa Law, P.A.     3:23-cv-21929
  713            Vincent, Glenda                     De La Rosa Law, P.A.     3:23-cv-21930
  714              Oneal, Kathy                      De La Rosa Law, P.A.     3:23-cv-21931
  715            Dodson, Nancy                       De La Rosa Law, P.A.     3:23-cv-21932
  716             Perales, Helen                     De La Rosa Law, P.A.     3:23-cv-21933
  717             Gallas, Joanne                     De La Rosa Law, P.A.     3:23-cv-21935
  718                Auld, Karla                     De La Rosa Law, P.A.     3:23-cv-21936
  719       Wilkerson, Bradley Robert                De La Rosa Law, P.A.     3:23-cv-21937
  720             Hawtin, Janet                      De La Rosa Law, P.A.     3:23-cv-21938
  721                Jones, Inez                     De La Rosa Law, P.A.     3:23-cv-21939
  722        Borton, Kathleen Louise                 De La Rosa Law, P.A.     3:23-cv-21940
  723        Steadham, Nevada Gay                    De La Rosa Law, P.A.     3:23-cv-21941
  724             Raines, Judith                     De La Rosa Law, P.A.     3:23-cv-21942
  725             Mylius, Karen                      De La Rosa Law, P.A.     3:23-cv-21943
  726             Hawtin, Janet                      De La Rosa Law, P.A.     3:23-cv-21944
  727              Komac, Pam                        De La Rosa Law, P.A.     3:23-cv-21947
  728           Pladdys, Kathleen                    De La Rosa Law, P.A.     3:23-cv-21948


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Row # Case Name                         Plaintiff Firm(s)                   Current Cause #
  729                  Oak, Julie                    De La Rosa Law, P.A.     3:23-cv-21949
  730             Mishler, Brenda                    De La Rosa Law, P.A.     3:23-cv-21951
  731              Zapata, Ivette                    De La Rosa Law, P.A.     3:23-cv-21952
  732               Carson, Judy                     De La Rosa Law, P.A.     3:23-cv-21953
  733               Bottke, Carol                    De La Rosa Law, P.A.     3:23-cv-21954
  734           Raymondo, Shirley                    De La Rosa Law, P.A.     3:23-cv-21958
  735            Hutteman, Carole                    De La Rosa Law, P.A.     3:23-cv-21961
  736           Hopkins, Jacqueline                  De La Rosa Law, P.A.     3:23-cv-21962
  737               Cuffee, Shari                    De La Rosa Law, P.A.     3:23-cv-21965
  738              Savage, Chyrel                    De La Rosa Law, P.A.     3:23-cv-21966
  739            Bachman, Pamela                     De La Rosa Law, P.A.     3:23-cv-21967
  740            Pearson, Saundra                    De La Rosa Law, P.A.     3:23-cv-21968
  741               Allen, Jamila                    De La Rosa Law, P.A.     3:23-cv-21969
  742             McQuaig, Sarah                     De La Rosa Law, P.A.     3:23-cv-21970
  743            Norman, Patricia                    De La Rosa Law, P.A.     3:23-cv-21971
  744            Prickett, Darlene                   De La Rosa Law, P.A.     3:23-cv-21972
  745             Lavash, Daphne                     De La Rosa Law, P.A.     3:23-cv-21973
  746            Donohue, Patricia                   De La Rosa Law, P.A.     3:23-cv-21975
  747            Wooden, Sandra                      De La Rosa Law, P.A.     3:23-cv-21977
  748                Boyd, Darcy                     De La Rosa Law, P.A.     3:23-cv-21980
  749            Skidgell, Darlene                   De La Rosa Law, P.A.     3:23-cv-21982
  750        Shaffer-Gordon, Patricia                De La Rosa Law, P.A.     3:23-cv-21985
  751          Carnes, Debbora Sue                   De La Rosa Law, P.A.     3:23-cv-21986
  752           Homschek, Darlene                    De La Rosa Law, P.A.     3:23-cv-21987
  753          Helton, Penny Lenea                   De La Rosa Law, P.A.     3:23-cv-21988
  754          Lucas, Rebecca Fayee                  De La Rosa Law, P.A.     3:23-cv-21991
  755              Keith, Deborah                    De La Rosa Law, P.A.     3:23-cv-21992
  756             Rudolph, Robert                    De La Rosa Law, P.A.     3:23-cv-21996
  757       Kindred, Deborah Suzanne                 De La Rosa Law, P.A.     3:23-cv-21998
  758               Villa, Rebecca                   De La Rosa Law, P.A.     3:23-cv-21999
  759                Incitti, Linda                  De La Rosa Law, P.A.     3:23-cv-22001
  760         Bittner, Melissa Marie                 De La Rosa Law, P.A.     3:23-cv-22002
  761              Miranda, Kerri                    De La Rosa Law, P.A.     3:23-cv-22004
  762            Coleman, Donna                      De La Rosa Law, P.A.     3:23-cv-22011
  763              Mooney, Beth                      De La Rosa Law, P.A.     3:23-cv-22012
  764             Rudolph, Donna                     De La Rosa Law, P.A.     3:23-cv-22013
  765               Luzzi, Martha                    De La Rosa Law, P.A.     3:23-cv-22016
  766           Raymondo, Shirley                    De La Rosa Law, P.A.     3:23-cv-22019
  767             McGrath, Karen                     De La Rosa Law, P.A.     3:23-cv-22020
  768               Linkous, Beth                    De La Rosa Law, P.A.     3:23-cv-22021
  769        Weichselbaumer, Gisela                  De La Rosa Law, P.A.     3:23-cv-22022
  770              Mooney, Beth                      De La Rosa Law, P.A.     3:23-cv-22023
  771              Sudol, Patricia                   De La Rosa Law, P.A.     3:23-cv-22024
  772               Hawtin, Janet                    De La Rosa Law, P.A.     3:23-cv-22025
  773                 Hall, Janet                    De La Rosa Law, P.A.     3:23-cv-22026
  774              Tarnow, Nancy                     De La Rosa Law, P.A.     3:23-cv-22027


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Row # Case Name                              Plaintiff Firm(s)                   Current Cause #
  775               Linkous, Beth                         De La Rosa Law, P.A.     3:23-cv-22028
  776              Carter, Kaelyn                         De La Rosa Law, P.A.     3:23-cv-22029
  777                Rios, Kathie                         De La Rosa Law, P.A.     3:23-cv-22030
  778                  Hirt, Carol                        De La Rosa Law, P.A.     3:23-cv-22031
  779             Pena, Mercedes                          De La Rosa Law, P.A.     3:23-cv-22032
  780             Kelley, Kathleen                        De La Rosa Law, P.A.     3:23-cv-22033
  781                  Hirt, Carol                        De La Rosa Law, P.A.     3:23-cv-22034
  782             Mccarthur, Lynn                         De La Rosa Law, P.A.     3:23-cv-22038
  783            Pladdys, Kathleen                        De La Rosa Law, P.A.     3:23-cv-22040
  784             Miles, Christine                        De La Rosa Law, P.A.     3:23-cv-22041
  785             McDaniel, Linda                         De La Rosa Law, P.A.     3:23-cv-22043
  786              Miranda, Kerri                         De La Rosa Law, P.A.     3:23-cv-22044
  787             Miles, Christine                        De La Rosa Law, P.A.     3:23-cv-22045
  788                Hull, Lenora                         De La Rosa Law, P.A.     3:23-cv-22047
  789                Incitti, Linda                       De La Rosa Law, P.A.     3:23-cv-22048
  790             Stoia, Concetta                         De La Rosa Law, P.A.     3:23-cv-22049
  791             Stoia, Concetta                         De La Rosa Law, P.A.     3:23-cv-22050
  792                Lux, Debbie                          De La Rosa Law, P.A.     3:23-cv-22051
  793               Ybarra, Leslie                        De La Rosa Law, P.A.     3:23-cv-22052
  794                Smith, Rosie                         De La Rosa Law, P.A.     3:23-cv-22054
  795             Fleeson, Tammy                          De La Rosa Law, P.A.     3:23-cv-22055
  796              Celik, Theresa                         De La Rosa Law, P.A.     3:23-cv-22056
  797              Herron, Phillis                        De La Rosa Law, P.A.     3:23-cv-22057
  798             George, Randie                          De La Rosa Law, P.A.     3:23-cv-22058
  799             Kevern, Barbara                         De La Rosa Law, P.A.     3:23-cv-22069
  800               Sprague, Joy                          De La Rosa Law, P.A.     3:23-cv-22070
  801              Batista, Pedro                         De La Rosa Law, P.A.     3:23-cv-22071
  802            Anderson, Charlie                        De La Rosa Law, P.A.     3:23-cv-22072
  803            Hudson, Rheaann                          De La Rosa Law, P.A.     3:23-cv-22073
  804            Hudson, Miranda                          De La Rosa Law, P.A.     3:23-cv-22074
  805               Wells, Diane                          De La Rosa Law, P.A.     3:23-cv-22076
  806                Marks, Jacki                         De La Rosa Law, P.A.     3:23-cv-22077
  807             Zaidman, Steve                          De La Rosa Law, P.A.     3:23-cv-22079
  808          Stepanovich, Melissa                       De La Rosa Law, P.A.     3:23-cv-22080
  809         Webster, Barbara Jean                       De La Rosa Law, P.A.     3:23-cv-22132
  810              Launius, Linda                         De La Rosa Law, P.A.     3:23-cv-22133
  811     Seasack Pile, Eleanor Jacqueline                De La Rosa Law, P.A.     3:23-cv-22134
  812           Ehresmann, Joann                          De La Rosa Law, P.A.     3:23-cv-22135
  813           Knight, Jacqueline                        De La Rosa Law, P.A.     3:23-cv-22136
  814                 Tobin, June                         De La Rosa Law, P.A.     3:23-cv-22137
  815         Fuentes, Cynthia Anna                       De La Rosa Law, P.A.     3:23-cv-22138
  816              Zapata, Ivette                         De La Rosa Law, P.A.     3:23-cv-22139
  817              Davis, Pamela                          De La Rosa Law, P.A.     3:23-cv-22140
  818            Roberts, Zenaida                         De La Rosa Law, P.A.     3:23-cv-22141
  819        Del Tufo, Francis William                    De La Rosa Law, P.A.     3:23-cv-22142
  820           Phillips, Mary Jane                       De La Rosa Law, P.A.     3:23-cv-22143


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Row # Case Name                               Plaintiff Firm(s)                   Current Cause #
  821              Asher, Connie                           De La Rosa Law, P.A.     3:23-cv-22144
  822             Williams, Leslie                         De La Rosa Law, P.A.     3:23-cv-22145
  823              Francis, Karen                          De La Rosa Law, P.A.     3:23-cv-22146
  824              Brannen, Irma                           De La Rosa Law, P.A.     3:23-cv-22147
  825            Escobedo, Letha                           De La Rosa Law, P.A.     3:23-cv-22148
  826             Dupuis, Jeanne                           De La Rosa Law, P.A.     3:23-cv-22149
  827                 Hall, Lee                            De La Rosa Law, P.A.     3:23-cv-22150
  828    Feliciano Rivera, Sheilah Cristina                De La Rosa Law, P.A.     3:23-cv-22152
  829            Milliken, Patricia                        De La Rosa Law, P.A.     3:23-cv-22153
  830           Setterlund, Danelle                        De La Rosa Law, P.A.     3:23-cv-22154
  831           Fuhrmann, Barbara                          De La Rosa Law, P.A.     3:23-cv-22155
  832               Pecora, Lisa                           De La Rosa Law, P.A.     3:23-cv-22166
  833              James, Emmit                            De La Rosa Law, P.A.     3:23-cv-22167
  834             Olenick, Virginia                        De La Rosa Law, P.A.     3:23-cv-22169
  835               Hurst, Ethel                           De La Rosa Law, P.A.     3:23-cv-22170
  836            Moore, Gertrude                           De La Rosa Law, P.A.     3:23-cv-22171
  837             Jennings, Mary                           De La Rosa Law, P.A.     3:23-cv-22172
  838           Willis, Traci Lynette                      De La Rosa Law, P.A.     3:23-cv-22173
  839                Kyle, Joann                           De La Rosa Law, P.A.     3:23-cv-22174
  840               Liu, Guiying                           De La Rosa Law, P.A.     3:23-cv-22175
  841               Gaona, Juan                            De La Rosa Law, P.A.     3:23-cv-22177
  842            Glidden, Murray                           De La Rosa Law, P.A.     3:23-cv-22178
  843               Dunn, Annie                            De La Rosa Law, P.A.     3:23-cv-22179
  844               Hefke, Linda                           De La Rosa Law, P.A.     3:23-cv-22180
  845            Clinkscale, Debra                         De La Rosa Law, P.A.     3:23-cv-22181
  846             Schmeling, Pat                           De La Rosa Law, P.A.     3:23-cv-22182
  847         Maxwell-Certain, Tracie                      De La Rosa Law, P.A.     3:23-cv-22183
  848               Glass, Keith                           De La Rosa Law, P.A.     3:23-cv-22185
  849         Fernandez, Daphne Ann                        De La Rosa Law, P.A.     3:23-cv-22186
  850             Barrera, Pedro                           De La Rosa Law, P.A.     3:23-cv-22187
  851              Agee, Tykisha                           De La Rosa Law, P.A.     3:23-cv-22188
  852            Amesquita, Diana                          De La Rosa Law, P.A.     3:23-cv-22189
  853              Stack, Richard                          De La Rosa Law, P.A.     3:23-cv-22191
  854            Land, Modestine                           De La Rosa Law, P.A.     3:23-cv-22193
  855            Schlueter, Diana                          De La Rosa Law, P.A.     3:23-cv-22195
  856               Call, Jeanna                           De La Rosa Law, P.A.     3:23-cv-22197
  857               Ackley, Carol                          De La Rosa Law, P.A.     3:23-cv-22225
  858               Lee, Sharon                            De La Rosa Law, P.A.     3:23-cv-22226
  859             Cowart, Margie                           De La Rosa Law, P.A.     3:23-cv-22227
  860                Seals, Jenni                          De La Rosa Law, P.A.     3:23-cv-22228
  861             Gingras, Doreen                          De La Rosa Law, P.A.     3:23-cv-22229
  862              Mcfall, Karen                           De La Rosa Law, P.A.     3:23-cv-22232
  863              Kenol, Patricia                         De La Rosa Law, P.A.     3:23-cv-22233
  864             Graham, Sharyn                           De La Rosa Law, P.A.     3:23-cv-22234
  865           Chambers, Francine                         De La Rosa Law, P.A.     3:23-cv-22235
  866           Murrell, Patsy Ann                         De La Rosa Law, P.A.     3:23-cv-22236


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Row # Case Name                        Plaintiff Firm(s)                    Current Cause #
  867               Caez, Kayla                     De La Rosa Law, P.A.      3:23-cv-22237
  868           Figueroa, Teresita                  De La Rosa Law, P.A.      3:23-cv-22238
  869            Macleod, Honey                     De La Rosa Law, P.A.      3:23-cv-22239
  870               Trish, Janet                    De La Rosa Law, P.A.      3:23-cv-22241
  871              Pierson, Kelly                   De La Rosa Law, P.A.      3:23-cv-22242
  872          Lambert, Hortencia                   De La Rosa Law, P.A.      3:23-cv-22243
  873        Barnes, Rhonda Rushton                 De La Rosa Law, P.A.      3:23-cv-22245
  874            Sylvester, Tikira                  De La Rosa Law, P.A.      3:23-cv-22246
  875               Vest, Laura                     De La Rosa Law, P.A.      3:23-cv-22247
  876            Tice, Valina Lynn                  De La Rosa Law, P.A.      3:23-cv-22248
  877        Posey, Saundra Kennedy                 De La Rosa Law, P.A.      3:23-cv-22249
  878         Hardcastle-Smith, Leah                De La Rosa Law, P.A.      3:23-cv-22250
  879               Braziel, Toni                   De La Rosa Law, P.A.      3:23-cv-22251
  880            Price, Linda Kay                   De La Rosa Law, P.A.      3:23-cv-22254
  881           Sipowicz, Sharon                    De La Rosa Law, P.A.      3:23-cv-22255
  882           Figueroa, Teresita                  De La Rosa Law, P.A.      3:23-cv-22257
  883              Woods, Laura                     De La Rosa Law, P.A.      3:23-cv-22274
  884             Winburn, Terry                    De La Rosa Law, P.A.      3:23-cv-22275
  885             Taylor, Corrine                   De La Rosa Law, P.A.      3:23-cv-22276
  886            Petkovich, Doris                   De La Rosa Law, P.A.      3:23-cv-22277
  887             Komac, Pamela                     De La Rosa Law, P.A.      3:23-cv-22278
  888           Houston, Sammy                      De La Rosa Law, P.A.      3:23-cv-22279
  889            Mcgilbray, Lasue                   De La Rosa Law, P.A.      3:23-cv-22280
  890              Hall, Deborah                    De La Rosa Law, P.A.      3:23-cv-22281
  891               Trish, Janet                    De La Rosa Law, P.A.      3:23-cv-22283
  892            Johnson, Adrian                    De La Rosa Law, P.A.      3:23-cv-22284
  893            Williams, Janise                   De La Rosa Law, P.A.      3:23-cv-22285
  894             Branham, Judy                     De La Rosa Law, P.A.      3:23-cv-22286
  895             Allen, Roxanna                    De La Rosa Law, P.A.      3:23-cv-22287
  896            Bryant, Daphne                     De La Rosa Law, P.A.      3:23-cv-22288
  897           Gonzales, Carmen                      Deaton Law Firm         3:19-cv-12736
  898          Castille, Bernadette                   Deaton Law Firm         3:19-cv-13298
  899              Sachs, Steven                      Dell & Dean PLLC        3:19-cv-20226
  900             Gigliotti, Jason                  Dolce Panepinto, P.C.     3:19-cv-05857
  901            Ateek, Shirley A                   Dorothy V. Maier, PA      3:18-cv-11241
  902             Dalton, Glenda                      Driscoll Firm, P.C.     3:19-cv-12028
  903             Fuhrman, Chris                      Driscoll Firm, P.C.     3:19-cv-12664
  904              Bailey, James                      Driscoll Firm, P.C.     3:19-cv-12666
  905              DeLucia, Keli                      Driscoll Firm, P.C.     3:19-cv-12667
  906               Potts, Sarah                      Driscoll Firm, P.C.     3:19-cv-12670
  907                Field, Ellen                     Driscoll Firm, P.C.     3:19-cv-12672
  908           Cushenberry, Kay                      Driscoll Firm, P.C.     3:19-cv-12673
  909            Leonardi, Randi                      Driscoll Firm, P.C.     3:19-cv-13133
  910               Ginet, Ciera                      Driscoll Firm, P.C.     3:19-cv-13256
  911             Wosenu, Aster                       Driscoll Firm, P.C.     3:19-cv-17527
  912          Noel-Barrs, Rosena                     Driscoll Firm, P.C.     3:19-cv-18562


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Row # Case Name                      Plaintiff Firm(s)                          Current Cause #
  913              Taylor, Ollie                    Driscoll Firm, P.C.           3:19-cv-18614
  914              Lon, Barbara                     Driscoll Firm, P.C.           3:19-cv-18623
  915             Cohen, Sheila                     Driscoll Firm, P.C.           3:19-cv-19306
  916           Simon, Danielle                     Driscoll Firm, P.C.           3:19-cv-22047
  917           Lipford, Beatrice                   Driscoll Firm, P.C.           3:19-cv-22049
  918               Brieno, Pat                     Driscoll Firm, P.C.           3:19-cv-22051
  919           Holder, Veronica                    Driscoll Firm, P.C.           3:19-cv-22057
  920         Malbrough, Sandra                     Driscoll Firm, P.C.           3:19-cv-22058
  921             Porter, Nellie                    Driscoll Firm, P.C.           3:19-cv-22059
  922             Blakes, Roger                     Driscoll Firm, P.C.           3:19-cv-22060
  923           Bolender, Mary                      Driscoll Firm, P.C.           3:19-cv-22072
  924          McKenzie, Qmetee                     Driscoll Firm, P.C.           3:19-cv-22074
  925            Johnson, Susan                     Driscoll Firm, P.C.           3:19-cv-22077
  926               Blair, Otina                    Driscoll Firm, P.C.           3:19-cv-22079
  927            Shaw, ReNarda                      Driscoll Firm, P.C.           3:19-cv-22156
  928             Hood, Donna                       Driscoll Firm, P.C.           3:19-cv-22158
  929               Lilly, Anita                    Driscoll Firm, P.C.           3:19-cv-22160
  930               Roy, Debra                      Driscoll Firm, P.C.           3:19-cv-22161
  931             Martin, Mary                      Driscoll Firm, P.C.           3:19-cv-22166
  932             Block, Rhonda                     Driscoll Firm, P.C.           3:19-cv-22171
  933            Dixon, Marsha                      Driscoll Firm, P.C.           3:19-cv-22173
  934             Wyatt, Robin                      Driscoll Firm, P.C.           3:19-cv-22175
  935           Williams, Sherita                   Driscoll Firm, P.C.           3:19-cv-22179
  936           Burger, Dorothy                     Driscoll Firm, P.C.           3:19-cv-22185
  937               Reed, Anita                     Driscoll Firm, P.C.           3:23-cv-17887
  938           Hendricks, Roger                    Driscoll Firm, P.C.           3:23-cv-19358
  939           Truman, Shirley                     Driscoll Firm, P.C.           3:23-cv-19851
  940           Welsh, Rebecca                      Driscoll Firm, P.C.           3:23-cv-19857
  941              Young, Joan                      Driscoll Firm, P.C.           3:23-cv-19858
  942            Malott, Lauren                   Duerring Law Offices            3:19-cv-11756
  943              Blake, Krysta      Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13185
                                                      Wooten, PLLC
  944           Turner, Marian Sue    Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13191
                                                      Wooten, PLLC
  945              Hare, Kristie      Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13196
                                                      Wooten, PLLC
  946             Butler, Tonya       Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13205
                                                      Wooten, PLLC
  947           Hammond, Shelly       Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13210
                                                      Wooten, PLLC
  948             Dasher, Carrie      Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13216
                                                      Wooten, PLLC
  949             Rash, Marjorie      Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13679
                                                      Wooten, PLLC
  950             Collins, Valerie    Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13688
                                                      Wooten, PLLC


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Row # Case Name                      Plaintiff Firm(s)                          Current Cause #
  951           Blanton, Sharon       Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13690
                                                      Wooten, PLLC
  952             Hrouda, Lesli       Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-13692
                                                      Wooten, PLLC
  953            Nations, Carrie      Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-15409
                                                      Wooten, PLLC
  954            Bartoletti, Carol    Edlund, Gallagher, Haslam, McCall, Wolf &   3:18-cv-15427
                                                      Wooten, PLLC
  955             Davis, Robbie       Edlund, Gallagher, Haslam, McCall, Wolf &   3:19-cv-08245
                                                      Wooten, PLLC
  956             Cook, Patricia      Edlund, Gallagher, Haslam, McCall, Wolf &   3:19-cv-15619
                                                      Wooten, PLLC
  957            Watson, Cheryl       Edlund, Gallagher, Haslam, McCall, Wolf &   3:19-cv-19507
                                                      Wooten, PLLC
  958              Criso, Irene       Eichen, Crutchlow, Zaslow & McElroy, LLP    3:18-cv-00533

  959            Noble, George        Eichen, Crutchlow, Zaslow & McElroy, LLP    3:18-cv-17223

  960            Bishop, Imelda       Eichen, Crutchlow, Zaslow & McElroy, LLP    3:18-cv-17395

  961           Mervine, Bonnie            EISENBERG GILCHRIST & CUTT             3:19-cv-08844
  962            O'Hara, Nancy             EISENBERG GILCHRIST & CUTT             3:19-cv-08849
  963             Norris, Lisa             EISENBERG GILCHRIST & CUTT             3:19-cv-08854
  964            Haly, Patricia            EISENBERG GILCHRIST & CUTT             3:19-cv-08856
  965             Wade, Linda              EISENBERG GILCHRIST & CUTT             3:19-cv-08859
  966           Harron, Tamara       Eisenberg, Rothweiler, Winkler Eisenberg &   3:19-cv-12458
                                                      Jeck, P.C.
  967              Gran, Lewis       Eisenberg, Rothweiler, Winkler Eisenberg &   3:19-cv-16998
                                                      Jeck, P.C.
  968               Long, Lisa       Eisenberg, Rothweiler, Winkler Eisenberg &   3:19-cv-21374
                                                      Jeck, P.C.
  969              Smith, Gloria             Fitzgerald Law Group, LLC            3:18-cv-13989
  970           Traynor, Marlene             Fitzgerald Law Group, LLC            3:18-cv-14492
  971          Cheatham, Donald               Fleming, Nolen & Jez, LLP           3:19-cv-08112
  972           Cosby, Cassandra             Fleming, Nolen & Jez, LLP            3:19-cv-08129
  973          Gurda, Jeanne Ann              Fleming, Nolen & Jez, LLP           3:19-cv-12251
  974            Ochoa, Roberta               Fleming, Nolen & Jez, LLP           3:19-cv-12495
  975            Pasquale, Susan              Fleming, Nolen & Jez, LLP           3:19-cv-12522
  976             Sapp, Miranda                 Fletcher V. Trammell              3:19-cv-10197
  977            White, Monica                  Fletcher V. Trammell              3:19-cv-10201
  978          Whiteside, Rolanda               Fletcher V. Trammell              3:19-cv-10204
  979          Godwin, Frankiettia              Fletcher V. Trammell              3:19-cv-10207
  980             Velez, Theresa                Fletcher V. Trammell              3:19-cv-13013
  981              Desselle, Pia                Fletcher V. Trammell              3:19-cv-13027
  982           Gonzalez, Patricia              Fletcher V. Trammell              3:19-cv-13531
  983             Fletcher, Peter               Fletcher V. Trammell              3:19-cv-13533


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Row # Case Name                       Plaintiff Firm(s)                   Current Cause #
   984            Saccardo, Laura                  Fletcher V. Trammell     3:19-cv-13539
   985             Burnsed, Birgit                 Fletcher V. Trammell     3:19-cv-13544
   986            Perkins, Sharon                  Fletcher V. Trammell     3:19-cv-13960
   987             Wallace, Janna                  Fletcher V. Trammell     3:19-cv-14102
   988             Harris, Cynthia                 Fletcher V. Trammell     3:19-cv-14109
   989           Armstrong, Mary                   Fletcher V. Trammell     3:19-cv-14361
   990           Bedford, Darlene                  Fletcher V. Trammell     3:19-cv-14368
   991          Branch, Cassondra                  Fletcher V. Trammell     3:19-cv-14371
   992              Burks, Nancy                   Fletcher V. Trammell     3:19-cv-14385
   993           Carnes, Christina                 Fletcher V. Trammell     3:19-cv-14386
   994             Bailey, Angela                  Fletcher V. Trammell     3:19-cv-14462
   995              Childers, Joni                 Fletcher V. Trammell     3:19-cv-14463
   996            Creamer, Misty                   Fletcher V. Trammell     3:19-cv-14472
   997              Cruse, Lindsi                  Fletcher V. Trammell     3:19-cv-14476
   998           Dickerson, Misty                  Fletcher V. Trammell     3:19-cv-14488
   999         Nordlund, Elizabeth                 Fletcher V. Trammell     3:19-cv-14524
  1000            Hunter, Natasha                  Fletcher V. Trammell     3:19-cv-14525
  1001            Rutledge, Billie                 Fletcher V. Trammell     3:19-cv-14527
  1002              King, Dianna                   Fletcher V. Trammell     3:19-cv-14530
  1003             Rogers, Carrie                  Fletcher V. Trammell     3:19-cv-14531
  1004               Noe, Billie                   Fletcher V. Trammell     3:19-cv-14538
  1005          Coleman, Martha                    Fletcher V. Trammell     3:19-cv-14545
  1006            Dixon, Courtney                  Fletcher V. Trammell     3:19-cv-14546
  1007        Young-Horner, Stacey                 Fletcher V. Trammell     3:19-cv-14547
  1008             Doyle, Donna                    Fletcher V. Trammell     3:19-cv-14556
  1009            Hardy, Jenavisa                  Fletcher V. Trammell     3:19-cv-14562
  1010            McGhee, Bambi                    Fletcher V. Trammell     3:19-cv-14563
  1011            Mims, Angelica                   Fletcher V. Trammell     3:19-cv-14564
  1012            Green, Tyronza                   Fletcher V. Trammell     3:19-cv-14567
  1013              Torres, Luisa                  Fletcher V. Trammell     3:19-cv-14570
  1014              Hicks, Crystal                 Fletcher V. Trammell     3:19-cv-14571
  1015         Ehrnsberger, Russell                Fletcher V. Trammell     3:19-cv-14576
  1016          Hemphill, Latrissa                 Fletcher V. Trammell     3:19-cv-14581
  1017              Ribken, Tina                   Fletcher V. Trammell     3:19-cv-14583
  1018            Krupp Jr., Julius                Fletcher V. Trammell     3:19-cv-14585
  1019              Sarah, Kathy                   Fletcher V. Trammell     3:19-cv-14586
  1020           Ingram, Kimberly                  Fletcher V. Trammell     3:19-cv-14587
  1021            Martinez, Marry                  Fletcher V. Trammell     3:19-cv-14614
  1022           Lindsey, Melinda                  Fletcher V. Trammell     3:19-cv-14623
  1023             Jackson, Jesse                  Fletcher V. Trammell     3:19-cv-14624
  1024           Lewis, Josephine                  Fletcher V. Trammell     3:19-cv-15005
  1025           Milliner, Joakima                 Fletcher V. Trammell     3:19-cv-16440
  1026           Greenwell, Kathy                  Fletcher V. Trammell     3:19-cv-16441
  1027          Williams, Jeremiah                 Fletcher V. Trammell     3:19-cv-16442
  1028              Ford, Tiffany                  Fletcher V. Trammell     3:19-cv-16443
  1029            Hughes, Emily J                  Fletcher V. Trammell     3:19-cv-16445


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Row # Case Name                        Plaintiff Firm(s)                          Current Cause #
  1030             Lynn, Randy                      Fletcher V. Trammell            3:19-cv-16479
  1031            Ulrich, Valerie                   Fletcher V. Trammell            3:19-cv-16682
  1032        Palmerton, Elizabeth                  Fletcher V. Trammell            3:19-cv-17717
  1033          Newton, Stacey                      Fletcher V. Trammell            3:19-cv-17718
  1034           Forbes, George                     Fletcher V. Trammell            3:19-cv-17720
  1035          Temple, Jeaneta                     Fletcher V. Trammell            3:19-cv-17722
  1036          Rabalais, Tahnee                    Fletcher V. Trammell            3:19-cv-17822
  1037           Lewis, Tammie                      Fletcher V. Trammell            3:19-cv-19950
  1038             Lange, Linda                     Fletcher V. Trammell            3:19-cv-19952
  1039            Levy, Beaulah                     Fletcher V. Trammell            3:19-cv-20558
  1040            Lout, Cynthia                     Fletcher V. Trammell            3:19-cv-20560
  1041            Hirsch, Tebra                     Fletcher V. Trammell            3:19-cv-20735
  1042           Nicholson, Cyril                   Fletcher V. Trammell            3:19-cv-20747
  1043           Harris, Carolyn                    Fletcher V. Trammell            3:19-cv-20749
  1044           Galaviz, Maria                     Fletcher V. Trammell            3:19-cv-21150
  1045            Mennor, Terri                     Fletcher V. Trammell            3:19-cv-21311
  1046           Clemons, Paula                     Fletcher V. Trammell            3:19-cv-21313
  1047            Ayres, Robert                     Fletcher V. Trammell            3:19-cv-21459
  1048            Mullins, Lora                     Fletcher V. Trammell            3:19-cv-21515
  1049        Capo, Melissa Perez                   Fletcher V. Trammell            3:19-cv-21587
  1050           Harmon, Helda                      Fletcher V. Trammell            3:19-cv-21593
  1051             Perks, Lillian                   Fletcher V. Trammell            3:19-cv-21702
  1052              Short, Lois                     Fletcher V. Trammell            3:19-cv-21703
  1053          Fishman, Allison                    Fletcher V. Trammell            3:19-cv-21705
  1054        Patterson, Samantha                   Fletcher V. Trammell            3:19-cv-21730
  1055            Keller, Shelby                    Fletcher V. Trammell            3:19-cv-21777
  1056          Cooper, Amanda                      Fletcher V. Trammell            3:19-cv-21778
  1057         Hochleutner, Mark                    Fletcher V. Trammell            3:19-cv-22150
  1058          Klingforth, Gary                    Fletcher V. Trammell            3:19-cv-22187
  1059             Garcia, Elisa        Fletcher V. Trammell // Williams Hart Law   3:19-cv-19122
                                                            Firm
 1060         Summers, William Keith                   Frazer Law LLC               3:18-cv-08149
 1061           Summers, Robert                        Frazer Law LLC               3:18-cv-12334
 1062            Shanafelt, Keith                      Frazer Law LLC               3:18-cv-12484
 1063              Oatis, Gina                         Frazer Law LLC               3:18-cv-13066
 1064           Chisholm, Brianna                      Frazer Law LLC               3:18-cv-13412
 1065             Smith, Angela                          Frazer PLC                 3:23-cv-19882
 1066           Goodner, Beverly                         Frazer PLC                 3:23-cv-19894
 1067            Kennedy, Chloe                          Frazer PLC                 3:23-cv-19898
 1068             Parker, Grace                          Frazer PLC                 3:23-cv-19906
 1069            Tester, Jennifer                        Frazer PLC                 3:23-cv-19907
 1070            Goodrich, Kathy                         Frazer PLC                 3:23-cv-19910
 1071              Hill, Maxine                          Frazer PLC                 3:23-cv-19920
 1072             Nichols, Reva                          Frazer PLC                 3:23-cv-19922
 1073             Morgan, Teala                          Frazer PLC                 3:23-cv-19925
 1074             Miller, Donald                         Frazer PLC                 3:23-cv-19928


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Row # Case Name                          Plaintiff Firm(s)                         Current Cause #
  1075            Denny, Gladdys                        Frazer PLC                   3:23-cv-19932
  1076           Conkwright, Joy                        Frazer PLC                   3:23-cv-19935
  1077             Hayes, Mark                          Frazer PLC                   3:23-cv-19938
  1078            Jackson, Portia                       Frazer PLC                   3:23-cv-19941
  1079         Kirkpatrick, Timothy                     Frazer PLC                   3:23-cv-19943
  1080          Armstrong, Phyllis                      Frazer PLC                   3:23-cv-19944
  1081            McDaniel, Tina                     Girardi & Keese                 3:18-cv-01383
  1082               Allen, Kay                      Girardi & Keese                 3:18-cv-15539
  1083             Blanks, Angel                     Girardi & Keese                 3:18-cv-15561
  1084        Brennan-Jones, Cheryl                  Girardi & Keese                 3:18-cv-15567
  1085             Brunty, Sarah                     Girardi & Keese                 3:18-cv-15569
  1086           Chambliss, Linda                    Girardi & Keese                 3:18-cv-15578
  1087             Cole, Mildred                     Girardi & Keese                 3:18-cv-15585
  1088               Curry, Lisa                     Girardi & Keese                 3:18-cv-15591
  1089             Gregory, Jon                      Girardi & Keese                 3:18-cv-15597
  1090            Howard, Janet                      Girardi & Keese                 3:18-cv-15743
  1091            Proctor, Chuck                     Girardi & Keese                 3:18-cv-15746
  1092          Johnson, Deeann                      Girardi & Keese                 3:18-cv-15749
  1093       Ramirez, Awelda Perez                   Girardi & Keese                 3:18-cv-15750
  1094            Ravert, Chester                    Girardi & Keese                 3:18-cv-15751
  1095             Ruge, Ronald                      Girardi & Keese                 3:18-cv-15753
  1096           Shenton, Joseph                     Girardi & Keese                 3:18-cv-15754
  1097             Sims, Ronald                      Girardi & Keese                 3:18-cv-15755
  1098           Fredericks, Linda                   Girardi & Keese                 3:18-cv-15757
  1099          Hammond, Denise                      Girardi & Keese                 3:18-cv-15771
  1100              McLat, Jean                      Girardi & Keese                 3:18-cv-15784
  1101            Green, Sandra                      Girardi & Keese                 3:18-cv-15789
  1102         Montgomery, Joyce                     Girardi & Keese                 3:18-cv-15814
  1103             Muniz, Elicia                     Girardi & Keese                 3:18-cv-15815
  1104             Held, Patricia                    Girardi & Keese                 3:18-cv-15817
  1105           Henry, Maureen                      Girardi & Keese                 3:18-cv-15820
  1106           Pitcher, Deborah                    Girardi & Keese                 3:18-cv-15821
  1107              Hill, Rhonda                     Girardi & Keese                 3:18-cv-15823
  1108              Kelly, Grace                     Girardi & Keese                 3:18-cv-15827
  1109           Lehmann, Betty                      Girardi & Keese                 3:18-cv-15857
  1110           Martin, Rhonda                      Girardi & Keese                 3:18-cv-15869
  1111            Mateo, Gladys                      Girardi & Keese                 3:18-cv-15877
  1112     Maynard-Schoobaar, Gervaise               Girardi & Keese                 3:18-cv-15881
  1113           Terwilliger, Judy                   Girardi & Keese                 3:18-cv-16000
  1114             Tovar, Marie                      Girardi & Keese                 3:18-cv-16001
  1115            Vassar, Sharon                     Girardi & Keese                 3:18-cv-16002
  1116            Seats, Brunice                     Girardi & Keese                 3:19-cv-00037
  1117                Gill, Lisa          Goldenberg Heller Antognoli & Rowland,     3:19-cv-00272
                                                           P.C.
 1118             Cline, Mary                     Goldenberg Law, PLLC               3:23-cv-21485
 1119           Weber, Mary Ann                    Goldstein Greco PC                3:19-cv-05595


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Row # Case Name                        Plaintiff Firm(s)                     Current Cause #
  1120             Arcuni, Phyllis                   Goldstein Greco PC        3:23-cv-15863
  1121             Fuqua, Stacey                     Goldstein Greco PC        3:23-cv-15882
  1122           Cellino, Michele                    Goldstein Greco PC        3:23-cv-15912
  1123             Ruggels, Carol                    Goldstein Greco PC        3:23-cv-15933
  1124          Danziger, Sheldon                    Goldstein Greco PC        3:23-cv-15956
  1125               Entz, Amy                       Goldstein Greco PC        3:23-cv-15985
  1126           Erhart, Joseph C.                   Goldstein Greco PC        3:23-cv-15999
  1127          Creveling, Frances                   Goldstein Greco PC        3:23-cv-16016
  1128               Ritter, Jerri                   Goldstein Greco PC        3:23-cv-16041
  1129           Kingsley, Joshua                    Goldstein Greco PC        3:23-cv-16080
  1130            Gudell, Michael                    Goldstein Greco PC        3:23-cv-16104
  1131             Myles, Pearlie                    Goldstein Greco PC        3:23-cv-16120
  1132            Jarmel, Warren                     Goldstein Greco PC        3:23-cv-16132
  1133             Lawrence, Lisa                    Goldstein Greco PC        3:23-cv-16161
  1134              Knauf, Alan                      Goldstein Greco PC        3:23-cv-16176
  1135          Bucholtz, Virginia                   Goldstein Greco PC        3:23-cv-16217
  1136           Laruccia, Jerome                    Goldstein Greco PC        3:23-cv-16635
  1137         Lonneville, Michael                   Goldstein Greco PC        3:23-cv-16656
  1138           Masterson, Gary                     Goldstein Greco PC        3:23-cv-16672
  1139          McCracken, Brian                     Goldstein Greco PC        3:23-cv-16704
  1140        Mccray-Gardner, Inez                   Goldstein Greco PC        3:23-cv-16719
  1141              Apap, Linda                      Goldstein Greco PC        3:23-cv-16740
  1142               Wong, Lisa                      Goldstein Greco PC        3:23-cv-16760
  1143             Farley, Alisann                   Goldstein Greco PC        3:23-cv-16779
  1144             Faicco, Lauren                    Goldstein Greco PC        3:23-cv-16799
  1145        Panepento, Shannon                     Goldstein Greco PC        3:23-cv-16820
  1146           Penndorf, Henry                     Goldstein Greco PC        3:23-cv-16847
  1147          Akinlawon, Valarie                   Goldstein Greco PC        3:23-cv-16885
  1148              Rivera, Libby                    Goldstein Greco PC        3:23-cv-16903
  1149        Rusmijati-Giobbe, Vivi                 Goldstein Greco PC        3:23-cv-16912
  1150         Scolamiero, Michael                   Goldstein Greco PC        3:23-cv-16931
  1151             Seeman, Brad                      Goldstein Greco PC        3:23-cv-16941
  1152             Serwon, Mary                      Goldstein Greco PC        3:23-cv-16953
  1153           Stellabuto, Nikol                   Goldstein Greco PC        3:23-cv-16966
  1154            Stiegler, James                    Goldstein Greco PC        3:23-cv-17476
  1155               Weiss, Carl                     Goldstein Greco PC        3:23-cv-17670
  1156            Westfall, James                    Goldstein Greco PC        3:23-cv-17717
  1157           Karmel, Theresa                     Goldstein Greco PC        3:23-cv-17743
  1158             Zengerski, Jay                    Goldstein Greco PC        3:23-cv-17790
  1159          Michalski, Edward                    Goldstein Greco PC        3:23-cv-17831
  1160           Chapman, Susan                      Goldstein Greco PC        3:23-cv-17896
  1161           Schwantes, Julie                    Goldstein Greco PC        3:23-cv-17934
  1162             Pilcher, James                    Goldstein Greco PC        3:23-cv-17954
  1163          Mitchell, Roxanne                 Golomb Spirt Grunfeld PC     3:18-cv-09694
  1164            Dennis, Charles                   Goza & Honnold, LLC        3:18-cv-08061
  1165           Babauta, Joseph                    Goza & Honnold, LLC        3:18-cv-11691


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Row # Case Name                         Plaintiff Firm(s)                         Current Cause #
  1166           Cramer, Dulsa                       Goza & Honnold, LLC            3:19-cv-11819
  1167           Henry, Mildred                      Goza & Honnold, LLC            3:19-cv-12142
  1168           Moodt, Pamela                       Goza & Honnold, LLC            3:19-cv-12145
  1169         Lathrop, Geraldine                    Goza & Honnold, LLC            3:19-cv-12156
  1170          Hannah, Shirley                      Goza & Honnold, LLC            3:19-cv-12158
  1171          Griffin, Amanda                      Goza & Honnold, LLC            3:19-cv-12170
  1172            Word, Crystal                     Graham P. Carner, PLLC          3:18-cv-14353
  1173          Benedict, Steven                    Grant & Eisenhofer P. A.        3:23-cv-21139
  1174         Lumpkins, Camille                     Heard Law Firm, PLLC           3:18-cv-13415
  1175        Milliren, Sandra Jean                   Helmsdale Law, LLP            3:18-cv-12164
  1176         Coston, Catherine                       Holland Law Firm             3:18-cv-17079
  1177          Saflor, Edgard S                       Holland Law Firm             3:18-cv-17381
  1178            Bolin, Angela                        Holland Law Firm             3:19-cv-14551
  1179          McFarlin, Sabrina                      Holland Law Firm             3:19-cv-20377
  1180            Davis, Shirley                       Holland Law Firm             3:19-cv-21030
  1181          Marciniak, Celina                  Hurley McKenna & Mertz           3:18-cv-16964
  1182          Bryant, Timothy                    Hurley McKenna & Mertz           3:19-cv-12051
  1183           Gaskin, Sheryl                      Johnson Becker, PLLC           3:19-cv-16072
  1184        Smith, Shirley Frank        Kapusta Deihl & Schweers, LLC // Motley   3:19-cv-00104
                                                            Rice, LLC
 1185              Allen, Ashley                      Keller Postman, LLC           3:23-cv-18949
 1186             Foster, Andrea                      Keller Postman, LLC           3:23-cv-18971
 1187             Lesney, Karen                       Keller Postman, LLC           3:23-cv-18981
 1188             Ming, Cynthia                       Keller Postman, LLC           3:23-cv-19005
 1189            Parker, Tanasha                      Keller Postman, LLC           3:23-cv-19018
 1190           Quesada, Twana                        Keller Postman, LLC           3:23-cv-19034
 1191           Trammell, Adrina                      Keller Postman, LLC           3:23-cv-19056
 1192            Lassiter, Brenda                     Keller Postman, LLC           3:23-cv-19502
 1193            Owens, Jasmine                Kershaw, Cutter & Ratinoff, LLP      3:23-cv-17309
 1194            Marrache, Yvie                         Kiesel Law, LLP             3:19-cv-14337
 1195       Medina, Rosa Monica Serna                   Kiesel Law, LLP             3:19-cv-21076
 1196          Callahan, Deborah             Kiesel Law, LLP // LAW OFFICE OF       3:19-cv-16382
                                                       HAYTHAM FARAJ
 1197            Williams, Suzanna            Kiesel Law, LLP // LAW OFFICE OF      3:19-cv-13438
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                               Inc.
 1198              Ladner, Tonia              Kiesel Law, LLP // LAW OFFICE OF      3:19-cv-13439
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                               Inc.
 1199             Hayes, Sharon               Kiesel Law, LLP // LAW OFFICE OF      3:19-cv-13899
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                               Inc.
 1200              Otis, Barbara              Kiesel Law, LLP // LAW OFFICE OF      3:19-cv-13913
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                               Inc.



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Row # Case Name                         Plaintiff Firm(s)                        Current Cause #
  1201          Fulton, Deborah               Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-13915
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1202           Sanchez, Yvonne               Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-14419
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1203            James, Rhonda                Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-14421
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1204          McClintock, Virginia           Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-15392
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1205             Mitchell, Jane              Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-15425
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1206       Sena-Hernandez, Christina         Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-16241
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1207            Radbill, Natalie             Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-16389
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1208            Corder, Jamie D              Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-16476
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1209             Reece, Shane                Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-17168
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1210             Moina, Janet                Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-17586
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1211            Dazen, Jeanette              Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-17587
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1212             Pruitt, Jessica             Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-17588
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1213            Wallace, Panilla             Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-17589
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1214           Worley, Dorothy               Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-17932
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.
 1215           Simmons, Tammy                Kiesel Law, LLP // LAW OFFICE OF     3:19-cv-17939
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                             Inc.



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Row # Case Name                      Plaintiff Firm(s)                           Current Cause #
  1216          Hyland, Cheryl             Kiesel Law, LLP // LAW OFFICE OF        3:19-cv-18885
                                     HAYTHAM FARAJ // Martinian & Associates,
                                                          Inc.
 1217            Collins, Lynette          Kiesel Law, LLP // LAW OFFICE OF        3:19-cv-19264
                                     HAYTHAM FARAJ // Martinian & Associates,
                                                          Inc.
 1218          Whitehead, Amelia           Kiesel Law, LLP // LAW OFFICE OF        3:19-cv-21318
                                     HAYTHAM FARAJ // Martinian & Associates,
                                                          Inc.
 1219            Perez, Sylvia G           Kiesel Law, LLP // LAW OFFICE OF        3:19-cv-21337
                                     HAYTHAM FARAJ // Martinian & Associates,
                                                          Inc.
 1220            Lafrance, Eula       Kiesel Law, LLP // Martinian & Associates,   3:19-cv-06853
                                       Inc. // The Law Offices of Haytham Faraj

 1221           Gould, Dalphina       Kiesel Law, LLP // Martinian & Associates,   3:19-cv-06856
                                       Inc. // The Law Offices of Haytham Faraj

 1222            Wilburn, Mela        Kiesel Law, LLP // Martinian & Associates,   3:19-cv-06857
                                       Inc. // The Law Offices of Haytham Faraj

 1223              Long, Linda        Kiesel Law, LLP // Martinian & Associates,   3:19-cv-17530
                                       Inc. // The Law Offices of Haytham Faraj

 1224           Mendoza, Maria        Kiesel Law, LLP // Martinian & Associates,   3:19-cv-17533
                                       Inc. // The Law Offices of Haytham Faraj

 1225             Vines, Teresa       Kiesel Law, LLP // Martinian & Associates,   3:19-cv-17534
                                       Inc. // The Law Offices of Haytham Faraj

 1226            Linnebur, Karen      Kiesel Law, LLP // Martinian & Associates,   3:19-cv-18074
                                       Inc. // The Law Offices of Haytham Faraj

 1227            Buvinger, Linda          Killian, Davis, Richter & Mayle, PC      3:19-cv-15825
 1228           Warren, Rebecca           Killian, Davis, Richter & Mayle, PC      3:19-cv-17814
 1229           Harrington, Anna                  Kirkendall Dwyer LLP             3:23-cv-21162
 1230             Pena, Amber                     Kirkendall Dwyer LLP             3:23-cv-21165
 1231          Richardson, Valerie              Kirtland & Packard, LLP            3:23-cv-17123
 1232             Owens, Lena                     Kline & Specter, P.C.            3:18-cv-08314
 1233           Delman, Jacob A.                  Kline & Specter, P.C.            3:18-cv-11797
 1234            Daniel, Theresa                  Kline & Specter, P.C.            3:18-cv-11798
 1235         Vinciguerra, Susanna                Kline & Specter, P.C.            3:18-cv-13648
 1236          Bramanti, Chelsea                  Kline & Specter, P.C.            3:19-cv-09160
 1237           Keeffe, Desiree D                 Kline & Specter, P.C.            3:19-cv-11730
 1238             Lacy, Kelly M                   Kline & Specter, P.C.            3:19-cv-19130
 1239             Agasar, Mary                    Kline & Specter, P.C.            3:23-cv-18883


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Row # Case Name                           Plaintiff Firm(s)                     Current Cause #
  1240            Pedersen, Steve                       Kline & Specter, P.C.     3:23-cv-19302
  1241       Brennan, Cassandra Sue                    Kline & Specter, P.C.      3:23-cv-19303
  1242            Brooks, Rosie P.                     Kline & Specter, P.C.      3:23-cv-19320
  1243            Fournier, Marc                        Kline & Specter, P.C.     3:23-cv-19323
  1244           Douglas, Karen S                      Kline & Specter, P.C.      3:23-cv-19350
  1245             Garay, Aimee                         Kline & Specter, P.C.     3:23-cv-19360
  1246          Grace, Catherine O.                     Kline & Specter, P.C.     3:23-cv-19365
  1247             Hanson, Fred                        Kline & Specter, P.C.      3:23-cv-19377
  1248          Holibaugh, Kristine                     Kline & Specter, P.C.     3:23-cv-19385
  1249         Manganaro, Vivian S                     Kline & Specter, P.C.      3:23-cv-19397
  1250            Martin, Nelda T                       Kline & Specter, P.C.     3:23-cv-19412
  1251           Plantone, Tiffany                      Kline & Specter, P.C.     3:23-cv-19417
  1252             Martin, Linda                        Kline & Specter, P.C.     3:23-cv-19420
  1253           Castellaneta, Ken                      Kline & Specter, P.C.     3:23-cv-19450
  1254    Reynolds, Gaynellaus Reynolds                Kline & Specter, P.C.      3:23-cv-19452
  1255         Riegsecker, Lowell J.                    Kline & Specter, P.C.     3:23-cv-19460
  1256         Walker, II, Richard E.                   Kline & Specter, P.C.     3:23-cv-19465
  1257         Swaby-Smith, Julie G                     Kline & Specter, P.C.     3:23-cv-19469
  1258            Taylor, Edward                       Kline & Specter, P.C.      3:23-cv-19477
  1259          Traylor, Antonette                      Kline & Specter, P.C.     3:23-cv-19482
  1260            White, Marlin E                       Kline & Specter, P.C.     3:23-cv-19491
  1261            Williams, Edith                       Kline & Specter, P.C.     3:23-cv-19499
  1262      Zambik-Simckowitz, Mary J                   Kline & Specter, P.C.     3:23-cv-19504
  1263              Lott, Steven                        Kline & Specter, P.C.     3:23-cv-19950
  1264           Johnson, Karene                        Kline & Specter, P.C.     3:23-cv-19956
  1265             Irving, Shelby                       Kline & Specter, P.C.     3:23-cv-19958
  1266           Shamsie, Candice                      Kline & Specter, P.C.      3:23-cv-19962
  1267            Moody, William                       Kline & Specter, P.C.      3:23-cv-19970
  1268        Palmer-Watts, Carletta                    Kline & Specter, P.C.     3:23-cv-19975
  1269          Weiksner, Kenneth                       Kline & Specter, P.C.     3:23-cv-19982
  1270         Smith-Kurtbek, Dana                      Kline & Specter, P.C.     3:23-cv-19988
  1271              Bush, Agnes                         Kline & Specter, P.C.     3:23-cv-20045
  1272             Callison, Doris                     Kline & Specter, P.C.      3:23-cv-20055
  1273              Bailey, Hilda                      Kline & Specter, P.C.      3:23-cv-20056
  1274            Brown, Darlene                       Kline & Specter, P.C.      3:23-cv-20059
  1275            Frazier, Brenda                       Kline & Specter, P.C.     3:23-cv-20061
  1276           Johnsen, Melissa                       Kline & Specter, P.C.     3:23-cv-20064
  1277              O'hara, Allen                       Kline & Specter, P.C.     3:23-cv-20065
  1278             Roberts, Cellie                     Kline & Specter, P.C.      3:23-cv-20088
  1279             Rarick, Nancy                        Kline & Specter, P.C.     3:23-cv-20096
  1280               Cole, Mary                        Kline & Specter, P.C.      3:23-cv-20109
  1281            Bolton, Dianne                       Kline & Specter, P.C.      3:23-cv-20133
  1282             Smith, Tracey                        Kline & Specter, P.C.     3:23-cv-20136
  1283             Souza, Joanne                       Kline & Specter, P.C.      3:23-cv-20184
  1284           Campbell, Tashia                      Kline & Specter, P.C.      3:23-cv-20192
  1285         Gradington, Supapan                      Kline & Specter, P.C.     3:23-cv-20209


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Row # Case Name                       Plaintiff Firm(s)                         Current Cause #
  1286            Roman, Maritza                    Kline & Specter, P.C.         3:23-cv-20252
  1287           Perriciene, Joann                  Kline & Specter, P.C.         3:23-cv-20274
  1288            Nothaft, Robert                   Kline & Specter, P.C.         3:23-cv-20280
  1289          Stewart, Alycefaye                  Kline & Specter, P.C.         3:23-cv-20283
  1290           Polak, Cariamber                  Knapp & Roberts, P.C.          3:18-cv-12871
  1291          Dockendorf, Maria         Law Office of Charles H Johnson, PA     3:19-cv-13624
  1292         Tyson, Jacqueline M           Law Office of Paul H Bass, PLLC      3:19-cv-12229
  1293            Rodriguez, Dora            Law Offices of Donald G. Norris      3:19-cv-05798
  1294            Himler, Brenda             Law Offices of Donald G. Norris      3:19-cv-16146
  1295             Marlow, Tina              Law Offices of Donald G. Norris      3:23-cv-16957
  1296          Fulmore, Michelle            Law Offices of Donald G. Norris      3:23-cv-16972
  1297            Taylor, Michelle           Law Offices of Donald G. Norris      3:23-cv-16986
  1298            Robertson, Keja            Law Offices of Donald G. Norris      3:23-cv-18404
  1299            Alvarado, Ruth             Law Offices of Donald G. Norris      3:23-cv-19991
  1300           Almquist, Donald            Law Offices of Donald G. Norris      3:23-cv-19995
  1301           Patridge, Thomas            Law Offices of Donald G. Norris      3:23-cv-20040
  1302              Avery, Olivia            Law Offices of Donald G. Norris      3:23-cv-20076
  1303             Carver, Lynda             Law Offices of Donald G. Norris      3:23-cv-20186
  1304             Dubon, Cindy              Law Offices of Donald G. Norris      3:23-cv-20190
  1305             Patton, Evelyn            Law Offices of Donald G. Norris      3:23-cv-20207
  1306             Duran, Cergio             Law Offices of Donald G. Norris      3:23-cv-20355
  1307               Allen, Kim              Law Offices of Donald G. Norris      3:23-cv-20377
  1308           Wilder, Veronica           Law Offices of James Scott Farrin     3:18-cv-05705
  1309        Moore, Annie Louise               Lenze Kamerrer Moss, PLC          3:18-cv-09924
  1310           Monroe, Pamela                 Lenze Kamerrer Moss, PLC          3:18-cv-13674
  1311         Crimmins, Kathleen               Lenze Kamerrer Moss, PLC          3:18-cv-15697
  1312       Rosarioereyes, Pamela              Lenze Kamerrer Moss, PLC          3:19-cv-14099
  1313            Olivas, Melanie                   Lenze Lawyers, PLC            3:19-cv-14163
  1314         Collymore, Denique                   Lenze Lawyers, PLC            3:19-cv-19787
  1315          King Sr., Nathaniel                 Lenze Lawyers, PLC            3:19-cv-19788
  1316       Linquata, Jeanne Marie               Levin Simes Abrams LLP          3:23-cv-19229
  1317             Curd, Barbara                  Levin Simes Abrams LLP          3:23-cv-19248
  1318            Johnston, Linda                      Levin Simes LLP            3:18-cv-02364
  1319        Keleher, Jospeh John                     Levin Simes LLP            3:18-cv-02561
  1320            Kelly, Geraldine                     Levin Simes LLP            3:19-cv-08494
  1321             Lee, Michelle                       Liakos Law APC             3:23-cv-22008
  1322               Labine, Jan                       Liakos Law APC             3:23-cv-22092
  1323            Fletcher, Grace                      Liakos Law APC             3:23-cv-22093
  1324             Matson, Helen                       Liakos Law APC             3:23-cv-22097
  1325             Duncan, Jane                        Liakos Law APC             3:23-cv-22099
  1326            Kass, Mary Ann                   Ludwig Law Firm, PLC           3:23-cv-17828
  1327          Stockenauer, Codi                  Ludwig Law Firm, PLC           3:23-cv-17956
  1328            Smith, Maklisha                  Ludwig Law Firm, PLC           3:23-cv-18021
  1329           Renfroe, Shonna                   Ludwig Law Firm, PLC           3:23-cv-18038
  1330            Butler, Rebecca                  Ludwig Law Firm, PLC           3:23-cv-18131
  1331            Harper, Debrah                   Ludwig Law Firm, PLC           3:23-cv-18149


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Row # Case Name                         Plaintiff Firm(s)                            Current Cause #
  1332             Cesar, Karinna                    Ludwig Law Firm, PLC              3:23-cv-18210
  1333            Bailey, Kimberly                   Ludwig Law Firm, PLC              3:23-cv-18233
  1334           Melnyk, Concetta                    Ludwig Law Firm, PLC              3:23-cv-18275
  1335             Kubik, Amber                      Ludwig Law Firm, PLC              3:23-cv-18290
  1336       Wagner-Chaffee, Wendy                   Ludwig Law Firm, PLC              3:23-cv-18302
  1337          Steward, Donesha                     Ludwig Law Firm, PLC              3:23-cv-18501
  1338           Walters, Dorothy                    Ludwig Law Firm, PLC              3:23-cv-18639
  1339         Harrison, Moquicha                    Ludwig Law Firm, PLC              3:23-cv-18673
  1340            McCraney, John                     Ludwig Law Firm, PLC              3:23-cv-20301
  1341             Mahan, Larry                      Ludwig Law Firm, PLC              3:23-cv-20304
  1342            Chance, Marsha                     Ludwig Law Firm, PLC              3:23-cv-20306
  1343            Mixon, Tammie                      Ludwig Law Firm, PLC              3:23-cv-20368
  1344            Cantrell, Charles                  Ludwig Law Firm, PLC              3:23-cv-20481
  1345          Lindstrom, Candice                   Ludwig Law Firm, PLC              3:23-cv-20482
  1346        Summerville, Precious                  Ludwig Law Firm, PLC              3:23-cv-20484
  1347      Hampton, Caritha Robinson                Ludwig Law Firm, PLC              3:23-cv-20487
  1348               Smith, Hal                      Ludwig Law Firm, PLC              3:23-cv-20489
  1349           Johnson, Jerome                     Ludwig Law Firm, PLC              3:23-cv-20492
  1350             Nowlin, James                     Ludwig Law Firm, PLC              3:23-cv-20496
  1351        Cross, Bernice Frazier                 Ludwig Law Firm, PLC              3:23-cv-20498
  1352         Caballero, Margarita                  Ludwig Law Firm, PLC              3:23-cv-20569
  1353          Soguilon, Ruthann          Martinian & Associates, Inc. // The Law     3:18-cv-03103
                                                   Offices of Haytham Faraj
 1354            Roberts, Audrey           Martinian & Associates, Inc. // The Law     3:18-cv-03105
                                                   Offices of Haytham Faraj
 1355            Mount, Thomas               Mary Alexander & Associates, P.C.         3:23-cv-18824
 1356           Oshetsky, Robert             Mary Alexander & Associates, P.C.         3:23-cv-20410
 1357            Tijerina, Claudia                  McEwen Law Firm, Ltd.              3:18-cv-10830
 1358            Hillyer, Richard                    McEwen Law Firm, Ltd.             3:18-cv-11683
 1359              Sneed, Maria                   McSweeney/Langevin, LLC              3:18-cv-10303
 1360           Sandeen, Lynnea                   McSweeney/Langevin, LLC              3:18-cv-10416
 1361            Playford, Mytyl                  McSweeney/Langevin, LLC              3:18-cv-10506
 1362              Scifo, George                  McSweeney/Langevin, LLC              3:18-cv-10607
 1363           Pascucci, Beatrice                McSweeney/Langevin, LLC              3:18-cv-10726
 1364             Brown, Robert                   McSweeney/Langevin, LLC              3:18-cv-11413
 1365              Davis, Audrey                  McSweeney/Langevin, LLC              3:18-cv-13512
 1366           McDonald, James                   McSweeney/Langevin, LLC              3:18-cv-13587
 1367          Shevenock, Michael                 McSweeney/Langevin, LLC              3:18-cv-13689
 1368             Johnson, Lydia                  McSweeney/Langevin, LLC              3:19-cv-18199
 1369               Fye, Dianna                   McSweeney/Langevin, LLC              3:19-cv-18735
 1370               Owens, Jack                   McSweeney/Langevin, LLC              3:19-cv-19392
 1371               Sostre, Rita                   Messa & Associates, P.C.            3:19-cv-19540
 1372          Smith, Roberta Lynn       Milstein, Jackson, Fairchild & Wade, LLP //   3:19-cv-20329
                                                The Michael Brady Lynch Firm
 1373          Prickett, Sandra Kopp     Milstein, Jackson, Fairchild & Wade, LLP //   3:19-cv-20353
                                                The Michael Brady Lynch Firm


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Row # Case Name                        Plaintiff Firm(s)                   Current Cause #
  1374           Battle, Benjamin                    Morgan & Morgan         3:18-cv-03302
  1375           Wallace, Ana M                      Morgan & Morgan         3:19-cv-20676
  1376             Lihte, Laraine                    Morgan & Morgan         3:19-cv-22097
  1377          Johnson, Cleather                   Morris & Player PLLC     3:18-cv-11261
  1378           Cobb, Catherine                      Morris Bart, LLC       3:18-cv-08683
  1379          Hardy, Shaphonia                      Morris Bart, LLC       3:18-cv-08852
  1380             Jones, Mable                       Morris Bart, LLC       3:18-cv-09188
  1381              Scott, Judith                     Morris Bart, LLC       3:18-cv-09700
  1382            Taylor Jr, Jack                     Morris Bart, LLC       3:18-cv-09976
  1383             Latin, Loretta                     Morris Bart, LLC       3:18-cv-11001
  1384           Hollman, Arzetta                     Morris Bart, LLC       3:18-cv-15653
  1385           Sonnier, Joseph                      Morris Bart, LLC       3:18-cv-15972
  1386          McLaughlin, Marie                     Morris Bart, LLC       3:19-cv-14770
  1387        Anderson, Jr., Edward                   Morris Law Firm        3:18-cv-00844
  1388          Petersen, Judith I                    Motley Rice, LLC       3:18-cv-00892
  1389              Lund, Jane L                      Motley Rice, LLC       3:18-cv-00950
  1390          Russell, Kathryn E                    Motley Rice, LLC       3:18-cv-00979
  1391             Ferrell, Larry                     Motley Rice, LLC       3:18-cv-00992
  1392           Williams, Nadine                     Motley Rice, LLC       3:18-cv-00995
  1393           Dixon, Zelinda K                     Motley Rice, LLC       3:18-cv-01105
  1394            Deffler, Sara E                     Motley Rice, LLC       3:18-cv-01156
  1395            Patton, Penny                       Motley Rice, LLC       3:18-cv-01163
  1396         Lindgren, Kelly Rae                    Motley Rice, LLC       3:18-cv-01170
  1397        Beauchamp, Dianne J                     Motley Rice, LLC       3:18-cv-01180
  1398           Smith, Elizabeth                     Motley Rice, LLC       3:18-cv-01298
  1399           Tuleo, Michael C                     Motley Rice, LLC       3:18-cv-01304
  1400         Hartman, Marcella J                    Motley Rice, LLC       3:18-cv-01351
  1401          Wallace, Wanda F                      Motley Rice, LLC       3:18-cv-01391
  1402           Combs, Cindy A                       Motley Rice, LLC       3:18-cv-01595
  1403            Moore, Duane                        Motley Rice, LLC       3:18-cv-01655
  1404          Burgess, Frances L                    Motley Rice, LLC       3:18-cv-01739
  1405           Park, Rosa Maria                     Motley Rice, LLC       3:18-cv-01808
  1406              Rice, Carol J                     Motley Rice, LLC       3:18-cv-01849
  1407           Theriot, Nancy J                     Motley Rice, LLC       3:18-cv-01862
  1408           Arnold, Teresa D                     Motley Rice, LLC       3:18-cv-01870
  1409           Logozzo, Susan J                     Motley Rice, LLC       3:18-cv-01873
  1410           Corley, Teresa A                     Motley Rice, LLC       3:18-cv-01972
  1411           Cote, Tabatha S                      Motley Rice, LLC       3:18-cv-01982
  1412             Saucer, Lori S                     Motley Rice, LLC       3:18-cv-02002
  1413          Upshur, Carolyn D                     Motley Rice, LLC       3:18-cv-02119
  1414            Hains, Nancy E                      Motley Rice, LLC       3:18-cv-02127
  1415         Brown, Helena Jean                     Motley Rice, LLC       3:18-cv-02145
  1416            Noullet, Betty J                    Motley Rice, LLC       3:18-cv-02150
  1417       Golosewski, Mary Teresa                  Motley Rice, LLC       3:18-cv-02152
  1418           Adkins, Angela A                     Motley Rice, LLC       3:18-cv-02159
  1419            Bond, Marion                        Motley Rice, LLC       3:18-cv-02160


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Row # Case Name                        Plaintiff Firm(s)                 Current Cause #
  1420             Mendez, Nilda                      Motley Rice, LLC     3:18-cv-02161
  1421            Land, Barbara A                     Motley Rice, LLC     3:18-cv-02184
  1422         McLaurin, Cynthia L                    Motley Rice, LLC     3:18-cv-02266
  1423             Dixon, Janice E                    Motley Rice, LLC     3:18-cv-02268
  1424             Groff, Elmas F                     Motley Rice, LLC     3:18-cv-02271
  1425         Hernandez, Maria G                     Motley Rice, LLC     3:18-cv-02277
  1426          Mollere, Sr., Harry                   Motley Rice, LLC     3:18-cv-02285
  1427        Rospond, Gabriela W                     Motley Rice, LLC     3:18-cv-02600
  1428        Sommer-Kresse, Sue                      Motley Rice, LLC     3:18-cv-02603
  1429        Fuller, Robin Annette                   Motley Rice, LLC     3:18-cv-02606
  1430           Flashman, Linda S                    Motley Rice, LLC     3:18-cv-02607
  1431          Schneck, Elizabeth                    Motley Rice, LLC     3:18-cv-02609
  1432           Simon, Barbara A                     Motley Rice, LLC     3:18-cv-02727
  1433            Kaufman, Susan                      Motley Rice, LLC     3:18-cv-02864
  1434        Chappell, Morris Ray                    Motley Rice, LLC     3:18-cv-03936
  1435            Dillard, Michelle                   Motley Rice, LLC     3:18-cv-04400
  1436            Angilletta, Joan                    Motley Rice, LLC     3:18-cv-08853
  1437            Hubbard, Helen                      Motley Rice, LLC     3:18-cv-08861
  1438          Johnson, Melissa T                    Motley Rice, LLC     3:18-cv-09900
  1439          Kurowski, Brenda L                    Motley Rice, LLC     3:18-cv-09934
  1440         Schiefer, Wendy Lee                    Motley Rice, LLC     3:18-cv-10175
  1441          Windham, Susan E                      Motley Rice, LLC     3:18-cv-10212
  1442              Giles, Clezell                    Motley Rice, LLC     3:18-cv-10327
  1443            Adams, Maria A                      Motley Rice, LLC     3:18-cv-10753
  1444        Fernandez, Baldonick                    Motley Rice, LLC     3:18-cv-10755
  1445        Ducksworth, Sherron                     Motley Rice, LLC     3:18-cv-10757
  1446            Hander, David J                     Motley Rice, LLC     3:18-cv-11522
  1447          Scafuri, Anthony F                    Motley Rice, LLC     3:18-cv-12240
  1448           Kayen, William B                     Motley Rice, LLC     3:18-cv-12251
  1449             Cox, Roberta S                     Motley Rice, LLC     3:18-cv-15293
  1450          Brodsky, Maxine N                     Motley Rice, LLC     3:18-cv-15727
  1451         Durrance, Barbara E                    Motley Rice, LLC     3:18-cv-16183
  1452         Glover, Malinda Sue                    Motley Rice, LLC     3:18-cv-16866
  1453        Raley, Johnnye Paula                    Motley Rice, LLC     3:18-cv-17488
  1454              Ortiz, Gladys                     Motley Rice, LLC     3:18-cv-17636
  1455        Berkey, Deborah Jean                    Motley Rice, LLC     3:18-cv-17639
  1456          Wilson, Beverly M                     Motley Rice, LLC     3:18-cv-17652
  1457               Sosa, Maria                      Motley Rice, LLC     3:19-cv-00521
  1458           Begay, Sharon M                      Motley Rice, LLC     3:19-cv-00530
  1459            Walton, Mary N                      Motley Rice, LLC     3:19-cv-00707
  1460              Kirby, Lauren                     Motley Rice, LLC     3:19-cv-04775
  1461             Maxson, Jill M                     Motley Rice, LLC     3:19-cv-04777
  1462        Millwood, Patricia Kay                  Motley Rice, LLC     3:19-cv-04819
  1463           Rowland, Susan B                     Motley Rice, LLC     3:19-cv-05852
  1464          Brown, Deborah E                      Motley Rice, LLC     3:19-cv-06529
  1465             Tates, Tierre T                    Motley Rice, LLC     3:19-cv-07782


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Row # Case Name                       Plaintiff Firm(s)                 Current Cause #
  1466              Cotta, Susan                     Motley Rice, LLC     3:19-cv-11719
  1467            Long, Virginia R                   Motley Rice, LLC     3:19-cv-13783
  1468           Applen, Virginia B                  Motley Rice, LLC     3:19-cv-14140
  1469            Nolan, Veronica                    Motley Rice, LLC     3:19-cv-15350
  1470            Calasara, Elma L                   Motley Rice, LLC     3:19-cv-16232
  1471           Toney, Helene M                     Motley Rice, LLC     3:19-cv-16357
  1472             Arnesen, Erna                     Motley Rice, LLC     3:19-cv-16358
  1473        Freeman, Donnarae L                    Motley Rice, LLC     3:19-cv-16405
  1474             Brown, Glenn                      Motley Rice, LLC     3:19-cv-16837
  1475             Gunter, Tanya                     Motley Rice, LLC     3:19-cv-17649
  1476           Ghafary, Maryam                     Motley Rice, LLC     3:19-cv-17651
  1477        Thomason, George W                     Motley Rice, LLC     3:19-cv-18254
  1478        Youngblood, Doris M                    Motley Rice, LLC     3:19-cv-18275
  1479        Lewandowski, Royal L                   Motley Rice, LLC     3:19-cv-18342
  1480       Dougherty, Roberta M                    Motley Rice, LLC     3:19-cv-18587
  1481        Summerset, Bobby R                     Motley Rice, LLC     3:19-cv-18659
  1482              Fields, Van S                    Motley Rice, LLC     3:19-cv-18895
  1483             Altman, Flora                     Motley Rice, LLC     3:19-cv-18988
  1484            Cahoon, Debra J                    Motley Rice, LLC     3:19-cv-18990
  1485           Agudelo, Marisol                    Motley Rice, LLC     3:19-cv-18999
  1486              Farr, Heidi R                    Motley Rice, LLC     3:19-cv-19255
  1487        Terrebonne, Joycelyn                   Motley Rice, LLC     3:19-cv-19262
  1488             Knight, Gloria                    Motley Rice, LLC     3:19-cv-19376
  1489           Cole, Masheila W                    Motley Rice, LLC     3:19-cv-19393
  1490           Gallegos, Teresa                    Motley Rice, LLC     3:19-cv-19532
  1491            McCoy, Tracy L                     Motley Rice, LLC     3:19-cv-19614
  1492         McEndree, Connie L                    Motley Rice, LLC     3:19-cv-19616
  1493            Eldridge, Carol J                  Motley Rice, LLC     3:19-cv-20127
  1494             Erskine, Jean L                   Motley Rice, LLC     3:19-cv-20145
  1495       Cobbs-Green, Andrea I                   Motley Rice, LLC     3:19-cv-20216
  1496         Crawford, Bernard E                   Motley Rice, LLC     3:19-cv-20263
  1497           Groover, Penny H                    Motley Rice, LLC     3:19-cv-20411
  1498              Page, Tina L                     Motley Rice, LLC     3:19-cv-20482
  1499          Farley, Elizabeth R                  Motley Rice, LLC     3:19-cv-20499
  1500           Thomas, Timothy                     Motley Rice, LLC     3:19-cv-20506
  1501         Simpkins, Suzanne P                   Motley Rice, LLC     3:19-cv-20548
  1502             Hicks, Vivian C                   Motley Rice, LLC     3:19-cv-20580
  1503          Vantell, Alberta M                   Motley Rice, LLC     3:19-cv-21078
  1504              Todd, James                      Motley Rice, LLC     3:19-cv-21461
  1505            Dominski, Jason                    Motley Rice, LLC     3:19-cv-21679
  1506          Tomesch, Edwina L                    Motley Rice, LLC     3:19-cv-22235
  1507         Tomaszek, Karen L.                    Motley Rice, LLC     3:23-cv-15120
  1508           Perry, Melissa A.                   Motley Rice, LLC     3:23-cv-16304
  1509           Simmons, Erin B.                    Motley Rice, LLC     3:23-cv-17848
  1510         Opsoyan, Patricia L.                  Motley Rice, LLC     3:23-cv-18198
  1511         Walker, Meta Louise                   Motley Rice, LLC     3:23-cv-18406


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Row # Case Name                           Plaintiff Firm(s)                            Current Cause #
  1512         Swanson, Marva M.                         Motley Rice, LLC                3:23-cv-18427
  1513          Spaulding, Doris M.                      Motley Rice, LLC                3:23-cv-18437
  1514           Brown, Betty Lee                        Motley Rice, LLC                3:23-cv-18441
  1515            Fasano, Georgia                        Motley Rice, LLC                3:23-cv-18445
  1516            Bomar, Susan J.                        Motley Rice, LLC                3:23-cv-18655
  1517             Ford, Bessie N.                       Motley Rice, LLC                3:23-cv-18921
  1518       Fuller-Pettingell, Georgia                  Motley Rice, LLC                3:23-cv-18928
  1519              Riley, Rosie L.                      Motley Rice, LLC                3:23-cv-18936
  1520              Salinas, Rosa                        Motley Rice, LLC                3:23-cv-18944
  1521             Scott, Eddie R.                       Motley Rice, LLC                3:23-cv-18957
  1522           Hardwick, Lee M.                        Motley Rice, LLC                3:23-cv-19151
  1523           Harris, Barbara J.                      Motley Rice, LLC                3:23-cv-19159
  1524             Hayes, Gloria J.                      Motley Rice, LLC                3:23-cv-19165
  1525            Levert, Debra E.                       Motley Rice, LLC                3:23-cv-19171
  1526             Miller, Anita J.                      Motley Rice, LLC                3:23-cv-19175
  1527              Mills, Rita M.                       Motley Rice, LLC                3:23-cv-19179
  1528           Robbins, Karin A.                       Motley Rice, LLC                3:23-cv-19183
  1529            Scotton, Josie D.                      Motley Rice, LLC                3:23-cv-19188
  1530         Penvose, Lorraine L.                      Motley Rice, LLC                3:23-cv-19193
  1531          Campbell, Deonna                         Motley Rice, LLC                3:23-cv-19208
  1532           Grysban, Christine                      Motley Rice, LLC                3:23-cv-19215
  1533          Effingham, William                       Motley Rice, LLC                3:23-cv-19306
  1534            Foshee, Laura H.                       Motley Rice, LLC                3:23-cv-19330
  1535          Rente, Jr., Henry L.                     Motley Rice, LLC                3:23-cv-19419
  1536                Riley, Jon                         Motley Rice, LLC                3:23-cv-19454
  1537              Beltz, Lori A.                       Motley Rice, LLC                3:23-cv-19892
  1538          Grandison, Thomas                        Motley Rice, LLC                3:23-cv-19897
  1539          Harris, Michelle N.                      Motley Rice, LLC                3:23-cv-19903
  1540           Jones, Pamela M.                        Motley Rice, LLC                3:23-cv-19908
  1541            Miller, Katrina R.                     Motley Rice, LLC                3:23-cv-19913
  1542            Smith, Juanita R.                      Motley Rice, LLC                3:23-cv-19926
  1543          Bobersky, Albert F.                      Motley Rice, LLC                3:23-cv-19946
  1544              Schick, Diane                        Motley Rice, LLC                3:23-cv-19947
  1545               Player, Ric                         Motley Rice, LLC                3:23-cv-19957
  1546             Bostic, Gary R.                       Motley Rice, LLC                3:23-cv-20079
  1547         Forrest, Betty Lowes                      Motley Rice, LLC                3:23-cv-20129
  1548           Gordon, Danielle                        Motley Rice, LLC                3:23-cv-20155
  1549        Suriel, Mauriceli Brito                    Motley Rice, LLC                3:23-cv-20249
  1550             Barnes, Juanita                       Motley Rice, LLC                3:23-cv-21362
  1551         Campbell, Eugene W                        Murray Law Firm                 3:18-cv-09679
  1552             Burns, Martha                         Murray Law Firm                 3:18-cv-11217
  1553             Jacobson, Lori           Napoli Bern Ripka Shkolnik & Associates,     3:18-cv-11416
                                                              LLP
 1554               Battle, Byron           Napoli Bern Ripka Shkolnik & Associates,     3:18-cv-13003
                                                              LLP



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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  1555          Austin, Carolyn          Napoli Bern Ripka Shkolnik & Associates,     3:18-cv-14384
                                                             LLP
 1556             Cooper, Mary           Napoli Bern Ripka Shkolnik & Associates,     3:18-cv-14537
                                                             LLP
 1557             Prete, Richard         Napoli Bern Ripka Shkolnik & Associates,     3:19-cv-00322
                                                             LLP
 1558          Caldwell, Charles E.      Napoli Bern Ripka Shkolnik & Associates,     3:19-cv-04760
                                                             LLP
 1559             DiGiosio, Dino         Napoli Bern Ripka Shkolnik & Associates,     3:19-cv-19381
                                                             LLP
 1560              Ross, Frances E                   Napoli Shkolnik LLC              3:18-cv-14257
 1561            Dykeman, Amber                     Napoli Shkolnik, PLLC             3:18-cv-00411
 1562               Brazell, Joan                   Napoli Shkolnik, PLLC             3:18-cv-00413
 1563              France, Patrick                  Napoli Shkolnik, PLLC             3:18-cv-00507
 1564                Lunn, Diane                    Napoli Shkolnik, PLLC             3:18-cv-00596
 1565              Click, Margaret                  Napoli Shkolnik, PLLC             3:18-cv-01016
 1566                Azzari, Kelly                  Napoli Shkolnik, PLLC             3:18-cv-01166
 1567               Muller, Cecila                  Napoli Shkolnik, PLLC             3:18-cv-01388
 1568                Innis, Linda                   Napoli Shkolnik, PLLC             3:18-cv-01969
 1569              Longo, Bernice                   Napoli Shkolnik, PLLC             3:18-cv-02130
 1570           McDonald, Lyndell                   Napoli Shkolnik, PLLC             3:18-cv-04959
 1571          Shumake, Deborah                     Napoli Shkolnik, PLLC             3:18-cv-08151
 1572              Smith, Terence                   Napoli Shkolnik, PLLC             3:18-cv-08161
 1573                Harris, Erika                  Napoli Shkolnik, PLLC             3:18-cv-08182
 1574              Cohen, Minnie                    Napoli Shkolnik, PLLC             3:18-cv-08183
 1575             Jackson, Wanda                    Napoli Shkolnik, PLLC             3:18-cv-08513
 1576              Gibbons, John                    Napoli Shkolnik, PLLC             3:18-cv-09118
 1577           Nichols, Henriette                  Napoli Shkolnik, PLLC             3:18-cv-09460
 1578               Dugan, Kathy                    Napoli Shkolnik, PLLC             3:18-cv-09726
 1579              Sanders, Anna                    Napoli Shkolnik, PLLC             3:18-cv-10235
 1580                Prosa, Julie                   Napoli Shkolnik, PLLC             3:18-cv-10340
 1581               Black, Wanda                    Napoli Shkolnik, PLLC             3:18-cv-10836
 1582             Franklin, Angela                  Napoli Shkolnik, PLLC             3:18-cv-11260
 1583           Caldwell, Le-Toria                  Napoli Shkolnik, PLLC             3:18-cv-12098
 1584            Winters, Shavon                    Napoli Shkolnik, PLLC             3:18-cv-12447
 1585               White, Robin                    Napoli Shkolnik, PLLC             3:18-cv-12452
 1586            Martinez, Sybil A                  Napoli Shkolnik, PLLC             3:18-cv-12453
 1587            Rutledge, Janell P                 Napoli Shkolnik, PLLC             3:18-cv-12878
 1588            Seiffert, Siegrid L                Napoli Shkolnik, PLLC             3:18-cv-12885
 1589            Manigo, Gregory                    Napoli Shkolnik, PLLC             3:18-cv-12957
 1590              Miller, Lindsay                  Napoli Shkolnik, PLLC             3:18-cv-13060
 1591          Seguin, Stephanie A                  Napoli Shkolnik, PLLC             3:18-cv-13080
 1592             Findlay, Rachael                  Napoli Shkolnik, PLLC             3:18-cv-13470
 1593           Jamerson, Carolyn                   Napoli Shkolnik, PLLC             3:18-cv-13978
 1594               Fardig, Coral                   Napoli Shkolnik, PLLC             3:18-cv-13990
 1595              Mallett, Diane                   Napoli Shkolnik, PLLC             3:18-cv-14646


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  1596            Brown, Sharon                      Napoli Shkolnik, PLLC     3:18-cv-14763
  1597            Cortez, Shelly                     Napoli Shkolnik, PLLC     3:18-cv-14921
  1598           Darcey, Eleanor                     Napoli Shkolnik, PLLC     3:18-cv-15034
  1599             Ritzen, Susan                     Napoli Shkolnik, PLLC     3:18-cv-16481
  1600          Harris, Delores A                    Napoli Shkolnik, PLLC     3:18-cv-16523
  1601            Parsley, Mary                      Napoli Shkolnik, PLLC     3:18-cv-16530
  1602      Wright-Laurent, Katherine                Napoli Shkolnik, PLLC     3:18-cv-16531
  1603         Humphrey, Queen                       Napoli Shkolnik, PLLC     3:18-cv-16544
  1604           Sandoval, Sylvia                    Napoli Shkolnik, PLLC     3:18-cv-16735
  1605            Hitchcock, Jeff                    Napoli Shkolnik, PLLC     3:18-cv-16864
  1606             Hadnot, Jana                      Napoli Shkolnik, PLLC     3:18-cv-16880
  1607            Hamilton, Rita                     Napoli Shkolnik, PLLC     3:18-cv-16890
  1608             Griffin, Helen                    Napoli Shkolnik, PLLC     3:18-cv-17145
  1609             Greer, Latisia                    Napoli Shkolnik, PLLC     3:18-cv-17148
  1610            Haines, Shawn                      Napoli Shkolnik, PLLC     3:18-cv-17151
  1611           Addison, Teresa                     Napoli Shkolnik, PLLC     3:19-cv-05427
  1612            Bagby, Wesley                      Napoli Shkolnik, PLLC     3:19-cv-05518
  1613              Bolt, Colin                      Napoli Shkolnik, PLLC     3:19-cv-05549
  1614        Holdcroft, Carmelita                   Napoli Shkolnik, PLLC     3:19-cv-05565
  1615            Uken, Darlene                      Napoli Shkolnik, PLLC     3:19-cv-05581
  1616          Thrash, Syrenthia                    Napoli Shkolnik, PLLC     3:19-cv-05614
  1617          Tetreault, Cheryl                    Napoli Shkolnik, PLLC     3:19-cv-05618
  1618         Syndor, Stephanie                     Napoli Shkolnik, PLLC     3:19-cv-05624
  1619           Strojek, Dennis                     Napoli Shkolnik, PLLC     3:19-cv-05627
  1620         Callahan, Michelle                    Napoli Shkolnik, PLLC     3:19-cv-05677
  1621         Campus, Eleanor J.                    Napoli Shkolnik, PLLC     3:19-cv-05680
  1622        Thompson, Jeffrey L.                   Napoli Shkolnik, PLLC     3:19-cv-05688
  1623            Chubb, Teresa                      Napoli Shkolnik, PLLC     3:19-cv-05692
  1624          Sotelo Jr., Santos                   Napoli Shkolnik, PLLC     3:19-cv-05748
  1625           Smith, Jamie M.                     Napoli Shkolnik, PLLC     3:19-cv-05752
  1626           Hayes, Demrice                      Napoli Shkolnik, PLLC     3:19-cv-05757
  1627         Doyle-Long, Janice                    Napoli Shkolnik, PLLC     3:19-cv-05827
  1628        Durante, Christopher                   Napoli Shkolnik, PLLC     3:19-cv-05839
  1629          D'Amico, Heather                     Napoli Shkolnik, PLLC     3:19-cv-05855
  1630         Deimler, Elizabeth                    Napoli Shkolnik, PLLC     3:19-cv-05875
  1631        Ferguson, Princess D                   Napoli Shkolnik, PLLC     3:19-cv-05880
  1632         Simmons, Kenneth                      Napoli Shkolnik, PLLC     3:19-cv-05925
  1633             Sawez, Ehsan                      Napoli Shkolnik, PLLC     3:19-cv-05932
  1634          Sandoval, Denice                     Napoli Shkolnik, PLLC     3:19-cv-05934
  1635          Prince Sr., Santo                    Napoli Shkolnik, PLLC     3:19-cv-05940
  1636           Pesicka, Ernest                     Napoli Shkolnik, PLLC     3:19-cv-05956
  1637           Groves, Linda J                     Napoli Shkolnik, PLLC     3:19-cv-06257
  1638         Williams, Predolia                    Napoli Shkolnik, PLLC     3:19-cv-06270
  1639           Hampton, Judy                       Napoli Shkolnik, PLLC     3:19-cv-06272
  1640             Duren, Frank                      Napoli Shkolnik, PLLC     3:19-cv-06306
  1641      Morton-Maultsby, Rosie V.                Napoli Shkolnik, PLLC     3:19-cv-06309


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Row # Case Name                        Plaintiff Firm(s)                     Current Cause #
  1642              Miles, Linda                     Napoli Shkolnik, PLLC     3:19-cv-06314
  1643            Myers, Lakesha                     Napoli Shkolnik, PLLC     3:19-cv-06368
  1644          Hornbacher, Craig                    Napoli Shkolnik, PLLC     3:19-cv-06371
  1645        Hayden, Corissa Ann                    Napoli Shkolnik, PLLC     3:19-cv-06390
  1646        Hearn Sr., Thomas E.                   Napoli Shkolnik, PLLC     3:19-cv-06398
  1647        Wright, Charlette H.                   Napoli Shkolnik, PLLC     3:19-cv-06415
  1648            McCluer, Stacy                     Napoli Shkolnik, PLLC     3:19-cv-06420
  1649               Ellis, Joy C.                   Napoli Shkolnik, PLLC     3:19-cv-06427
  1650          Lockhart, Barbara                    Napoli Shkolnik, PLLC     3:19-cv-06430
  1651            Mack, Barbara                      Napoli Shkolnik, PLLC     3:19-cv-06763
  1652          Lambert, Gaston J                    Napoli Shkolnik, PLLC     3:19-cv-06791
  1653        Lansdowne, Carolyn                     Napoli Shkolnik, PLLC     3:19-cv-06795
  1654             Lash, Anne M                      Napoli Shkolnik, PLLC     3:19-cv-06798
  1655              Amin, Saket                      Napoli Shkolnik, PLLC     3:19-cv-06902
  1656               Jones, Lula                     Napoli Shkolnik, PLLC     3:19-cv-08910
  1657           Penley, Brittany                    Napoli Shkolnik, PLLC     3:19-cv-08914
  1658            Gautier, Mona                      Napoli Shkolnik, PLLC     3:19-cv-09568
  1659              Price, Carol                     Napoli Shkolnik, PLLC     3:19-cv-10014
  1660          Carswell, Janet N                    Napoli Shkolnik, PLLC     3:19-cv-11480
  1661           Jones, Phyllis M                    Napoli Shkolnik, PLLC     3:19-cv-12510
  1662            Powell, Marsha                     Napoli Shkolnik, PLLC     3:19-cv-16466
  1663            Carlile, Patrick                   Napoli Shkolnik, PLLC     3:19-cv-18244
  1664              Garcia, Lucy                     Napoli Shkolnik, PLLC     3:19-cv-18341
  1665         Katalinas, Margaret                   Napoli Shkolnik, PLLC     3:19-cv-21028
  1666            Hurley, Kandis                    Nix Patterson & Roach      3:18-cv-15805
  1667             Valdez, Maria                    NS PR Law Services LLC     3:23-cv-11847
  1668           McDowell, Cleo                     NS PR Law Services LLC     3:23-cv-13213
  1669           Waite, Kimberly                    NS PR Law Services LLC     3:23-cv-14622
  1670           Starks, Sharonda                   NS PR Law Services LLC     3:23-cv-14625
  1671              Delisle, Ellen                  NS PR Law Services LLC     3:23-cv-14653
  1672             Otis, Roberta                    NS PR Law Services LLC     3:23-cv-14662
  1673           Rojas, Stephanie                   NS PR Law Services LLC     3:23-cv-14665
  1674        Martin, Brittany Terry                NS PR Law Services LLC     3:23-cv-14806
  1675         Daunhauer, Sandra                    NS PR Law Services LLC     3:23-cv-15734
  1676             Davis, Pamela                    NS PR Law Services LLC     3:23-cv-15753
  1677           Hamilton, James                    NS PR Law Services LLC     3:23-cv-15926
  1678             Wilson, Peggy                    NS PR Law Services LLC     3:23-cv-15975
  1679             Graham, John                     NS PR Law Services LLC     3:23-cv-16011
  1680        Watson, Linda Joyce                   NS PR Law Services LLC     3:23-cv-16042
  1681            Warren, Dawn                      NS PR Law Services LLC     3:23-cv-16068
  1682             Warner, Darla                    NS PR Law Services LLC     3:23-cv-16089
  1683              Glass, Lillian                  NS PR Law Services LLC     3:23-cv-16237
  1684           Glasper, Lutosha                   NS PR Law Services LLC     3:23-cv-16253
  1685             Trybula, Anna                    NS PR Law Services LLC     3:23-cv-16272
  1686            Brewer, Marilu                    NS PR Law Services LLC     3:23-cv-16475
  1687             Baetge, Kelly                    NS PR Law Services LLC     3:23-cv-16501


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Row # Case Name                        Plaintiff Firm(s)                     Current Cause #
  1688              Swain, Holly                    NS PR Law Services LLC     3:23-cv-16505
  1689             Bear, Rosanna                    NS PR Law Services LLC     3:23-cv-16512
  1690           Bishop, Johanna                    NS PR Law Services LLC     3:23-cv-16724
  1691               Millar, Gary                   NS PR Law Services LLC     3:23-cv-16728
  1692             Bonilla, Jadila                  NS PR Law Services LLC     3:23-cv-16793
  1693           Nordberg, Penny                    NS PR Law Services LLC     3:23-cv-16869
  1694            Obremski, John                    NS PR Law Services LLC     3:23-cv-16898
  1695             Frett, Richard                   NS PR Law Services LLC     3:23-cv-16947
  1696            Gaskin, Angela                    NS PR Law Services LLC     3:23-cv-17290
  1697         Southerland, Shirley                 NS PR Law Services LLC     3:23-cv-17690
  1698           Jackson, Tammy                     NS PR Law Services LLC     3:23-cv-17765
  1699           Finger, Herschel                   NS PR Law Services LLC     3:23-cv-17931
  1700            Phillips, Robert                  NS PR Law Services LLC     3:23-cv-17974
  1701            Figueroa, David                   NS PR Law Services LLC     3:23-cv-17993
  1702            Fisher, Kenneth                   NS PR Law Services LLC     3:23-cv-18002
  1703              Rojas, Rachel                   NS PR Law Services LLC     3:23-cv-18031
  1704            Martin, Pamela                    NS PR Law Services LLC     3:23-cv-18045
  1705             Bradford, Earl                   NS PR Law Services LLC     3:23-cv-18086
  1706               King, Wade                     NS PR Law Services LLC     3:23-cv-18101
  1707             Knight, Kristal                  NS PR Law Services LLC     3:23-cv-18166
  1708             Ferguson, Jack                   NS PR Law Services LLC     3:23-cv-18176
  1709            Ferreira, Maria                   NS PR Law Services LLC     3:23-cv-18218
  1710            Ferrera, Alyssa                   NS PR Law Services LLC     3:23-cv-18304
  1711            Flaherty, James                   NS PR Law Services LLC     3:23-cv-18335
  1712           Garcia, Deborah                    NS PR Law Services LLC     3:23-cv-18381
  1713               Garcia, Luz                    NS PR Law Services LLC     3:23-cv-18386
  1714          Crockett, Rochelle                  NS PR Law Services LLC     3:23-cv-18391
  1715           Glogowski, Karen                   NS PR Law Services LLC     3:23-cv-18397
  1716               Gold, Susan                    NS PR Law Services LLC     3:23-cv-18400
  1717            Melton, Ranelle                   NS PR Law Services LLC     3:23-cv-18480
  1718          Wheeler, Victoria                   NS PR Law Services LLC     3:23-cv-18483
  1719         Flores-O'toole, Gina                 NS PR Law Services LLC     3:23-cv-18496
  1720               Ellis, Robin                   NS PR Law Services LLC     3:23-cv-18497
  1721              Mills, Jessica                  NS PR Law Services LLC     3:23-cv-18557
  1722          Grimes, Sharmaine                   NS PR Law Services LLC     3:23-cv-18643
  1723      Southwell-Redmond, Susan                NS PR Law Services LLC     3:23-cv-18661
  1724               Otis, Maree                    NS PR Law Services LLC     3:23-cv-18700
  1725           Bertola, Michael                   NS PR Law Services LLC     3:23-cv-18708
  1726          Dickson, Lesdreka                   NS PR Law Services LLC     3:23-cv-18714
  1727            Muradyan, Leya                    NS PR Law Services LLC     3:23-cv-18719
  1728             Davis, Wanda                     NS PR Law Services LLC     3:23-cv-18721
  1729            Cooper, Pamela                    NS PR Law Services LLC     3:23-cv-18728
  1730             Celaya, Marne                    NS PR Law Services LLC     3:23-cv-18738
  1731          Benolkin, Amanda                    NS PR Law Services LLC     3:23-cv-18748
  1732           Ivey, Kimberly A.                  NS PR Law Services LLC     3:23-cv-18778
  1733              Hayes, James                    NS PR Law Services LLC     3:23-cv-18831


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Row # Case Name                       Plaintiff Firm(s)                     Current Cause #
  1734              Carter, John                   NS PR Law Services LLC     3:23-cv-18885
  1735           Holman, Richard                   NS PR Law Services LLC     3:23-cv-18889
  1736            Webster, Irena                   NS PR Law Services LLC     3:23-cv-18899
  1737            Drays, Michael                   NS PR Law Services LLC     3:23-cv-19474
  1738         Ellison, Rhoygnette                 NS PR Law Services LLC     3:23-cv-19488
  1739            Murray, Ernest                   NS PR Law Services LLC     3:23-cv-20030
  1740          Vandorn, Melody                    NS PR Law Services LLC     3:23-cv-20117
  1741            Maloy, Tammy                     NS PR Law Services LLC     3:23-cv-20124
  1742           James, Jackylen                   NS PR Law Services LLC     3:23-cv-20293
  1743           Sanders, Nancy                    NS PR Law Services LLC     3:23-cv-20294
  1744          Williams, Lindsey                  NS PR Law Services LLC     3:23-cv-20297
  1745          Hemsath, Michael                   NS PR Law Services LLC     3:23-cv-20509
  1746            Kirtland, Mona                   NS PR Law Services LLC     3:23-cv-20576
  1747           Lawless, Colleen                  NS PR Law Services LLC     3:23-cv-20598
  1748             Moore, Diane                    NS PR Law Services LLC     3:23-cv-20640
  1749            Norris, Patrick                  NS PR Law Services LLC     3:23-cv-20697
  1750           Peters, Amanda                    NS PR Law Services LLC     3:23-cv-20824
  1751              Pietras, Lisa                  NS PR Law Services LLC     3:23-cv-20858
  1752        Shaull, Rachel Nicole                NS PR Law Services LLC     3:23-cv-20982
  1753           St. George, Lisa                  NS PR Law Services LLC     3:23-cv-21050
  1754         Streetman, Theresa                  NS PR Law Services LLC     3:23-cv-21066
  1755          Williams, Barbara                  NS PR Law Services LLC     3:23-cv-21215
  1756            Reeder, Tara S.                  NS PR Law Services LLC     3:23-cv-21265
  1757            Okeefe, Janice                   NS PR Law Services LLC     3:23-cv-21466
  1758         Hazlett, Betty Viola        PIERCE SKRABANEK BRUERA, PLLC      3:18-cv-11628
  1759           Slusher, Theresa          PIERCE SKRABANEK BRUERA, PLLC      3:18-cv-11632
  1760             Lane, Renada            PIERCE SKRABANEK BRUERA, PLLC      3:18-cv-11827
  1761         Bernstein, Leonard                      Potts Law Firm         3:18-cv-00157
  1762             Motes, Alisha                       Potts Law Firm         3:18-cv-00189
  1763         Stockton, Stephani                      Potts Law Firm         3:18-cv-00578
  1764              Thai, David                        Potts Law Firm         3:18-cv-00595
  1765          Stewart, Candace                       Potts Law Firm         3:18-cv-00771
  1766           McCurty, Corine                       Potts Law Firm         3:18-cv-00783
  1767        Kellar Walker, Sandra                    Potts Law Firm         3:18-cv-00799
  1768         MacIas, George Luis                     Potts Law Firm         3:18-cv-01309
  1769             Price, Ginger                       Potts Law Firm         3:18-cv-04721
  1770          Thomas, Nicanora                       Potts Law Firm         3:18-cv-14391
  1771            Smardo, Kerry                        Potts Law Firm         3:18-cv-15384
  1772            Davie, Celeste                       Potts Law Firm         3:18-cv-16869
  1773             Resua, Nancy                        Potts Law Firm         3:18-cv-17018
  1774           Hayman, Shelia                        Potts Law Firm         3:19-cv-00038
  1775        Bardsley, Christopher                    Potts Law Firm         3:19-cv-00137
  1776            Barnes, Lauren                       Potts Law Firm         3:19-cv-00297
  1777          Bartosiak, Audrey                      Potts Law Firm         3:19-cv-00339
  1778           Barr, Jimmy Lee                       Potts Law Firm         3:19-cv-00676
  1779              Davis, Fern                        Potts Law Firm         3:19-cv-00699


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Row # Case Name                        Plaintiff Firm(s)                          Current Cause #
  1780             Dirico, Silvio                      Potts Law Firm               3:19-cv-01012
  1781        Doty, Therese Corbin                     Potts Law Firm               3:19-cv-01039
  1782              Hill, Rachel                       Potts Law Firm               3:19-cv-01236
  1783           Johnson, Debra                        Potts Law Firm               3:19-cv-01500
  1784             Keen, Phyllis                       Potts Law Firm               3:19-cv-04654
  1785            Marty, Tammy                         Potts Law Firm               3:19-cv-04940
  1786             Patton, Linda                       Potts Law Firm               3:19-cv-05129
  1787           Renwand, Carla                        Potts Law Firm               3:19-cv-05329
  1788          Swets, Linda Jean                      Potts Law Firm               3:19-cv-05540
  1789           Vaughan, Sandi                        Potts Law Firm               3:19-cv-05681
  1790           Warner, Carlee                        Potts Law Firm               3:19-cv-05877
  1791           Martinez, Diane                       Potts Law Firm               3:19-cv-06941
  1792       Collins, Garrett George                   Potts Law Firm               3:19-cv-09951
  1793          McManus, Susan                         Potts Law Firm               3:19-cv-12128
  1794           Graham, Carrie                        Potts Law Firm               3:19-cv-13015
  1795            Butler, Charles                      Potts Law Firm               3:19-cv-14504
  1796          McGuire, Glenda                        Potts Law Firm               3:19-cv-16500
  1797            Toles, Mandrill                      Potts Law Firm               3:19-cv-18048
  1798         Longberry, Autumn                       Potts Law Firm               3:19-cv-21439
  1799          Thompson, Terry                        Potts Law Firm               3:19-cv-21504
  1800          Rafferty, Thomas                 Powers Rogers & Smith LLP          3:18-cv-14659
  1801            Grinage, Leon                    Pribanic & Pribanic, LLC         3:19-cv-08973
  1802            Gould, William                   Pribanic & Pribanic, LLC         3:19-cv-08977
  1803              Ellis, Raynill                          Pro Se                  3:18-cv-14534
  1804             Kelley, Laura                            Pro se                  3:18-cv-15734
  1805        Barnhouse, Loretta D       Reeves & Goff, P.C. // The Dreesen Law     3:19-cv-21273
                                                          Firm, LLC
 1806             Lopatka, Victoria                 Reich & Binstock, LLP           3:18-cv-10729
 1807              Grenier, Ronald                  Reich & Binstock, LLP           3:18-cv-14809
 1808             Alorsan, Deborah                  Reich & Binstock, LLP           3:19-cv-13192
 1809             Blaylock, Shonna                  Reich & Binstock, LLP           3:19-cv-13195
 1810             Canaday, Pamela                   Reich & Binstock, LLP           3:19-cv-13197
 1811          Florence-Skipper, Ann                Reich & Binstock, LLP           3:19-cv-13200
 1812               Heffern, Joyce                  Reich & Binstock, LLP           3:19-cv-13201
 1813            Hendrix, Jacquelyn                 Reich & Binstock, LLP           3:19-cv-13203
 1814                Ness, Joleen                   Reich & Binstock, LLP           3:19-cv-13205
 1815              Bowman, Paula                    Reich & Binstock, LLP           3:19-cv-13212
 1816             Browning, Teresa                  Reich & Binstock, LLP           3:19-cv-13218
 1817             Hochberg, Sylvia                  Reich & Binstock, LLP           3:19-cv-13220
 1818              Fracasse, Annie                  Reich & Binstock, LLP           3:19-cv-13223
 1819              Vazquez, Dalia                   Reich & Binstock, LLP           3:19-cv-13230
 1820             Contreras, Sonia                  Reich & Binstock, LLP           3:19-cv-13253
 1821            Parkers, Asmodeus                  Reich & Binstock, LLP           3:19-cv-17812
 1822              Wood, Tammie                     Reich & Binstock, LLP           3:19-cv-18010
 1823           Williams, Catherine                 Reich & Binstock, LLP           3:19-cv-18011
 1824               Shabazz, Edith                  Reich & Binstock, LLP           3:19-cv-18012


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Row # Case Name                        Plaintiff Firm(s)                       Current Cause #
  1825           Aberbom, Debra                     Reich & Binstock, LLP        3:19-cv-18013
  1826        McCarrell, Samantha                   Reich & Binstock, LLP        3:19-cv-18014
  1827            Kloock, Jennifer                  Reich & Binstock, LLP        3:19-cv-18016
  1828           Boylan, Dee Ann                    Reich & Binstock, LLP        3:19-cv-19373
  1829       Parks-Friskey, Geannie                 Reich & Binstock, LLP        3:19-cv-19378
  1830            Etsitty, Darlene                  Reich & Binstock, LLP        3:19-cv-19382
  1831          Bruckner, Norman                    Reich & Binstock, LLP        3:19-cv-21713
  1832          Campbell, Shanna                Robert J. DeBry & Associates     3:19-cv-05913
  1833        Frankel, Cheryl Tzirel                   Rodal Law, P.A.           3:18-cv-14684
  1834              Kerwin, Jason                   Ross Feller Casey, LLP       3:18-cv-02739
  1835            Ney, Mary Alice                   Ross Feller Casey, LLP       3:18-cv-04572
  1836                Ogle, Lisa                    Ross Feller Casey, LLP       3:18-cv-09094
  1837              Graley, Kathy                   Ross Feller Casey, LLP       3:18-cv-11492
  1838               Guy, Karen                     Ross Feller Casey, LLP       3:18-cv-16343
  1839             Marti, Zachary                   Ross Feller Casey, LLP       3:19-cv-00918
  1840            Orovet, Pamela                    Ross Feller Casey, LLP       3:19-cv-06559
  1841          Moore, Richard A                    Ross Feller Casey, LLP       3:19-cv-06564
  1842              Clark, Carroll                  Ross Feller Casey, LLP       3:19-cv-08055
  1843          Chatfield, Candida                  Ross Feller Casey, LLP       3:19-cv-08630
  1844               Levitus, Lisa                  Ross Feller Casey, LLP       3:19-cv-09376
  1845               Giroux, Paul                   Ross Feller Casey, LLP       3:19-cv-14369
  1846          Stevens, Margaret                   Ross Feller Casey, LLP       3:19-cv-15730
  1847              Wallace, Lori                   Ross Feller Casey, LLP       3:19-cv-17749
  1848          Hubbert, Deborah                    Ross Feller Casey, LLP       3:19-cv-17764
  1849          Suonpera, Cynthia                   Ross Law Offices, P.C.       3:19-cv-18393
  1850        Coakley, Darlene Mae              Rourke and Blumenthal, LLP       3:19-cv-00022
  1851         Ellington, Micheleen          Saltz Mongeluzzi & Bendesky PC      3:23-cv-14643
  1852             Haynes, James             Saltz Mongeluzzi & Bendesky PC      3:23-cv-14677
  1853              Sciter, Shirley          Saltz Mongeluzzi & Bendesky PC      3:23-cv-14728
  1854           Phelps, Deborah             Saltz Mongeluzzi & Bendesky PC      3:23-cv-14752
  1855          Ritchie, Stephanie           Saltz Mongeluzzi & Bendesky PC      3:23-cv-14808
  1856               Neal, Cheryl            Saltz Mongeluzzi & Bendesky PC      3:23-cv-14812
  1857               Daggs, Terry            Saltz Mongeluzzi & Bendesky PC      3:23-cv-14815
  1858             Terrell, Jessica          Saltz Mongeluzzi & Bendesky PC      3:23-cv-14823
  1859             Dotson, Somer             Saltz Mongeluzzi & Bendesky PC      3:23-cv-14825
  1860             Johnson, Elisha           Saltz Mongeluzzi & Bendesky PC      3:23-cv-14826
  1861          Rodriguez, Brenda            Saltz Mongeluzzi & Bendesky PC      3:23-cv-14831
  1862          Roberts, Deborah             Saltz Mongeluzzi & Bendesky PC      3:23-cv-14832
  1863           Martin, Kathleen            Saltz Mongeluzzi & Bendesky PC      3:23-cv-14833
  1864           Jennings, Dianna            Saltz Mongeluzzi & Bendesky PC      3:23-cv-14834
  1865               Ehle, Laura             Saltz Mongeluzzi & Bendesky PC      3:23-cv-14836
  1866              Smith, Regina            Saltz Mongeluzzi & Bendesky PC      3:23-cv-14837
  1867             Hearts, Pauline           Saltz Mongeluzzi & Bendesky PC      3:23-cv-14838
  1868               Faison, Lori            Saltz Mongeluzzi & Bendesky PC      3:23-cv-14839
  1869         Mitchell, Daisyanna           Saltz Mongeluzzi & Bendesky PC      3:23-cv-14842
  1870          Wood, Cassandra              Saltz Mongeluzzi & Bendesky PC      3:23-cv-14846


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Row # Case Name                        Plaintiff Firm(s)                      Current Cause #
  1871           Mcneans, Betty              Saltz Mongeluzzi & Bendesky PC     3:23-cv-14850
  1872          Malgieri, Carmen             Saltz Mongeluzzi & Bendesky PC     3:23-cv-14852
  1873           Wilkinson, Sara             Saltz Mongeluzzi & Bendesky PC     3:23-cv-14863
  1874          Roilton, Precious            Saltz Mongeluzzi & Bendesky PC     3:23-cv-14865
  1875               Brill, Laura            Saltz Mongeluzzi & Bendesky PC     3:23-cv-14872
  1876            Ortega, Odalys             Saltz Mongeluzzi & Bendesky PC     3:23-cv-14875
  1877          Stemen, Elizabeth            Saltz Mongeluzzi & Bendesky PC     3:23-cv-14938
  1878        Mcclendon, Cherelle            Saltz Mongeluzzi & Bendesky PC     3:23-cv-14945
  1879        Mcconnell, Lolita Ann          Saltz Mongeluzzi & Bendesky PC     3:23-cv-14968
  1880           McCloud, Shona              Saltz Mongeluzzi & Bendesky PC     3:23-cv-14981
  1881             Horta, Maria              Saltz Mongeluzzi & Bendesky PC     3:23-cv-14996
  1882           Rivera, Jeanette            Saltz Mongeluzzi & Bendesky PC     3:23-cv-14999
  1883          Talburt, Elizabeth           Saltz Mongeluzzi & Bendesky PC     3:23-cv-15011
  1884           Martinez, Karina            Saltz Mongeluzzi & Bendesky PC     3:23-cv-15016
  1885            Pruyn, Noreen              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15019
  1886            Ingram, Keena              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15025
  1887        Perkins, Victoria Lynn         Saltz Mongeluzzi & Bendesky PC     3:23-cv-15031
  1888            Zimmer, Jason              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15034
  1889        Womack, Dominique              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15036
  1890             Smith, Donna              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15046
  1891           Steinbach, Mark             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15096
  1892            Rogers, Velma              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15147
  1893         Mason, Christopher            Saltz Mongeluzzi & Bendesky PC     3:23-cv-15153
  1894             Finch, Darrell            Saltz Mongeluzzi & Bendesky PC     3:23-cv-15155
  1895           Gomez, Angelica             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15196
  1896         Ledbetter, Gregory            Saltz Mongeluzzi & Bendesky PC     3:23-cv-15235
  1897            Conway, Clyde              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15243
  1898        Smith-Hall, Christina          Saltz Mongeluzzi & Bendesky PC     3:23-cv-15392
  1899         Jacangelo, Jennifer           Saltz Mongeluzzi & Bendesky PC     3:23-cv-15422
  1900         Sinclair, Sunnie Dee          Saltz Mongeluzzi & Bendesky PC     3:23-cv-15508
  1901            Pearson, Dawn              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15526
  1902           Godines, Maria              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15535
  1903           Ramey, Lataunia             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15544
  1904            Molina, Nicole             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15549
  1905             Beyer, Steven             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15592
  1906             Kinnan, Pilar             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15622
  1907          Evans, Angelique             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15639
  1908           Haynes, Lagenia             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15650
  1909           Feazell, Lakesia            Saltz Mongeluzzi & Bendesky PC     3:23-cv-15685
  1910             Phillps, David            Saltz Mongeluzzi & Bendesky PC     3:23-cv-15692
  1911            Haynes, Olivia             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15814
  1912              Allen, Julia             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15820
  1913            Mellow, Leslie             Saltz Mongeluzzi & Bendesky PC     3:23-cv-15835
  1914              Forte, Ryan              Saltz Mongeluzzi & Bendesky PC     3:23-cv-15836
  1915              Sefidkar, Jill           Saltz Mongeluzzi & Bendesky PC     3:23-cv-15848
  1916          Glover, Thadnisha            Saltz Mongeluzzi & Bendesky PC     3:23-cv-15874


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Row # Case Name                         Plaintiff Firm(s)                            Current Cause #
  1917          Caulfield, Sherrish           Saltz Mongeluzzi & Bendesky PC           3:23-cv-15905
  1918          Williams, Johnisha            Saltz Mongeluzzi & Bendesky PC           3:23-cv-15970
  1919             Serrano, Gina              Saltz Mongeluzzi & Bendesky PC           3:23-cv-16019
  1920          Sylvester, Jasmin             Saltz Mongeluzzi & Bendesky PC           3:23-cv-16034
  1921             Cobb, Angela               Saltz Mongeluzzi & Bendesky PC           3:23-cv-16055
  1922        Williams, Tammy Lynn            Saltz Mongeluzzi & Bendesky PC           3:23-cv-16056
  1923               Tiller, Eva              Saltz Mongeluzzi & Bendesky PC           3:23-cv-16091
  1924           Chandler, James              Saltz Mongeluzzi & Bendesky PC           3:23-cv-16092
  1925             Boyce, Ivona               Saltz Mongeluzzi & Bendesky PC           3:23-cv-16103
  1926          Smith, Barbara O.             Saltz Mongeluzzi & Bendesky PC           3:23-cv-16112
  1927          Hernandez, Maria              Saltz Mongeluzzi & Bendesky PC           3:23-cv-16156
  1928       Marshall-Beasley, Sophia         Saltz Mongeluzzi & Bendesky PC           3:23-cv-16183
  1929             Graves, Carol              Saltz Mongeluzzi & Bendesky PC           3:23-cv-16529
  1930          Patterson, Arnett             Saltz Mongeluzzi & Bendesky PC           3:23-cv-16545
  1931         Poindexter, Yelonda            Saltz Mongeluzzi & Bendesky PC           3:23-cv-16605
  1932           Thomsen, Nancy               Saltz Mongeluzzi & Bendesky PC           3:23-cv-16731
  1933            Rumph, Latoya               Saltz Mongeluzzi & Bendesky PC           3:23-cv-16748
  1934         Carpenter, Annette             Saltz Mongeluzzi & Bendesky PC           3:23-cv-16802
  1935           McLeod, Sharon               Saltz Mongeluzzi & Bendesky PC           3:23-cv-16839
  1936              Smith, Judy               Saltz Mongeluzzi & Bendesky PC           3:23-cv-16868
  1937              Miller, Tracy             Saltz Mongeluzzi & Bendesky PC           3:23-cv-16874
  1938          Anderson, Zondra              Saltz Mongeluzzi & Bendesky PC           3:23-cv-16894
  1939             Rios, Suzanne              Saltz Mongeluzzi & Bendesky PC           3:23-cv-16921
  1940              Luna, Tonya               Saltz Mongeluzzi & Bendesky PC           3:23-cv-16935
  1941            Pickens, Susan              Saltz Mongeluzzi & Bendesky PC           3:23-cv-16944
  1942            Ramey, Duane                Saltz Mongeluzzi & Bendesky PC           3:23-cv-17496
  1943            Taylor, Melissa             Saltz Mongeluzzi & Bendesky PC           3:23-cv-17533
  1944           Brown, Labirdia              Saltz Mongeluzzi & Bendesky PC           3:23-cv-17550
  1945          Murray, Kimberly              Saltz Mongeluzzi & Bendesky PC           3:23-cv-17557
  1946             Kee, Latishia              Saltz Mongeluzzi & Bendesky PC           3:23-cv-17625
  1947             Myrick, Nicki              Saltz Mongeluzzi & Bendesky PC           3:23-cv-17681
  1948             Guillen, Terri             Saltz Mongeluzzi & Bendesky PC           3:23-cv-17694
  1949          House, Jacqueline             Saltz Mongeluzzi & Bendesky PC           3:23-cv-17705
  1950          Matthews, Shawn               Saltz Mongeluzzi & Bendesky PC           3:23-cv-17713
  1951             Horton, Janet              Saltz Mongeluzzi & Bendesky PC           3:23-cv-17789
  1952           Colvin, Deborah              Saltz Mongeluzzi & Bendesky PC           3:23-cv-17973
  1953           Williams, Jamela             Saltz Mongeluzzi & Bendesky PC           3:23-cv-18052
  1954         Snelgrove, Bernette            Saltz Mongeluzzi & Bendesky PC           3:23-cv-18128
  1955           Loehr, Michelle                Sanders Viener Grossman, LLP           3:18-cv-08900
  1956           Compson, Darcy                 Sanders Viener Grossman, LLP           3:18-cv-09514
  1957           Montie, Patricia               Sanders Viener Grossman, LLP           3:18-cv-10405
  1958          Caldwell, Daphne          Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-12051

 1959          Gordon-Wolf, Debora       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-15601




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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  1960          Osborn, Latoya           Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-15806

 1961            Murphy, Lena           Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-15940

 1962           Thompson, Lorna         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-15971

 1963             House, Joyce          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16007

 1964            Johnson, Tiffani       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16024

 1965          Brumfield, Conquis       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16039

 1966            Griffin, Cabria        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16044

 1967            Garfield, Tashe        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16077

 1968            Mayfield, Kylyn        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16085

 1969        Holland, Maria Martinez    Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16087

 1970           Pumphrey, Elise         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16098

 1971           Smith, Rose Ann         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16111

 1972             Busano, Carla         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16147

 1973       Abdur-Raheem, Habiballah    Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16149

 1974           Jackman, Marvin         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16153

 1975            Thomas, Apryl          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16189

 1976            Tittle, Patricia       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16192

 1977             Giles, Latoya         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16198

 1978            Johnson, Erica         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16209

 1979             Todd, Krystal         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16216

 1980          Mccraw, Tina Green       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16239

 1981           Mcgilvery, Sherry       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16247

 1982            Cannon, Tiffany        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16256



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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  1983          Delacerna, Rhea          Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-16281

 1984            Morgan, Larry          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16290

 1985          Mcquivey, Ramona         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16292

 1986              Miller, Kia          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16307

 1987           Minnis, Shurraina       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16310

 1988            Perkinson, Irish       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16336

 1989           Parsons, Cynthia        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16563

 1990       Rushing-Vargas, Roshanda    Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16617

 1991           Castaphney, Cory        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16622

 1992             Pourat, David         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16744

 1993        Ramos, Carmen Montiel      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16751

 1994             Farris, Donald        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16762

 1995            Williams, Alisha       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16778

 1996              King, Felicia        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16810

 1997            Wilson, Jennifer       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16811

 1998             Kennie, Joyce         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16816

 1999           Bjorklund, Glenn        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16832

 2000            Kitson, Cynthia        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16890

 2001            Myatt, Cynthia         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16913

 2002             Kelley, Linda         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16956

 2003            Gavlak, Gladys         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16983

 2004              Tom, Sally           Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16988

 2005             Saylor, Laura         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-16997



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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  2006          Sharpe, Trina           Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-16998

 2007          Jackson, Armstead       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17027

 2008           Jackson, Bernard       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17039

 2009           Jackman, Marvin        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17049

 2010             Earle, Carole        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17068

 2011             Rush, Tammy          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17097

 2012          Mccauley, Michael       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17148

 2013            Kelly, Shaunte        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17152

 2014            Kelly, Graciela       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17169

 2015           Richard, Annette       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17457

 2016        Richardmond, Markeytia    Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17459

 2017          Richardson, Tiffany     Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17462

 2018              Rios, Stella        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17479

 2019            Rivers, Talacia       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17488

 2020         Robinson, Cassondra      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17498

 2021          Rodgers, Feeneishia     Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17507

 2022          Gordon, Imunique        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17697

 2023             Green, David         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17737

 2024             Gregg, Terry         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17774

 2025             Gross, Marlin        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17808

 2026           Noldon, Brigitte       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17810

 2027           Mackay, Candace        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17815

 2028            Mccune, Isabel        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17846



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Row # Case Name                      Plaintiff Firm(s)                            Current Cause #
  2029         Hammons, Tacara         Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-17869

 2030            Jones, Elena         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17873

 2031            Soper, Maria         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17883

 2032           Roscoe, Joseph        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17885

 2033           Senig, Henrietta      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17905

 2034         Stephens, Kendrick      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17946

 2035           Keen, Christine       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-17986

 2036            Rader, Daniel        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18028

 2037           Jones, Vanessa        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18124

 2038             Hart, Kathy         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18137

 2039              Bell, John         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18146

 2040           Haydel, Melanie       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18175

 2041           Bempah, Maya          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18255

 2042          Hudson, Margaret       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18278

 2043            Lumar, Sarata        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18306

 2044           Cuffy, Jennifer       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18323

 2045           Hunter, Valerie       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18332

 2046          Jackson, Penelope      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18333

 2047            Skoog, Terry         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18334

 2048            Ross, Edward         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18384

 2049           Torma, Gerard         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18389

 2050        Crittenton, Demaurice    Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18399

 2051          Hedrick, Barbara       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18403



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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  2052          Harmola, Robert          Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-18422

 2053             Keys, Carmen          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18580

 2054              Page, Gloria         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18603

 2055          Jones-Hiney, Patricia    Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18604

 2056             King, Warndra         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18634

 2057              Ziegler, Amy         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18667

 2058             White, Taneta         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18668

 2059              Smith, Joyce         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18684

 2060              Joe, Amanda          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18685

 2061            Moore, Bryana          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18696

 2062            Moore, Loretta         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18709

 2063            Kyle, Deumetrus        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18717

 2064             Henley, James         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18726

 2065             O'leary, John         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18727

 2066           Vandible, Nideichi      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18729

 2067            Rubin, Shenene         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18733

 2068          Mccullough, Wanda        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18745

 2069             Ransom, Toria         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18771

 2070            Wilcox, Twondy         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18773

 2071           Walker, Clestene        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18790

 2072           Loschiavo, Joseph       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18792

 2073              Sands, Mary          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18795

 2074             Steward, Larry        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18807



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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  2075          Yaw, Winston            Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-18810

 2076            Rogers, Tarice        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18812

 2077           Gordon, Cristal        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18821

 2078           Sweat, Simon C.        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-18880

 2079           Johnson, Mary          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19040

 2080            Kirton, Francis       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19062

 2081            Heard, Donna          Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19143

 2082           Trammell, Alexis       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19243

 2083          Tolbert, Stephanie      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19494

 2084       Zurowski, Pamela Marino    Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19506

 2085            Harrell, Renee        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19509

 2086            Heer, Richard         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19520

 2087            Scott, Lakeya         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19530

 2088            Tovar, Alfredo        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19535

 2089         Evans-Chalup, Debra      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19537

 2090           Vaughn, Darryl         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19539

 2091            Sharp, Charles        Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19549

 2092           Warren, Jerome         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19551

 2093           Forman, Clarissa       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19558

 2094            Murillo, Ivan         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19564

 2095       Walker, Eboney Shepard     Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19585

 2096         Reynolds, Nathaniel      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19608

 2097             Hill, Carlos         Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19618



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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  2098         Frazier, Ida Louise      Schneider, Wallace, Cottrell Konecky LLP     3:23-cv-19776

 2099                Sager, Lisa       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19783

 2100           Lambrecht, Caroline    Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19784

 2101            Arterbery, Yvette     Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19793

 2102              Luckett, Mary       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-19796

 2103            Richey, Dwalette      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21334

 2104              Martin, Cecilia     Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21338

 2105             Smith, Franklin      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21345

 2106            Martin, Charlene      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21347

 2107               Adkins, Lisa       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21350

 2108             Johnson, Donald      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21354

 2109               Akers, Larry       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21758

 2110             Dearth, Richard      Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21762

 2111             Jerkins, Charles     Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21771

 2112              Dykes, Shelly       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21789

 2113             Abraugh, Shawn       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21796

 2114              Bell, Anthony       Schneider, Wallace, Cottrell Konecky LLP      3:23-cv-21800

 2115               Hall, Leonard                  Seithel Law LLC                   3:18-cv-08611
 2116             Smith, Jeffrey G                 Seithel Law LLC                   3:19-cv-21010
 2117             Prievo, Deborah              Simmons Hanly Conroy                  3:18-cv-01235
 2118              Duddy, Deirdre              Simmons Hanly Conroy                  3:18-cv-01281
 2119               Kath, Sharon               Simmons Hanly Conroy                  3:18-cv-01320
 2120                Ernst, Dana               Simmons Hanly Conroy                  3:18-cv-02698
 2121             Tucker, Michelle             Simmons Hanly Conroy                  3:18-cv-04713
 2122               Davlin, Doris              Simmons Hanly Conroy                  3:18-cv-08459
 2123              Taylor, Jimmie       SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-01294
 2124                Hill, Randy        SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-01464
 2125             Towler, Beverly       SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-03877
 2126             Weber, Vincent        SKIKOS, CRAWFORD, SKIKOS & JOSEPH            3:18-cv-07956


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Row # Case Name                          Plaintiff Firm(s)                        Current Cause #
  2127       Scott, Alaina Gail Nicole               Springer Law Firm PLLC         3:19-cv-21013
  2128              Sult, Larisa          Sullivan Papain Block McGrath & Cannavo   3:23-cv-19765
                                                               P.C.
 2129            Anthony, Martinez        Sullivan Papain Block McGrath & Cannavo   3:23-cv-19959
                                                               P.C.
 2130                LOPEZ, IDA           Sullivan Papain Block McGrath & Cannavo   3:23-cv-22335
                                                               P.C.
 2131                Krastel, Carol                 Summers & Johnson, P.C.         3:18-cv-13291
 2132               Willis, Dorothy                 Summers & Johnson, P.C.         3:18-cv-17078
 2133              Stockwell, Linda                 Summers & Johnson, P.C.         3:18-cv-17084
 2134             Hamilton, Robert                    The Carlson Law Firm          3:23-cv-11935
 2135             Chaney, Latasha                     The Carlson Law Firm          3:23-cv-15779
 2136              Neher, Cathy Jo                    The Carlson Law Firm          3:23-cv-16116
 2137              Perdue, Amelia                     The Carlson Law Firm          3:23-cv-16462
 2138               Sticken, Donna                    The Carlson Law Firm          3:23-cv-16477
 2139             Williamson, Lela                    The Carlson Law Firm          3:23-cv-16490
 2140                  Burrell, Zia                   The Carlson Law Firm          3:23-cv-18835
 2141            Hamilton, Dawn R                     The Carlson Law Firm          3:23-cv-18850
 2142             Arthur, Casandra                    The Carlson Law Firm          3:23-cv-19322
 2143              Mcgregor, Paris                    The Carlson Law Firm          3:23-cv-19336
 2144              Dumas, Wilona                      The Carlson Law Firm          3:23-cv-19369
 2145               Soirez, Chasity                   The Carlson Law Firm          3:23-cv-19375
 2146             Duncan, Ramona                      The Carlson Law Firm          3:23-cv-19390
 2147            Baird-Orji, Geneva                   The Carlson Law Firm          3:23-cv-19400
 2148              Adkins, Melicia                    The Carlson Law Firm          3:23-cv-19428
 2149                Rotella, Linda                   The Carlson Law Firm          3:23-cv-19431
 2150               Lewis, Sheena                     The Carlson Law Firm          3:23-cv-19446
 2151             Bergman, Monya                      The Carlson Law Firm          3:23-cv-19457
 2152               Prentice, Dnay                    The Carlson Law Firm          3:23-cv-19458
 2153           Thompson, Steffani                    The Carlson Law Firm          3:23-cv-19467
 2154               Guss, Christine                   The Carlson Law Firm          3:23-cv-19473
 2155           Matthews, Carmenia                    The Carlson Law Firm          3:23-cv-19485
 2156            Livingston, Patricia               The Crone Law Firm, PLC         3:18-cv-12065
 2157               Harris, Angela                     The Cuffie Law Firm          3:18-cv-01405
 2158                 Kent, Aaron                      The Cuffie Law Firm          3:18-cv-08104
 2159             Harris, Joenathan                    The Cuffie Law Firm          3:18-cv-14687
 2160           Edwards, Benjamin                      The Cuffie Law Firm          3:18-cv-16916
 2161             Hymes, Leonard                       The Cuffie Law Firm          3:18-cv-17080
 2162              Holden, Wanda                       The Cuffie Law Firm          3:18-cv-17091
 2163               Dukes, William                     The Cuffie Law Firm          3:18-cv-17286
 2164                Rosser, Ninda                     The Cuffie Law Firm          3:18-cv-17299
 2165                Salter, Allison                   The Cuffie Law Firm          3:18-cv-17308
 2166                Vinson, Toiya                     The Cuffie Law Firm          3:18-cv-17380
 2167               Tripp, Suzanne                    The Deaton Law Firm           3:19-cv-12732
 2168                 Thoun, Sally                    The Deaton Law Firm           3:19-cv-12733
 2169           Ciccariello, Thomas                   The Deaton Law Firm           3:19-cv-12737


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Row # Case Name                        Plaintiff Firm(s)                      Current Cause #
  2170            Willits, Tracey                   The Deaton Law Firm         3:19-cv-12738
  2171              Brown, Lillie                   The Deaton Law Firm         3:19-cv-12773
  2172              Miser, Linda                    The Deaton Law Firm         3:19-cv-12774
  2173             Paige, Cheryl                    The Deaton Law Firm         3:19-cv-12777
  2174            Koester, Elaine                   The Deaton Law Firm         3:19-cv-12778
  2175             Stebner, Beth                    The Deaton Law Firm         3:19-cv-12779
  2176          Al Catantii, Sashah                 The Deaton Law Firm         3:19-cv-12780
  2177            Vollmer, Karen                    The Deaton Law Firm         3:19-cv-12781
  2178             Tillman, Amy                     The Deaton Law Firm         3:19-cv-12782
  2179          Ricketts, Elizabeth                 The Deaton Law Firm         3:19-cv-12797
  2180             Farmer, Lenel                    The Deaton Law Firm         3:19-cv-12800
  2181              Curry, Kelly                    The Deaton Law Firm         3:19-cv-12802
  2182            Berreth, Gayle                    The Deaton Law Firm         3:19-cv-12803
  2183            Marquez, Cecily                   The Deaton Law Firm         3:19-cv-12972
  2184          Mondragon, Betty                    The Deaton Law Firm         3:19-cv-12973
  2185          Schmidt, Michelle                   The Deaton Law Firm         3:19-cv-13297
  2186          Brown, M Barrett                The Dilorenzo Law Firm, LLC     3:19-cv-01139
  2187         Armstead, Darnille                   The Driscoll Firm, LLC      3:23-cv-12983
  2188            Heyser, Janice                    The Driscoll Firm, LLC      3:23-cv-16138
  2189            Mann, Christine                   The Driscoll Firm, LLC      3:23-cv-17565
  2190           Rodriguez, Dora                    The Driscoll Firm, LLC      3:23-cv-17874
  2191         Swanson, Lakeysha                    The Driscoll Firm, LLC      3:23-cv-18567
  2192           Torrance, Latisha                  The Driscoll Firm, LLC      3:23-cv-18583
  2193            Ward, Roxanne                     The Driscoll Firm, LLC      3:23-cv-18606
  2194              Welch, Talia                    The Driscoll Firm, LLC      3:23-cv-18614
  2195          Anderson, Donna                     The Driscoll Firm, LLC      3:23-cv-18984
  2196             Ebert, Ronald                    The Driscoll Firm, LLC      3:23-cv-19053
  2197         Buenrosto, Beatrice                  The Driscoll Firm, LLC      3:23-cv-19325
  2198              Fifield, Bret                   The Driscoll Firm, LLC      3:23-cv-19662
  2199         Jankowski, Richard                   The Driscoll Firm, LLC      3:23-cv-19670
  2200            McCurdy, Bruce                    The Driscoll Firm, LLC      3:23-cv-19672
  2201            Crincoli, Louise               The Ferraro Law Firm, P.A.     3:19-cv-13475
  2202           Komoroski, Mary                   The Goss Law Firm, P.C.      3:18-cv-12522
  2203           Nuckols, Ethel M              The Michael Brady Lynch Firm     3:18-cv-01404
  2204            Sieckman, Karl               The Michael Brady Lynch Firm     3:18-cv-03003
  2205          Varisco, Katrina M                   The Miller Firm, LLC       3:19-cv-01029
  2206          Cleverley, Verna S                   The Miller Firm, LLC       3:19-cv-12530
  2207            WIlliams, Judy                   The Mitchell Firm, PLLC      3:18-cv-05532
  2208        Michaels, Chrystasya                 The Potts Law Firm, LLP      3:18-cv-16981
  2209           Cabrera, Virginia                 The Potts Law Firm, LLP      3:19-cv-00609
  2210              Davis, Neal                    The Potts Law Firm, LLP      3:19-cv-00916
  2211             Hyde, Jolene                    The Potts Law Firm, LLP      3:19-cv-01411
  2212          Stewart, Gennette                  The Potts Law Firm, LLP      3:19-cv-05432
  2213            Mann, Wanda                      The Potts Law Firm, LLP      3:19-cv-06948
  2214              Six, Larry G.                    The Segal Law Firm         3:23-cv-15730
  2215        Sanchez, Jacqueline S.                 The Segal Law Firm         3:23-cv-15740


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Row # Case Name                        Plaintiff Firm(s)                          Current Cause #
  2216        Makarewicz, Edmund                      The Segal Law Firm            3:23-cv-16745
  2217               Gipson, Ruth                     The Segal Law Firm            3:23-cv-17718
  2218            Thurman, Karen                      The Segal Law Firm            3:23-cv-17895
  2219         Corson, Christian P.                   The Segal Law Firm            3:23-cv-18213
  2220             Bryant, Paula P.                The Simon Law Firm, PC           3:23-cv-21845
  2221             Brown, Richard                 The Washington Firm, PC           3:18-cv-12361
  2222           Schofield, Mary Jo                The Weinberg Law Firm            3:18-cv-16151
  2223             Brown, Melanie              The Whitehead Law Firm, LLC          3:19-cv-04872
  2224                Cliff, Shirley           The Whitehead Law Firm, LLC          3:19-cv-06001
  2225              Warf, Nancy J                    Thornton & Naumes              3:18-cv-03166
  2226              Brooks, Sylvia                   Thornton & Naumes              3:19-cv-00563
  2227            Lyman, Richard E                  Thornton Law Firm LLP           3:19-cv-07142
  2228              Griffith, Edna                  Thornton Law Firm LLP           3:19-cv-18037
  2229        Wreglesworth, Janice                   TorHoerman Law LLC             3:19-cv-21040
  2230              Jones, Wanda                         Trammell PC                3:19-cv-09340
  2231              Gatlin, Adaire                       Trammell PC                3:19-cv-09386
  2232               Yates, Linda                        Trammell PC                3:19-cv-09389
  2233              Walton, Carla                        Trammell PC                3:19-cv-09390
  2234           Pandola, Kimberly                       Trammell PC                3:19-cv-09641
  2235             Stringer, Becky                       Trammell PC                3:19-cv-09648
  2236              Gredzicki, Paul                      Trammell PC                3:19-cv-12445
  2237             Barker, Kandice                       Trammell PC                3:19-cv-12930
  2238                Kent, Debra                        Trammell PC                3:19-cv-12938
  2239         Martino-Strid, Grace                      Trammell PC                3:19-cv-20370
  2240             McKee, Robbie                   Vaughan Law Firm, P.C.           3:18-cv-11475
  2241             Archer, Melissa                 Vaughan Law Firm, P.C.           3:18-cv-11989
  2242            Deboth, Ramona                   Vaughan Law Firm, P.C.           3:18-cv-12007
  2243            Hartley, William                 Vaughan Law Firm, P.C.           3:18-cv-15228
  2244              Jay, Christine                 Vaughan Law Firm, P.C.           3:19-cv-08165
  2245             Shriver, Darwin                 Vaughan Law Firm, P.C.           3:19-cv-08169
  2246              Dubois, Cathy                 Wagstaff & Cartmell, LLP          3:18-cv-03081
  2247             Garland, Sophia                Wagstaff & Cartmell, LLP          3:18-cv-09876
  2248              Marx, Yvonne                  Wagstaff & Cartmell, LLP          3:18-cv-11041
  2249              Donnelly, Kate                Wagstaff & Cartmell, LLP          3:18-cv-15533
  2250           Johnson, Nancy M                 Wagstaff & Cartmell, LLP          3:18-cv-17507
  2251            Moore, Susan M                  Wagstaff & Cartmell, LLP          3:19-cv-03510
  2252              Coon, Renee F                 Wagstaff & Cartmell, LLP          3:19-cv-07322
  2253       Milliken-McKoy, Deborah               Weitz & Luxenberg, P.C.          3:23-cv-14610
  2254             Ruth, Brandy H.                 Weitz & Luxenberg, P.C.          3:23-cv-14612
  2255               Spall, Wendy                  Weitz & Luxenberg, P.C.          3:23-cv-14615
  2256          Storniolo, Maryann                 Weitz & Luxenberg, P.C.          3:23-cv-14616
  2257          Nicodemus, Sharon                  Weitz & Luxenberg, P.C.          3:23-cv-22331
  2258            Smith, Barbara E           Wilentz, Goldman, & Spitzer, P.A.      3:18-cv-02181
  2259             Kosmyna, Lori A         Williams Declark Tuschman Co., L.P.A     3:19-cv-14024
  2260             Giso, Michael J                     Wocl Leydon LLC              3:18-cv-08515
  2261          Arendale, Christina                     Wright McCall               3:23-cv-18578


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                                                                                Serving PPF  Page 59 of 98 PageID:
 This is the first month these cases have been listed. Failure
                                                         181476to cure these deficiencies will result in the case being the
                                   subject of an Order to Show Cause on July 1, 2024.
Row # Case Name                                      Plaintiff Firm(s)                                 Current Cause #
     1           Bowers, Harold                                   Andrus Wagstaff, P.C.                  3:20-cv-14545
     2           Christian, Dana                                  Andrus Wagstaff, P.C.                  3:20-cv-18847
     3            Daniel, Susan                                   Andrus Wagstaff, P.C.                  3:20-cv-18876
     4          Edwards, Latasha                                  Andrus Wagstaff, P.C.                  3:20-cv-14184
     5           Hubbard, Glenn                                   Andrus Wagstaff, P.C.                  3:20-cv-18842
     6                Lee, Jill                                   Andrus Wagstaff, P.C.                  3:20-cv-14669
     7           Olson, Vanessa                                   Andrus Wagstaff, P.C.                  3:20-cv-14188
     8              Long, Anne                                    Andrus Wagstaff, P.C.                  3:20-cv-14547
     9          Cormier, Randall                                  Andrus Wagstaff, P.C.                  3:20-cv-14567
   10           Munroe, Ronald                                      Ashcraft & Gerel                     3:20-cv-06898
   11               Bean, Judy                                      Ashcraft & Gerel                     3:20-cv-00476
   12            Bennett, Judith                                    Ashcraft & Gerel                     3:20-cv-17282
   13            D'Amico, Peggie                                    Ashcraft & Gerel                     3:20-cv-02444
   14                Diaz, Ruth                                     Ashcraft & Gerel                     3:20-cv-14154
   15            Eischen, Paul R                                    Ashcraft & Gerel                     3:20-cv-07299
   16            Escalante, Gina                                    Ashcraft & Gerel                     3:20-cv-14155
   17            Gilbert, Roberta                                   Ashcraft & Gerel                     3:20-cv-14156
   18            Hatcher, Paula                                     Ashcraft & Gerel                     3:20-cv-00477
   19            Horton, Teryka                                     Ashcraft & Gerel                     3:20-cv-00475
   20           Klatt, Christine M                                  Ashcraft & Gerel                     3:20-cv-20413
   21            Matthews, Elise                                    Ashcraft & Gerel                     3:20-cv-14157
   22         Militrano, Elizandra                                  Ashcraft & Gerel                     3:20-cv-02443
   23         Molleur, Brian Blake                                  Ashcraft & Gerel                     3:20-cv-08448
   24             Lopez, Okland                                     Ashcraft & Gerel                     3:20-cv-17283
   25           Sultze, Cynthia L                                   Ashcraft & Gerel                     3:20-cv-07824
   26         Witthohn, Richard D                                   Ashcraft & Gerel                     3:20-cv-06897
   27           Benton, Roberta                        Ashcraft & Gerel // Beasley, Allen, Crow,         3:20-cv-13960
                                                              Methvin, Portis & Miles, P.C.
    28               Bohl, Barbara G                   Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-13941
                                                              Methvin, Portis & Miles, P.C.
    29              Branson, Osceola                   Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-13935
                                                              Methvin, Portis & Miles, P.C.
    30        Campbell, Brenna Cassandra               Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-08196
                                                              Methvin, Portis & Miles, P.C.
    31              Champion, Jackie                   Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-01277
                                                              Methvin, Portis & Miles, P.C.
    32                 Deal, Diane                     Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-17960
                                                              Methvin, Portis & Miles, P.C.
    33             Deaton, Penelope                    Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-13937
                                                              Methvin, Portis & Miles, P.C.
    34            Digiacomo, Christina                 Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-10289
                                                              Methvin, Portis & Miles, P.C.
    35                Flowers, Mary                    Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-18036
                                                              Methvin, Portis & Miles, P.C.
    36              Fordyce, Johnnie                   Ashcraft & Gerel // Beasley, Allen, Crow,          3:20-cv-07511
                                                              Methvin, Portis & Miles, P.C.


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Row # Case Name                      Plaintiff Firm(s)                             Current Cause #
   37           Forsyth, Emily         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-17952
                                              Methvin, Portis & Miles, P.C.
   38              Gluck, Erica        Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-08384
                                              Methvin, Portis & Miles, P.C.
   39             Gutman, Ann          Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-17943
                                              Methvin, Portis & Miles, P.C.
   40               Hill, Alice        Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-08387
                                              Methvin, Portis & Miles, P.C.
   41            Lares, Felicitas      Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-17993
                                              Methvin, Portis & Miles, P.C.
   42              Levy, Sheila        Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15129
                                              Methvin, Portis & Miles, P.C.
   43              Lunn, Ellen         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-08909
                                              Methvin, Portis & Miles, P.C.
   44            Maier, Amanda         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15156
                                              Methvin, Portis & Miles, P.C.
   45             Maines, Joan         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-17996
                                              Methvin, Portis & Miles, P.C.
   46              Mayer, Joan         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15160
                                              Methvin, Portis & Miles, P.C.
   47          McCarthy, Michelle      Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-17998
                                              Methvin, Portis & Miles, P.C.
   48          McGowin, Alexandra      Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15162
                                              Methvin, Portis & Miles, P.C.
   49           McGrew, Vonnie         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18001
                                              Methvin, Portis & Miles, P.C.
   50            McPhillip, Jean       Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18044
                                              Methvin, Portis & Miles, P.C.
   51             Nelson, Diane        Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15166
                                              Methvin, Portis & Miles, P.C.
   52              Noble, Tana         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15167
                                              Methvin, Portis & Miles, P.C.
   53              Olds, Doris         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15170
                                              Methvin, Portis & Miles, P.C.
   54            Olten, Therese        Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15171
                                              Methvin, Portis & Miles, P.C.
   55            Pinnix, Sue Ellen     Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15135
                                              Methvin, Portis & Miles, P.C.
   56           Roalef, Carole M       Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18048
                                              Methvin, Portis & Miles, P.C.
   57          Robbins, Gwendolyn      Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-13948
                                              Methvin, Portis & Miles, P.C.
   58            Sawyer, Donna         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15136
                                              Methvin, Portis & Miles, P.C.
   59           Shaw, Susithea D       Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-10714
                                              Methvin, Portis & Miles, P.C.


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Row # Case Name                         Plaintiff Firm(s)                             Current Cause #
   60           Sirridge, Joann           Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-15138
                                                 Methvin, Portis & Miles, P.C.
   61              Stark, Mary A          Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18014
                                                 Methvin, Portis & Miles, P.C.
   62              Travis, Sarah          Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-17999
                                                 Methvin, Portis & Miles, P.C.
   63             Walton, Amber           Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18024
                                                 Methvin, Portis & Miles, P.C.
   64            Washington, Lula         Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18022
                                                 Methvin, Portis & Miles, P.C.
   65              Waters, Sally          Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-17961
                                                 Methvin, Portis & Miles, P.C.
   66           Wellington, Unique        Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-01297
                                                 Methvin, Portis & Miles, P.C.
   67              White, Laurie          Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18017
                                                 Methvin, Portis & Miles, P.C.
   68            Williams, Patricia       Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18030
                                                 Methvin, Portis & Miles, P.C.
   69              Wood, Glory            Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-08392
                                                 Methvin, Portis & Miles, P.C.
   70            Wood, Margaret           Ashcraft & Gerel // Beasley, Allen, Crow,     3:20-cv-18027
                                                 Methvin, Portis & Miles, P.C.
   71           Bower, Sandra Lee                    Ashcraft & Gerel, LLP              3:20-cv-01068
   72             Burge, Laura Sue                   Ashcraft & Gerel, LLP              3:20-cv-20411
   73           Cardamone, Joseph                    Ashcraft & Gerel, LLP              3:20-cv-00605
   74           Carver, Margarita G                  Ashcraft & Gerel, LLP              3:20-cv-05817
   75              Eber, Jessica R                   Ashcraft & Gerel, LLP              3:20-cv-03152
   76               Farr, Carolyn                    Ashcraft & Gerel, LLP              3:20-cv-00869
   77           Gershenfeld, Janet                   Ashcraft & Gerel, LLP              3:20-cv-01069
   78           Hoover, Charlie Doll                 Ashcraft & Gerel, LLP              3:20-cv-03155
   79               Katz, Patrice                    Ashcraft & Gerel, LLP              3:20-cv-01071
   80           Leighton, Tammy D                    Ashcraft & Gerel, LLP              3:20-cv-20454
   81           Mahoney, James M                     Ashcraft & Gerel, LLP              3:20-cv-20415
   82           Mottola, Leanne M                    Ashcraft & Gerel, LLP              3:20-cv-00478
   83          Piscione Jr., Nicholas                Ashcraft & Gerel, LLP              3:20-cv-04289
   84          Reese, James William                  Ashcraft & Gerel, LLP              3:20-cv-04290
   85            Reese, Teri Elaine                  Ashcraft & Gerel, LLP              3:20-cv-04939
   86            Reynolds, Ellen M                   Ashcraft & Gerel, LLP              3:20-cv-20414
   87          Rumbaugh, Deborah                     Ashcraft & Gerel, LLP              3:20-cv-00609
   88               Sloan, Carol                     Ashcraft & Gerel, LLP              3:20-cv-01072
   89             Smoot, Deborah                     Ashcraft & Gerel, LLP              3:20-cv-03159
   90              Stockton, June                    Ashcraft & Gerel, LLP              3:20-cv-03274
   91            Struve, Kenneth E.                  Ashcraft & Gerel, LLP              3:20-cv-04291
   92              Waters, Donna                     Ashcraft & Gerel, LLP              3:20-cv-03275
   93          White, Hoke DeLeon                    Ashcraft & Gerel, LLP              3:20-cv-11584
   94             Winnett, Denyse                    Ashcraft & Gerel, LLP              3:20-cv-02446


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Row # Case Name                       Plaintiff Firm(s)                             Current Cause #
   95         Wojceshonek, Linda                   Ashcraft & Gerel, LLP              3:20-cv-03716
   96           Hammock, Betty           Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07524
                                           Crow, Methvin, Portis & Miles, P.C.
   97         Johnson, Kandy Lynn        Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07604
                                           Crow, Methvin, Portis & Miles, P.C.
   98         Jones, Emily Braddock      Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07527
                                           Crow, Methvin, Portis & Miles, P.C.
   99          Lee, Mary Elizabeth       Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-12564
                                           Crow, Methvin, Portis & Miles, P.C.
  100             Morin, Jean            Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-13165
                                           Crow, Methvin, Portis & Miles, P.C.
  101            Oatman, Judy            Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07549
                                           Crow, Methvin, Portis & Miles, P.C.
  102           Patton, Rosemary         Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07550
                                           Crow, Methvin, Portis & Miles, P.C.
  103            Rector, Donna           Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07552
                                           Crow, Methvin, Portis & Miles, P.C.
  104          Reilly, Alice-Marie       Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07557
                                           Crow, Methvin, Portis & Miles, P.C.
  105        Shakespeare, Geraldine      Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07558
                                           Crow, Methvin, Portis & Miles, P.C.
  106           Shrable, Ramona          Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07559
                                           Crow, Methvin, Portis & Miles, P.C.
  107             Smith, Dawn            Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07562
                                           Crow, Methvin, Portis & Miles, P.C.
  108            Smith, Michelle         Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07563
                                           Crow, Methvin, Portis & Miles, P.C.
  109           Speight, Pamela          Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07564
                                           Crow, Methvin, Portis & Miles, P.C.
  110             Taibi, Lillian         Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-13168
                                           Crow, Methvin, Portis & Miles, P.C.
  111          Tarczy, Antoinette        Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07512
                                           Crow, Methvin, Portis & Miles, P.C.
  112            Thomas, Betty           Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07504
                                           Crow, Methvin, Portis & Miles, P.C.
  113            Trueland, Ruth          Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07568
                                           Crow, Methvin, Portis & Miles, P.C.
  114          Weddington, Laura         Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07588
                                           Crow, Methvin, Portis & Miles, P.C.
  115            Wheeler, Sarah          Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07514
                                           Crow, Methvin, Portis & Miles, P.C.
  116            Williams, Dana          Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07600
                                           Crow, Methvin, Portis & Miles, P.C.
  117            Wright, Rhonda          Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07601
                                           Crow, Methvin, Portis & Miles, P.C.



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Row # Case Name                               Plaintiff Firm(s)                             Current Cause #
  118           Yelverton, Betsy                 Ashcraft & Gerel, LLP // Beasley, Allen,     3:20-cv-07602
                                                   Crow, Methvin, Portis & Miles, P.C.
  119              Alonzo, Blanca               Aylstock, Witkin, Kreis & Overholtz, PLLC     3:20-cv-17794

  120             Caldwell, Judith             Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-16156

  121             Deforero, Karen              Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-16444

  122            Engelmann, Maria              Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-16169

  123              Flores, Angela              Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-18505

  124            Garvin, Billy John            Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-19870

  125          Innocenti, Anne-Marie           Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-18582

  126              Lowry, Diane                Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-18713

  127         Nogueira, Maria Espinal          Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-05181

  128             Palmer, Bobbie               Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-16501

  129              Tucker, Mary                Aylstock, Witkin, Kreis & Overholtz, PLLC      3:20-cv-16062

  130            Smarra, Rosemary                        Balzarini & Watson                   3:20-cv-14485
  131             Cochran, Ronald                         Baron & Budd, P.C.                  3:20-cv-11315
  132           Cochran, Ronald W                         Baron & Budd, P.C.                  3:20-cv-14224
  133                Cole, Mary                           Baron & Budd, P.C.                  3:20-cv-09155
  134             Cole, Kenneth, Sr                       Baron & Budd, P.C.                  3:20-cv-06814
  135               Jones, Linda                          Baron & Budd, P.C.                  3:20-cv-06218
  136            Newcomb, Donna                           Baron & Budd, P.C.                  3:20-cv-09965
  137             Moore, Barbara                         Baron & Budd, P.C.                   3:20-cv-09586
  138            Harper, Chanteau                         Baron & Budd, P.C.                  3:20-cv-06815
  139             Carr, Ilene Renee              Bart Durham Injury Law // Frazer PLC         3:20-cv-15498
  140            Cassidy, Anna Mae               Bart Durham Injury Law // Frazer PLC         3:20-cv-15865
  141              Polan, Mary A                 Bart Durham Injury Law // Frazer PLC         3:20-cv-15557
  142     Barreto De Hiller, Lydee Jeanette     Baum, Hedlund, Aristei & Goldman, P.C.        3:20-cv-16811

  143            Carroll, Stephen J             Baum, Hedlund, Aristei & Goldman, P.C.        3:20-cv-06190

  144        Christensen, Leanne Jane           Baum, Hedlund, Aristei & Goldman, P.C.        3:20-cv-19659

  145           Tuinstra, Judi Marie            Baum, Hedlund, Aristei & Goldman, P.C.        3:20-cv-05892

  146              Acheson, Mary                Beasley, Allen, Crow, Methvin, Portis &       3:20-cv-01610
                                                               Miles, P.C.


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Row # Case Name                           Plaintiff Firm(s)                            Current Cause #
  147               Adam, Laura              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04304
                                                            Miles, P.C.
  148          Alfred, Shirley Ann           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-18677
                                                            Miles, P.C.
  149              Anthony, April            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14542
                                                            Miles, P.C.
  150             Arbuckle, Sandra           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13378
                                                            Miles, P.C.
  151               Armato, Lisa             Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04040
                                                            Miles, P.C.
  152          Bader-Reindl, F Kim           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05328
                                                            Miles, P.C.
  153          Barnett, Catherine            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04319
                                                            Miles, P.C.
  154                Barr, Mary              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06186
                                                            Miles, P.C.
  155        Barrett, Betty Elizabeth        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05233
                                                            Miles, P.C.
  156              Beaulieu, Leon            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09609
                                                            Miles, P.C.
  157             Benham, Joyce R            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06274
                                                            Miles, P.C.
  158          Bergin, Linda Anne            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05366
                                                            Miles, P.C.
  159        Beurman, Bonnie Rose            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05499
                                                            Miles, P.C.
  160               Black, Sarah             Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13276
                                                            Miles, P.C.
  161              Blum, Sandra              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04420
                                                            Miles, P.C.
  162             Boyd, Katherine            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05173
                                                            Miles, P.C.
  163               Brown, Rose              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09992
                                                            Miles, P.C.
  164             Burger, Martha L           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05185
                                                            Miles, P.C.
  165      Bursinger, Julianne Caldwell      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12837
                                                            Miles, P.C.
  166              Calvert, Judith           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-16109
                                                            Miles, P.C.
  167             Carpenter, Starla          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15037
                                                            Miles, P.C.
  168               Cates, Carla             Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12853
                                                            Miles, P.C.
  169              Cato, Sandra B            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14739
                                                            Miles, P.C.


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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  170           Steeves, Melanie         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15267
                                                        Miles, P.C.
  171           Coleman, Kimberly        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13831
                                                        Miles, P.C.
  172           Connelly, Lynette L      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03529
                                                        Miles, P.C.
  173            Cooper, Karen R         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07197
                                                        Miles, P.C.
  174             Cowley, Ruth           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14511
                                                        Miles, P.C.
  175             Crezo, Velinda         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06074
                                                        Miles, P.C.
  176              Crist, Paula          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14836
                                                        Miles, P.C.
  177            Cureton, Renee          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14165
                                                        Miles, P.C.
  178             Mota, Pascual          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14178
                                                        Miles, P.C.
  179             Davis, Debbie          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06413
                                                        Miles, P.C.
  180            del Guidice, Lori       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-00238
                                                        Miles, P.C.
  181             Duncan, Jean           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14762
                                                        Miles, P.C.
  182          Emert-Schmoll, Sally      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13843
                                                        Miles, P.C.
  183           Engels, Shahzadee        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07662
                                                        Miles, P.C.
  184           Falcon, Rebecca L        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01265
                                                        Miles, P.C.
  185            Ferrell, Dorothy        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01871
                                                        Miles, P.C.
  186             Fonseca, Sonia         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-00617
                                                        Miles, P.C.
  187           Garrison, Darcy A        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13844
                                                        Miles, P.C.
  188            Gelerman, Roza          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09684
                                                        Miles, P.C.
  189              Genet, Rena           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01755
                                                        Miles, P.C.
  190         Giannecchini, Deborah      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06339
                                                        Miles, P.C.
  191            Gilbert, Wanda          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07796
                                                        Miles, P.C.
  192             Glessner, Kay          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13847
                                                        Miles, P.C.


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Row # Case Name                      Plaintiff Firm(s)                            Current Cause #
  193         Godschall, Micheline      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09689
                                                       Miles, P.C.
  194             Gomes, Mary           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03866
                                                       Miles, P.C.
  195           Gray, Mildred Kay       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14840
                                                       Miles, P.C.
  196          Gutierrez, Marybeth      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03871
                                                       Miles, P.C.
  197            Hamilton, Cindy        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09046
                                                       Miles, P.C.
  198            Hamilton, Donna        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07797
                                                       Miles, P.C.
  199            Hancock, Connie        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03876
                                                       Miles, P.C.
  200             Heape, Cherry         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09049
                                                       Miles, P.C.
  201            Henry, Deborah         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06910
                                                       Miles, P.C.
  202           Hoffmann, Janie H       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08864
                                                       Miles, P.C.
  203            Holman, Carolyn        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09808
                                                       Miles, P.C.
  204             Houchin, Linda        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08191
                                                       Miles, P.C.
  205            Housel, Jennifer       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14615
                                                       Miles, P.C.
  206            Hughes, Loretta        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-16235
                                                       Miles, P.C.
  207           Hunley, Mary Ellen      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03791
                                                       Miles, P.C.
  208            Hunnell, Patricia      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08388
                                                       Miles, P.C.
  209             Isgrig, Carolyn       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06920
                                                       Miles, P.C.
  210            Jackson, Patricia      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10030
                                                       Miles, P.C.
  211           Jagneaux, Carolyn       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07107
                                                       Miles, P.C.
  212            Jerome, Delores        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06928
                                                       Miles, P.C.
  213            Johnson, Angela        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05759
                                                       Miles, P.C.
  214            Johnson, Bonnie        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08876
                                                       Miles, P.C.
  215           Johnson, Cynthia J      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07240
                                                       Miles, P.C.


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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  216                Jones, Lula         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07247
                                                        Miles, P.C.
  217             Jumper, Michael        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14686
                                                        Miles, P.C.
  218                Kay, Evelyn         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08497
                                                        Miles, P.C.
  219              Keaton, Mary          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07250
                                                        Miles, P.C.
  220               Keller, Sarah        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02979
                                                        Miles, P.C.
  221             Kennedy, Andrea        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-00239
                                                        Miles, P.C.
  222              Kerns, Madge          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07254
                                                        Miles, P.C.
  223                Key, Sherry         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03878
                                                        Miles, P.C.
  224             King, Mary Jane        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13852
                                                        Miles, P.C.
  225              Kingsbury, Kim        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07257
                                                        Miles, P.C.
  226              Klopp, Debora         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13473
                                                        Miles, P.C.
  227         Knipschild, Patricia       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14617
                                                        Miles, P.C.
  228               Knoll, Linda         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13315
                                                        Miles, P.C.
  229             Krauchuk, Paula        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10046
                                                        Miles, P.C.
  230         La Munyon, Justine         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06239
                                                        Miles, P.C.
  231         Lacroix, Catherine         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07018
                                                        Miles, P.C.
  232        Langham, Rodneshia          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10056
                                                        Miles, P.C.
  233             Laveder, Lorraine      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06482
                                                        Miles, P.C.
  234             Lazzara, Frances       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07282
                                                        Miles, P.C.
  235         LeBlanc, Stephanie         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10835
                                                        Miles, P.C.
  236              Lehman, Kelly         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05952
                                                        Miles, P.C.
  237              Lucero, Anani         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05202
                                                        Miles, P.C.
  238                Luces, Aida         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07684
                                                        Miles, P.C.


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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  239         Madrigal, Josephine        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13854
                                                        Miles, P.C.
  240             Martin, Muriel         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01785
                                                        Miles, P.C.
  241            Massingill, Jerry       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14845
                                                        Miles, P.C.
  242             Masters, Lois          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10346
                                                        Miles, P.C.
  243           Matthews, Claire         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07317
                                                        Miles, P.C.
  244            Maxwell, Cheryl         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13479
                                                        Miles, P.C.
  245              May, Treva            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08882
                                                        Miles, P.C.
  246           McClure, Correen         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10758
                                                        Miles, P.C.
  247             McCray, Betty          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01642
                                                        Miles, P.C.
  248          McCrory, Katherine        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10763
                                                        Miles, P.C.
  249           McDermott, Laurie        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13014
                                                        Miles, P.C.
  250            McDowell, Kristi        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13855
                                                        Miles, P.C.
  251            Sauter, Kimberly        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15290
                                                        Miles, P.C.
  252            McLeod, Sheila          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12256
                                                        Miles, P.C.
  253             McNabb, Ann            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13019
                                                        Miles, P.C.
  254            McNeill, Coleen         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07387
                                                        Miles, P.C.
  255            Medd, Courtney          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13484
                                                        Miles, P.C.
  256             Merkle, Lynn           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13489
                                                        Miles, P.C.
  257            Miletich, Denise        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13494
                                                        Miles, P.C.
  258           Miller, Katherine A      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10452
                                                        Miles, P.C.
  259            Miller, Kathleen        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12293
                                                        Miles, P.C.
  260              Miller, Leroy         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15604
                                                        Miles, P.C.
  261           Miller, Mary Ann         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12782
                                                        Miles, P.C.


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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  262           Miller, Melissa           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12762
                                                         Miles, P.C.
  263           Miner, Mary Jane          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13496
                                                         Miles, P.C.
  264            Mixon, Deborah           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10854
                                                         Miles, P.C.
  265          Montero, Luzviminda        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13537
                                                         Miles, P.C.
  266             Morgan, Susan           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12603
                                                         Miles, P.C.
  267              Mount, Rita            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13556
                                                         Miles, P.C.
  268           Mulholland, Donna         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13557
                                                         Miles, P.C.
  269             Mullen, Joyce           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10856
                                                         Miles, P.C.
  270            Mullins, Deborah         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09106
                                                         Miles, P.C.
  271              Murphy, Judi           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12341
                                                         Miles, P.C.
  272           Murphy, Rebecca           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13857
                                                         Miles, P.C.
  273            Nadeau, Carolyn          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10862
                                                         Miles, P.C.
  274             Nadel, Esther           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09112
                                                         Miles, P.C.
  275             Naron, Jeffrey          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14197
                                                         Miles, P.C.
  276           Needham, Danette          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10512
                                                         Miles, P.C.
  277              Neill, Ernest          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12235
                                                         Miles, P.C.
  278             Nelson, Carol           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10521
                                                         Miles, P.C.
  279            Nichols, Barbara         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10534
                                                         Miles, P.C.
  280              Nicol, Sherri          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13858
                                                         Miles, P.C.
  281          Nippert, Laurie Marie      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12306
                                                         Miles, P.C.
  282         Novak-Hallway, Trudy C      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04328
                                                         Miles, P.C.
  283              Oglesby, Rita          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11670
                                                         Miles, P.C.
  284           Ohlmaier, Martha          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09122
                                                         Miles, P.C.


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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  285           Olson, Patricia           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13562
                                                         Miles, P.C.
  286             Omar, Lucrecia          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11217
                                                         Miles, P.C.
  287            Overton, Carolyn         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13859
                                                         Miles, P.C.
  288            Owen, Mairion P          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11224
                                                         Miles, P.C.
  289             Pace, Tambria           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11227
                                                         Miles, P.C.
  290              Page, Rachel           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13564
                                                         Miles, P.C.
  291             Parkhill, Susan         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12423
                                                         Miles, P.C.
  292             Parks, Dona C           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10597
                                                         Miles, P.C.
  293           Parrish, Inge Marie       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13565
                                                         Miles, P.C.
  294             Parsons, Judy           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10600
                                                         Miles, P.C.
  295         Pascoe, Margaret Mary       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13567
                                                         Miles, P.C.
  296              Patton, Traci          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14621
                                                         Miles, P.C.
  297           Pauley, Marianne          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12586
                                                         Miles, P.C.
  298             Paulson, Julie          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12590
                                                         Miles, P.C.
  299              Payne, Patsy           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10614
                                                         Miles, P.C.
  300         Peacock, Victoria Lynn      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10618
                                                         Miles, P.C.
  301             Penciak, Moira          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12591
                                                         Miles, P.C.
  302             Pereira, Maria          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10624
                                                         Miles, P.C.
  303            Perteete, Annie          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12569
                                                         Miles, P.C.
  304             Peterson, Olga          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10697
                                                         Miles, P.C.
  305            Petrovani, Nicola        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13572
                                                         Miles, P.C.
  306               Pigg, Kathy           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09143
                                                         Miles, P.C.
  307             Pisano, Donna           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12582
                                                         Miles, P.C.


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Row # Case Name                         Plaintiff Firm(s)                            Current Cause #
  308        Plowman, Loretta Marie        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09148
                                                          Miles, P.C.
  309               Pole, Pam              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13860
                                                          Miles, P.C.
  310             Prado, Nikole            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12308
                                                          Miles, P.C.
  311              Pratt, Benita           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13577
                                                          Miles, P.C.
  312             Price, Patricia          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07392
                                                          Miles, P.C.
  313            Pridgen, Beth L           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09158
                                                          Miles, P.C.
  314            Prosa, Julie Ann          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15781
                                                          Miles, P.C.
  315            Puckett, Mary D           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09184
                                                          Miles, P.C.
  316            Quickle, Becky D          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13580
                                                          Miles, P.C.
  317          Raimundo, Jeannette         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12307
                                                          Miles, P.C.
  318           Rasmussen, Darcell         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10703
                                                          Miles, P.C.
  319             Reed, Tammy              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13584
                                                          Miles, P.C.
  320              Reese, Edith            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12296
                                                          Miles, P.C.
  321             Reinhart, Gail           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13869
                                                          Miles, P.C.
  322           Reinhold, Michelle         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07947
                                                          Miles, P.C.
  323           Richards, Melody A         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08403
                                                          Miles, P.C.
  324             Rielly, Susan R          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13873
                                                          Miles, P.C.
  325            Ringener, Janie           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13586
                                                          Miles, P.C.
  326         Ritchie, Bobbie-Jo Lynn      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13875
                                                          Miles, P.C.
  327          Roberts, Catherine E        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12435
                                                          Miles, P.C.
  328           Robinson, Adeline          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10716
                                                          Miles, P.C.
  329           Robinson, Ruth A           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13876
                                                          Miles, P.C.
  330           Roddy, Beth Anne           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12451
                                                          Miles, P.C.


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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  331           Roderick, Barbara        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14767
                                                        Miles, P.C.
  332            Rodriguez, Grace        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10721
                                                        Miles, P.C.
  333           Rodriguez, Patricia      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10724
                                                        Miles, P.C.
  334              Rogers, Linda         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10807
                                                        Miles, P.C.
  335             Rogers, Luanna         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12321
                                                        Miles, P.C.
  336               Rogier, Gail         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13877
                                                        Miles, P.C.
  337            Romano, Cheryl          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14787
                                                        Miles, P.C.
  338             Romano, Linda          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-16226
                                                        Miles, P.C.
  339              Roney, Kecia          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10809
                                                        Miles, P.C.
  340              Roop, Brenda          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12318
                                                        Miles, P.C.
  341              Roth, Sherry          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02691
                                                        Miles, P.C.
  342              Rowe, Debra           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12317
                                                        Miles, P.C.
  343             Rowe, Raynee           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12453
                                                        Miles, P.C.
  344            Rudolph, Lora Lee       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12455
                                                        Miles, P.C.
  345             Rudy, Madeline         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12458
                                                        Miles, P.C.
  346              Ruff, Deloris         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14791
                                                        Miles, P.C.
  347            Rusackas, Robin         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12459
                                                        Miles, P.C.
  348             Russo, Francine        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-00408
                                                        Miles, P.C.
  349               Ryan, Janis          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12463
                                                        Miles, P.C.
  350               Ryan, Linda          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12464
                                                        Miles, P.C.
  351             Salazar, Cynthia       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15706
                                                        Miles, P.C.
  352            Salazar, Kathyna        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13880
                                                        Miles, P.C.
  353           Sanchez, Rosalinda       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13886
                                                        Miles, P.C.


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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  354           Sanders, Dennise          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07406
                                                         Miles, P.C.
  355           Sanderson, Robin          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10811
                                                         Miles, P.C.
  356          Sannicolas, Kimberly       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06934
                                                         Miles, P.C.
  357           Saunders, Sharon          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09190
                                                         Miles, P.C.
  358           Saunders, Yvonne          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-20115
                                                         Miles, P.C.
  359             Saylor, Vickie          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12358
                                                         Miles, P.C.
  360            McCulley, Colby          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04067
                                                         Miles, P.C.
  361           Scarrone, Michelle        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10815
                                                         Miles, P.C.
  362          Scatterfield, Melissa      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-20421
                                                         Miles, P.C.
  363           Schaefer, Kathleen        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14862
                                                         Miles, P.C.
  364             Scheffer, Mary          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13895
                                                         Miles, P.C.
  365             Schell, Helen L         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07811
                                                         Miles, P.C.
  366           Scheller, Judy Kay        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14865
                                                         Miles, P.C.
  367             Schepis, Keri           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02987
                                                         Miles, P.C.
  368            Schingle, Victor         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-00411
                                                         Miles, P.C.
  369            Schippers, Dawn          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11283
                                                         Miles, P.C.
  370             Schorr, Carol           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11307
                                                         Miles, P.C.
  371           Schrader, Pamela          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13909
                                                         Miles, P.C.
  372           Scoggins, Betty N         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-10169
                                                         Miles, P.C.
  373              Scott, Janice          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09197
                                                         Miles, P.C.
  374              Scott, Joyce           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07411
                                                         Miles, P.C.
  375            Scott, Sheila M          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08564
                                                         Miles, P.C.
  376            Scruggs, Cynthia         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13319
                                                         Miles, P.C.


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Row # Case Name                         Plaintiff Firm(s)                            Current Cause #
  377           Seaborn, Julie             Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07108
                                                          Miles, P.C.
  378             Sears, Karen J           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09199
                                                          Miles, P.C.
  379           Seguin, Mary Kay           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11325
                                                          Miles, P.C.
  380            Segura, Dessica           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02376
                                                          Miles, P.C.
  381            Sellers, Roxanne          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09198
                                                          Miles, P.C.
  382         Semler, Doreen Louise        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14871
                                                          Miles, P.C.
  383         Sensabaugh, Alicia M         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14970
                                                          Miles, P.C.
  384        Seto, Jennifer Castaneda      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09205
                                                          Miles, P.C.
  385            Shadrick, Carol           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06085
                                                          Miles, P.C.
  386              Shall, Debra            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09209
                                                          Miles, P.C.
  387           Shaw, Kathleen J           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14975
                                                          Miles, P.C.
  388            Shears, Patricia          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11332
                                                          Miles, P.C.
  389             Shelton, April           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03818
                                                          Miles, P.C.
  390            Shepard, Betty J          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12366
                                                          Miles, P.C.
  391            Sheppard, Judy            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04766
                                                          Miles, P.C.
  392           Sheppard, Pamela           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13917
                                                          Miles, P.C.
  393          Shipp, Karen Teresa         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13918
                                                          Miles, P.C.
  394             Shirley, Betty           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01993
                                                          Miles, P.C.
  395              Shover, Jill R          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07419
                                                          Miles, P.C.
  396           Simmons, Sophia            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04775
                                                          Miles, P.C.
  397          Singelais, Michele A        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09212
                                                          Miles, P.C.
  398              Skiles, David           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01402
                                                          Miles, P.C.
  399           Skipper, Virginia A        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12524
                                                          Miles, P.C.


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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  400               Slagle, Craig        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09312
                                                        Miles, P.C.
  401              Smiddy, Leslie        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13925
                                                        Miles, P.C.
  402             Smith, Barbara J       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05334
                                                        Miles, P.C.
  403              Smith, Connie         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-20377
                                                        Miles, P.C.
  404              Smith, Freda K        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12399
                                                        Miles, P.C.
  405         Smith, Gwendolyn           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09584
                                                        Miles, P.C.
  406              Smith, Kathy J        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05250
                                                        Miles, P.C.
  407               Smith, Laura         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02071
                                                        Miles, P.C.
  408               Smith, Linda         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13930
                                                        Miles, P.C.
  409              Smith, Mary M         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12471
                                                        Miles, P.C.
  410               Smith, Nancy         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12474
                                                        Miles, P.C.
  411              Smith, Sandra         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-16239
                                                        Miles, P.C.
  412        Smith, Susan Delores        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12475
                                                        Miles, P.C.
  413             Smith, Teresa M        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-00262
                                                        Miles, P.C.
  414                Smith, Tina         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13931
                                                        Miles, P.C.
  415              Smith, Valene         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13933
                                                        Miles, P.C.
  416             Soles, Katherine       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-04063
                                                        Miles, P.C.
  417              Soliz, Elizabeth      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12476
                                                        Miles, P.C.
  418             Sorensen, David        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14623
                                                        Miles, P.C.
  419               Soto, Amber          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14624
                                                        Miles, P.C.
  420              Souza, Nicolet        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13934
                                                        Miles, P.C.
  421             Sovinski, Teresa       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08408
                                                        Miles, P.C.
  422             Spangler, Jerry W      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15302
                                                        Miles, P.C.


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Row # Case Name                          Plaintiff Firm(s)                            Current Cause #
  423           Spaulding, Diana            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02990
                                                           Miles, P.C.
  424             Spayer, Marcia            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14007
                                                           Miles, P.C.
  425         Spees-Mcgow, Christina        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14625
                                                           Miles, P.C.
  426             Spencer, Betty            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14009
                                                           Miles, P.C.
  427            Williams, Keshia           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07058
                                                           Miles, P.C.
  428             Spoon, James              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09269
                                                           Miles, P.C.
  429             Spooner, Chrisi           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14984
                                                           Miles, P.C.
  430            Sprague, Teresa            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09318
                                                           Miles, P.C.
  431              Staley, Grace            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14722
                                                           Miles, P.C.
  432            Stanbury, Devon            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13303
                                                           Miles, P.C.
  433              Staten, Sue H            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14981
                                                           Miles, P.C.
  434             Stearn, Melissa           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11342
                                                           Miles, P.C.
  435             Stephan, Linda            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05205
                                                           Miles, P.C.
  436             Stepp, Sylvania           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06936
                                                           Miles, P.C.
  437          Stewart, Deborah H           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02379
                                                           Miles, P.C.
  438             Stewart, Della            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07812
                                                           Miles, P.C.
  439            Stinson, Debbie            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11362
                                                           Miles, P.C.
  440             Stogner, Terry            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14982
                                                           Miles, P.C.
  441             Turner, Brooke            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03543
                                                           Miles, P.C.
  442             Struck, Sharon            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05934
                                                           Miles, P.C.
  443             Stuart, Irma M            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14017
                                                           Miles, P.C.
  444             Styles, Patricia          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08410
                                                           Miles, P.C.
  445         Sullivan, Betty Michelle      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13032
                                                           Miles, P.C.


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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  446          Sullivan, Brenda G        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14693
                                                        Miles, P.C.
  447            Sumpter, Betty S        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09322
                                                        Miles, P.C.
  448             Sunde, Karen P         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07821
                                                        Miles, P.C.
  449            Svatek, Kathryn         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06485
                                                        Miles, P.C.
  450           Swan, Carolyn Sue        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07432
                                                        Miles, P.C.
  451             Sweetser, Ann          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14019
                                                        Miles, P.C.
  452              Talbot, Carol         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05253
                                                        Miles, P.C.
  453             Tanaka, Joyce          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06586
                                                        Miles, P.C.
  454            Taylor, Sandra L        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14023
                                                        Miles, P.C.
  455             Terrell, Donna         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11363
                                                        Miles, P.C.
  456             Terry, Sharon          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03629
                                                        Miles, P.C.
  457           Thelusma, Marie M        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05193
                                                        Miles, P.C.
  458             Thint, Maymon          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03282
                                                        Miles, P.C.
  459             Thomas, Alice          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08419
                                                        Miles, P.C.
  460            Thomas, Debbie          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03824
                                                        Miles, P.C.
  461            Thomas, Deborah         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14031
                                                        Miles, P.C.
  462            Thomas, Donna           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14626
                                                        Miles, P.C.
  463            Thomas, Leeotie         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14042
                                                        Miles, P.C.
  464          Thomas, Sharon Joyce      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14058
                                                        Miles, P.C.
  465             Thomas, Susan          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14060
                                                        Miles, P.C.
  466            Thomas, Vicky L         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01686
                                                        Miles, P.C.
  467           Thomason, Connie         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02307
                                                        Miles, P.C.
  468            Thompson, Lois          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11369
                                                        Miles, P.C.


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Row # Case Name                      Plaintiff Firm(s)                            Current Cause #
  469          Tieman, Mary Ann         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-18664
                                                       Miles, P.C.
  470             Tilley, Susan         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06592
                                                       Miles, P.C.
  471            Toliver, Renee         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09326
                                                       Miles, P.C.
  472            Toro, Doreen           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15791
                                                       Miles, P.C.
  473           Trapani, Norene         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15547
                                                       Miles, P.C.
  474           Traver, Barbara         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02352
                                                       Miles, P.C.
  475          Tressler, Mary Jean      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14061
                                                       Miles, P.C.
  476            Truden, Cathy          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-01693
                                                       Miles, P.C.
  477            Tucker, Diana          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13189
                                                       Miles, P.C.
  478             Turk, Shirley         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06599
                                                       Miles, P.C.
  479           Turner, Amy Lee         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14063
                                                       Miles, P.C.
  480            Turner, Joyce          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15799
                                                       Miles, P.C.
  481            Tutson, Benita         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-02359
                                                       Miles, P.C.
  482              Tyree, Lisa          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14794
                                                       Miles, P.C.
  483           Underhill, Mary         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05989
                                                       Miles, P.C.
  484          Unger, Teri Marie        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06684
                                                       Miles, P.C.
  485           Vafakos, Virginia       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14080
                                                       Miles, P.C.
  486          Valdespino, Teresa       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14401
                                                       Miles, P.C.
  487            Valdez, Adolfo         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13072
                                                       Miles, P.C.
  488           Valentine, Janna        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07825
                                                       Miles, P.C.
  489           Vallance, Karen         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14089
                                                       Miles, P.C.
  490            Vallejos, Joann        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15800
                                                       Miles, P.C.
  491          Van Order, Barbara       Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-20384
                                                       Miles, P.C.


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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  492           Vanetta, Michael          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12258
                                                         Miles, P.C.
  493              Vegher, Kim            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03634
                                                         Miles, P.C.
  494           Vera, Carey Marie         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06687
                                                         Miles, P.C.
  495           Verhest, Lorraine         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06688
                                                         Miles, P.C.
  496              Vicks, Eileen          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14090
                                                         Miles, P.C.
  497             Vidro, Marilyn          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14091
                                                         Miles, P.C.
  498           Villarreal, Jacqulin      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08423
                                                         Miles, P.C.
  499          Vincent, Nansalmaa         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13477
                                                         Miles, P.C.
  500             Viprino, Linda          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-20399
                                                         Miles, P.C.
  501                Vo, Cam              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14096
                                                         Miles, P.C.
  502            Volpe, Maureen           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-20406
                                                         Miles, P.C.
  503           Vorwald, Barbara L        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-20408
                                                         Miles, P.C.
  504             Wagner, Carol           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14100
                                                         Miles, P.C.
  505             Wright, Cheryl          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03852
                                                         Miles, P.C.
  506          Waldon, Sandra Lena        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09764
                                                         Miles, P.C.
  507            Walker, Mary M           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14101
                                                         Miles, P.C.
  508           Walker, Shirrina M        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11675
                                                         Miles, P.C.
  509             Walker, Tonya           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14102
                                                         Miles, P.C.
  510         Walls, Karen Kempson        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14103
                                                         Miles, P.C.
  511           Walton, Christy M         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14105
                                                         Miles, P.C.
  512              Ward, Leslie           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09336
                                                         Miles, P.C.
  513              Ware, Karen            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14106
                                                         Miles, P.C.
  514            Warix, Shirley L         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11376
                                                         Miles, P.C.


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Row # Case Name                       Plaintiff Firm(s)                            Current Cause #
  515         Warner, Kathy Lynn         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09340
                                                        Miles, P.C.
  516          Warren, Sharon Kay        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09343
                                                        Miles, P.C.
  517           Washington, Lula         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11379
                                                        Miles, P.C.
  518             Waters, Chris          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09348
                                                        Miles, P.C.
  519             Waters, Misty          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-09351
                                                        Miles, P.C.
  520            Watkins, Shari          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06013
                                                        Miles, P.C.
  521           Watson, Gracie A         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11380
                                                        Miles, P.C.
  522              Watts, June           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14110
                                                        Miles, P.C.
  523            Waun, Deborah           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14111
                                                        Miles, P.C.
  524          Weatherwax, Mary          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06021
                                                        Miles, P.C.
  525         Weathington, Denise        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08599
                                                        Miles, P.C.
  526             Weeden, Terri          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14627
                                                        Miles, P.C.
  527        Weidenhamer, Nancy L        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12607
                                                        Miles, P.C.
  528        Westmoreland, Angela        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14114
                                                        Miles, P.C.
  529        Wheaton, Tyrone Mariea      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15534
                                                        Miles, P.C.
  530             White, Bonita          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12553
                                                        Miles, P.C.
  531            White, Patricia         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15050
                                                        Miles, P.C.
  532            White, Yulonda          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12484
                                                        Miles, P.C.
  533            Whiteside, Kelly        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12528
                                                        Miles, P.C.
  534           Whitfield, Victoria      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12530
                                                        Miles, P.C.
  535          Whritenour, Kristine      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12556
                                                        Miles, P.C.
  536          Wilcher, Rosie Mae        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07435
                                                        Miles, P.C.
  537           Wilkinson, Helen         Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14118
                                                        Miles, P.C.


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Row # Case Name                         Plaintiff Firm(s)                            Current Cause #
  538          Willhouse, Barbara          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12532
                                                          Miles, P.C.
  539            Williams, Denise          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14122
                                                          Miles, P.C.
  540           Williams, Frances          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-06693
                                                          Miles, P.C.
  541             Williams, Ida            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-00409
                                                          Miles, P.C.
  542            Williams, Joyce           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14126
                                                          Miles, P.C.
  543        Williams, Sandra Juanita      Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-12533
                                                          Miles, P.C.
  544            Williams, Teresa          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14141
                                                          Miles, P.C.
  545          Williams, Veronica J        Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07439
                                                          Miles, P.C.
  546              Wilson, Gary            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15305
                                                          Miles, P.C.
  547              Wilson, Mia             Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11491
                                                          Miles, P.C.
  548          Winchester, Bonnie          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15057
                                                          Miles, P.C.
  549              Witter, Lynn            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-08612
                                                          Miles, P.C.
  550            Wojtul, Marion            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14143
                                                          Miles, P.C.
  551           Wolfenden, Ingrid          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-11507
                                                          Miles, P.C.
  552              Wood, Linda             Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15309
                                                          Miles, P.C.
  553             Wood, Misty              Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07326
                                                          Miles, P.C.
  554              Wood, Shirl             Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14145
                                                          Miles, P.C.
  555             Woods, Imelda            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14146
                                                          Miles, P.C.
  556             Woods, Misty             Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13466
                                                          Miles, P.C.
  557              Seek, Lorrie            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15047
                                                          Miles, P.C.
  558            Wright, London            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-13067
                                                          Miles, P.C.
  559              Yakhin, Sara            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07334
                                                          Miles, P.C.
  560           Yankosky, Barbara          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14148
                                                          Miles, P.C.


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Row # Case Name                         Plaintiff Firm(s)                            Current Cause #
  561           Yisrael, Qetsiyah          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-14149
                                                           Miles, P.C.
  562             Yoder, Roberta           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15538
                                                           Miles, P.C.
  563               Yorba, Lisa            Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-15060
                                                           Miles, P.C.
  564              Young, Krista           Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05645
                                                           Miles, P.C.
  565            Young, Rebecca B          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-05207
                                                           Miles, P.C.
  566              Zealor, Evelyn          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-03089
                                                           Miles, P.C.
  567            Zinkhan, Susanna          Beasley, Allen, Crow, Methvin, Portis &     3:20-cv-07450
                                                           Miles, P.C.
  568            Gullotti, Sandra                      Belluck & Fox, LLP              3:20-cv-02517
  569            Mills, Rosemarie                      Belluck & Fox, LLP              3:20-cv-00016
  570        Vanburen, Elizabeth Ann                   Belluck & Fox, LLP              3:20-cv-20049
  571               Cohn, Amy                        Bernstein Liebhard LLP            3:20-cv-15234
  572          Trevino, Magdalena                    Blizzard & Nabers, LLP            3:20-cv-08072
  573           Petrucci, Carmella                     Burns Charest LLP               3:20-cv-17298
  574              Smith, Gloria            Campbell & Associates // Frazer PLC        3:20-cv-15328
  575             Apointe-Ramos                  Carazo Quetglas Law Offices           3:20-cv-20362
  576          Cancel-ayala, Norma               Carazo Quetglas Law Offices           3:20-cv-20402
  577       Cordero-Maldonado, Gloria            Carazo Quetglas Law Offices           3:20-cv-20368
  578        Cardona-Acevedo, Aidee              Carazo Quetglas Law Offices           3:20-cv-20407
  579         Cruz-Guzman, Carmen                Carazo Quetglas Law Offices           3:20-cv-20385
  580              Ortiz, Zulma                  Carazo Quetglas Law Offices           3:20-cv-20391
  581         Tamburello, Joanne B.                      Cellino Law LLP               3:20-cv-00023
  582             Allback, Claire                        Cellino Law LLP               3:20-cv-00024
  583          Amendola, Rachelle                        Cellino Law LLP               3:20-cv-05717
  584             Baran, Emilia H                        Cellino Law LLP               3:20-cv-00072
  585              Peay, Tiffany                         Cellino Law LLP               3:20-cv-02281
  586            Barnstorf, Paul T                       Cellino Law LLP               3:20-cv-01702
  587              Bartasi, Marc                         Cellino Law LLP               3:20-cv-00095
  588            Biber, Sr., John C                      Cellino Law LLP               3:20-cv-05951
  589         Bridgewater, Dow Lee                       Cellino Law LLP               3:20-cv-00245
  590             Palmer, Harvey                         Cellino Law LLP               3:20-cv-00708
  591           Brundidge, Mary L                        Cellino Law LLP               3:20-cv-07607
  592         Buffamonti, Michael D                      Cellino Law LLP               3:20-cv-08394
  593           Cooper, William D                        Cellino Law LLP               3:20-cv-06375
  594              Darr, Guy W                           Cellino Law LLP               3:20-cv-00294
  595              Davis, Arthur                         Cellino Law LLP               3:20-cv-00326
  596           DeTorre, Robert P                        Cellino Law LLP               3:20-cv-00740
  597          Drzymala, Wayne R                         Cellino Law LLP               3:20-cv-07603
  598          Drzymala, Wayne R                         Cellino Law LLP               3:20-cv-07606
  599         Farmer-Jordan, Shirley                     Cellino Law LLP               3:20-cv-00172


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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  600             Vera, Elizabeth                      Cellino Law LLP                3:20-cv-08237
  601            Filicetti, Karen M                    Cellino Law LLP                3:20-cv-09525
  602             Foster, Thomas                       Cellino Law LLP                3:20-cv-02762
  603           Francis, Michael A                     Cellino Law LLP                3:20-cv-02312
  604           Gonzalez, Anne S                       Cellino Law LLP                3:20-cv-00094
  605          Hamilton, Patricia D                    Cellino Law LLP                3:20-cv-00804
  606           Holmes, George A                       Cellino Law LLP                3:20-cv-05712
  607             Nelson, Mireya                       Cellino Law LLP                3:20-cv-00118
  608              Khalid, Shaista                     Cellino Law LLP                3:20-cv-00085
  609           Kissoon, Mohabir                       Cellino Law LLP                3:20-cv-12393
  610              Kolesar, Gail K                     Cellino Law LLP                3:20-cv-01704
  611               Kye, Sherron                       Cellino Law LLP                3:20-cv-00073
  612            LaBarbera, Philip                     Cellino Law LLP                3:20-cv-12390
  613               Letke, Frank                       Cellino Law LLP                3:20-cv-00244
  614            Loveland, Nancy                       Cellino Law LLP                3:20-cv-09527
  615            Magnanti, James                       Cellino Law LLP                3:20-cv-08711
  616          Majcher, Christie L                     Cellino Law LLP                3:20-cv-07609
  617               Mazgaj, Joan                       Cellino Law LLP                3:20-cv-11173
  618          Meirowitz, Clifford                     Cellino Law LLP                3:20-cv-02293
  619          Mkrtchyan, Edvard                       Cellino Law LLP                3:20-cv-05768
  620              Nayshlos, Irina                     Cellino Law LLP                3:20-cv-12391
  621               Norton, John                       Cellino Law LLP                3:20-cv-02310
  622               Wood, Jayne                        Cellino Law LLP                3:20-cv-02077
  623             Pattit, Ronald C                     Cellino Law LLP                3:20-cv-00667
  624             Romani, Vivian                       Cellino Law LLP                3:20-cv-05761
  625         Malanoski, Rosemarie                     Cellino Law LLP                3:20-cv-01753
  626         Rodriguez, Kathleen L.                   Cellino Law LLP                3:20-cv-03150
  627          Montanez, Ronaldo                       Cellino Law LLP                3:20-cv-00290
  628            Wilson, Joyce M                       Cellino Law LLP                3:20-cv-00185
  629         Severino, Jeremiah D                     Cellino Law LLP                3:20-cv-05723
  630           Skoutelas, Vasiliki                    Cellino Law LLP                3:20-cv-00087
  631         Smoudianis, Christine                    Cellino Law LLP                3:20-cv-00092
  632             Zuranski, Karen                      Cellino Law LLP                3:20-cv-11171
  633             Arnold, Kathryn                      Cellino Law LLP                3:20-cv-02711
  634             Leonardi, Karen                      Cellino Law LLP                3:20-cv-00026
  635               Suarez, Paul                       Cellino Law LLP                3:20-cv-13112
  636            Sweat, Esthmon                        Cellino Law LLP                3:20-cv-02269
  637               Cutlip, Terra                      Cellino Law LLP                3:20-cv-13069
  638           Wagner, Barbara J                      Cellino Law LLP                3:20-cv-00084
  639          Hulsenberg, Tara A        Cellino Law LLP // The Barnes Firm, P.C.     3:20-cv-00096

  640            Van Ord, Ronald L       Cellino Law LLP // The Barnes Firm, P.C.     3:20-cv-04241

  641             Singleton, Mary                  Cohen & Malad, LLP                 3:20-cv-09040
  642           Walpole, Rosemarie              Cohen, Placitella & Roth              3:20-cv-08995
  643            Avdeyeva, Yelena             Davis, Bethune & Jones, L.L.C.          3:20-cv-10280


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Row # Case Name                         Plaintiff Firm(s)                        Current Cause #
  644              Barsh, Eleanor               Davis, Bethune & Jones, L.L.C.     3:20-cv-12169
  645            Batista, Monica J              Davis, Bethune & Jones, L.L.C.     3:20-cv-11416
  646               Bensch, Carol               Davis, Bethune & Jones, L.L.C.     3:20-cv-13634
  647            Bergman, Selma J               Davis, Bethune & Jones, L.L.C.     3:20-cv-15362
  648        Briggs-Harlow, Darlene A           Davis, Bethune & Jones, L.L.C.     3:20-cv-11404
  649             Owens, Andrea                 Davis, Bethune & Jones, L.L.C.     3:20-cv-10145
  650               Butt, Dolores               Davis, Bethune & Jones, L.L.C.     3:20-cv-11648
  651          Carbonneau, Carol A              Davis, Bethune & Jones, L.L.C.     3:20-cv-12174
  652             Carrillo, Maria V             Davis, Bethune & Jones, L.L.C.     3:20-cv-10277
  653              Carter, Connie               Davis, Bethune & Jones, L.L.C.     3:20-cv-15366
  654           Castaneda, Raydel               Davis, Bethune & Jones, L.L.C.     3:20-cv-10155
  655             Conover, Susan                Davis, Bethune & Jones, L.L.C.     3:20-cv-08510
  656             Creech, Dorothy               Davis, Bethune & Jones, L.L.C.     3:20-cv-08647
  657                 Cruz, Olga                Davis, Bethune & Jones, L.L.C.     3:20-cv-15363
  658         Dagh-Goodman, Debra               Davis, Bethune & Jones, L.L.C.     3:20-cv-11415
  659            DaVazier, Donna                Davis, Bethune & Jones, L.L.C.     3:20-cv-12175
  660               Davis, Joanna               Davis, Bethune & Jones, L.L.C.     3:20-cv-08511
  661               Fagot, Desrie               Davis, Bethune & Jones, L.L.C.     3:20-cv-09249
  662                Favre, Paula               Davis, Bethune & Jones, L.L.C.     3:20-cv-13630
  663               Flynn, Susan                Davis, Bethune & Jones, L.L.C.     3:20-cv-11411
  664              Gaffney, Aleen               Davis, Bethune & Jones, L.L.C.     3:20-cv-12178
  665              Gallup, Regina               Davis, Bethune & Jones, L.L.C.     3:20-cv-15370
  666            Iniguez, Johanna               Davis, Bethune & Jones, L.L.C.     3:20-cv-12375
  667             Godich, Teresa L              Davis, Bethune & Jones, L.L.C.     3:20-cv-13613
  668            Grenzow, Debra S               Davis, Bethune & Jones, L.L.C.     3:20-cv-09251
  669             Hanson, Sherry                Davis, Bethune & Jones, L.L.C.     3:20-cv-12372
  670               Hare, Kristine              Davis, Bethune & Jones, L.L.C.     3:20-cv-12374
  671            Heinkel, Barbara               Davis, Bethune & Jones, L.L.C.     3:20-cv-14572
  672             Helton, Frances               Davis, Bethune & Jones, L.L.C.     3:20-cv-08507
  673            Hernandez, Diana               Davis, Bethune & Jones, L.L.C.     3:20-cv-18300
  674            Hernandez, Diana               Davis, Bethune & Jones, L.L.C.     3:20-cv-18312
  675            Hughes, Chastity               Davis, Bethune & Jones, L.L.C.     3:20-cv-14022
  676            Hughes, Margaret               Davis, Bethune & Jones, L.L.C.     3:20-cv-09254
  677              Johnson, Joyce               Davis, Bethune & Jones, L.L.C.     3:20-cv-18310
  678                Knox, Debra                Davis, Bethune & Jones, L.L.C.     3:20-cv-10575
  679             Latham, Betty N               Davis, Bethune & Jones, L.L.C.     3:20-cv-13617
  680            Mack, Linshasa A               Davis, Bethune & Jones, L.L.C.     3:20-cv-11897
  681             Martin, Joann G               Davis, Bethune & Jones, L.L.C.     3:20-cv-09255
  682            Medrano, Nicole                Davis, Bethune & Jones, L.L.C.     3:20-cv-09263
  683              Melby, Melissa               Davis, Bethune & Jones, L.L.C.     3:20-cv-12378
  684            Mendoza, Bridget               Davis, Bethune & Jones, L.L.C.     3:20-cv-12379
  685         Menefee, Nashernedra              Davis, Bethune & Jones, L.L.C.     3:20-cv-14029
  686              Moreno, Silvia               Davis, Bethune & Jones, L.L.C.     3:20-cv-10149
  687              Mortz, Suzette               Davis, Bethune & Jones, L.L.C.     3:20-cv-08076
  688                Page, David                Davis, Bethune & Jones, L.L.C.     3:20-cv-14579
  689              Peace, Maggie                Davis, Bethune & Jones, L.L.C.     3:20-cv-08653


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Row # Case Name                          Plaintiff Firm(s)                        Current Cause #
  690              Perkins, Joyce                Davis, Bethune & Jones, L.L.C.     3:20-cv-08083
  691              Perry, Sandra                 Davis, Bethune & Jones, L.L.C.     3:20-cv-11658
  692            Purnell, Lakeyah                Davis, Bethune & Jones, L.L.C.     3:20-cv-09261
  693             Radford, Connie                Davis, Bethune & Jones, L.L.C.     3:20-cv-13625
  694          Raines-Drew, Justine              Davis, Bethune & Jones, L.L.C.     3:20-cv-08508
  695               Ray, Sabrina                 Davis, Bethune & Jones, L.L.C.     3:20-cv-10153
  696              Reyes, Zuleyka                Davis, Bethune & Jones, L.L.C.     3:20-cv-14568
  697              Rivera, Juanita               Davis, Bethune & Jones, L.L.C.     3:20-cv-09257
  698       Robinson-Miodovski, Mollie           Davis, Bethune & Jones, L.L.C.     3:20-cv-10022
  699            Roney, Madeline                 Davis, Bethune & Jones, L.L.C.     3:20-cv-15369
  700            Rucker, Tiffany P               Davis, Bethune & Jones, L.L.C.     3:20-cv-13614
  701             Rumple, Regina                 Davis, Bethune & Jones, L.L.C.     3:20-cv-10993
  702           Shannon, Summer                  Davis, Bethune & Jones, L.L.C.     3:20-cv-15367
  703            Shelley, Altavia F              Davis, Bethune & Jones, L.L.C.     3:20-cv-14585
  704            Simmons, Latisha                Davis, Bethune & Jones, L.L.C.     3:20-cv-08643
  705              Bracken, Carla                Davis, Bethune & Jones, L.L.C.     3:20-cv-20248
  706            Simone, Deborah                 Davis, Bethune & Jones, L.L.C.     3:20-cv-18308
  707            Skelton, Jennifer               Davis, Bethune & Jones, L.L.C.     3:20-cv-14024
  708           Spradlin, Teresa G               Davis, Bethune & Jones, L.L.C.     3:20-cv-13620
  709              Page, Nichelle                Davis, Bethune & Jones, L.L.C.     3:20-cv-10147
  710           Sweeten, Melissa J               Davis, Bethune & Jones, L.L.C.     3:20-cv-11901
  711       Sweitzer-Simental, Tammy             Davis, Bethune & Jones, L.L.C.     3:20-cv-15364
  712             Uitenham, Tina                 Davis, Bethune & Jones, L.L.C.     3:20-cv-09259
  713          Van Ryder, Carmen A               Davis, Bethune & Jones, L.L.C.     3:20-cv-13622
  714            Vollaire, Vanessa               Davis, Bethune & Jones, L.L.C.     3:20-cv-10139
  715             Warring, Mary J                Davis, Bethune & Jones, L.L.C.     3:20-cv-11402
  716               White, Dana                  Davis, Bethune & Jones, L.L.C.     3:20-cv-10578
  717              Chermak, Joni                          Diamond Law               3:20-cv-06223
  718             Hidalgo, Jackie L                       Diamond Law               3:20-cv-06245
  719             Kellam, Charles                         Diamond Law               3:20-cv-13025
  720                Lara, Sarah                          Diamond Law               3:20-cv-06835
  721            McCabe, Belinda                          Diamond Law               3:20-cv-06220
  722            Arambula, Kelsey                       Driscoll Firm, P.C.         3:20-cv-14261
  723             Assenti, Denise                       Driscoll Firm, P.C.         3:20-cv-13666
  724             Berry, Michelle                       Driscoll Firm, P.C.         3:20-cv-20548
  725             Bertanza, Carol                       Driscoll Firm, P.C.         3:20-cv-20448
  726             Blanche, Katona                       Driscoll Firm, P.C.         3:20-cv-01337
  727               Blevins, Lora                       Driscoll Firm, P.C.         3:20-cv-20422
  728                Boyle, Misti                       Driscoll Firm, P.C.         3:20-cv-12663
  729               Brady, JoAnn                        Driscoll Firm, P.C.         3:20-cv-20551
  730              Usher, Wanda                         Driscoll Firm, P.C.         3:20-cv-02615
  731              Brock, Clarissa                      Driscoll Firm, P.C.         3:20-cv-07620
  732               Bush, Tresha                        Driscoll Firm, P.C.         3:20-cv-20427
  733               Byrd, Patricia                      Driscoll Firm, P.C.         3:20-cv-06420
  734            Cobb, Mary Jane                        Driscoll Firm, P.C.         3:20-cv-14258
  735                Davis, Brad                        Driscoll Firm, P.C.         3:20-cv-17200


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Row # Case Name                         Plaintiff Firm(s)                    Current Cause #
  736               Dodge, Mary                        Driscoll Firm, P.C.     3:20-cv-09726
  737               Dyer, Nellie                       Driscoll Firm, P.C.     3:20-cv-20556
  738            Embry, Christina                      Driscoll Firm, P.C.     3:20-cv-06428
  739            Esparza, Melissa                      Driscoll Firm, P.C.     3:20-cv-13607
  740           Fernandez, Nicole                      Driscoll Firm, P.C.     3:20-cv-13600
  741            Ferrer, Giavonna                      Driscoll Firm, P.C.     3:20-cv-17082
  742             Clarke, Anthony                      Driscoll Firm, P.C.     3:20-cv-18707
  743            Flores, Veronica                      Driscoll Firm, P.C.     3:20-cv-07537
  744             Fryrear, Tammy                       Driscoll Firm, P.C.     3:20-cv-12536
  745           Garcia, Guadalupe                      Driscoll Firm, P.C.     3:20-cv-12667
  746             Gardner, Annie                       Driscoll Firm, P.C.     3:20-cv-14223
  747           Goldstein, Barbara                     Driscoll Firm, P.C.     3:20-cv-06230
  748          Gordy, Ilda Moralez                     Driscoll Firm, P.C.     3:20-cv-12086
  749             Halvorson, June                      Driscoll Firm, P.C.     3:20-cv-20521
  750             Harris, Chandra                      Driscoll Firm, P.C.     3:20-cv-20429
  751              Hines, Earlitha                     Driscoll Firm, P.C.     3:20-cv-06740
  752             Hinrichs, Gayle                      Driscoll Firm, P.C.     3:20-cv-07611
  753             Hoffman, Janell                      Driscoll Firm, P.C.     3:20-cv-20518
  754              Hunt, Lynette                       Driscoll Firm, P.C.     3:20-cv-20431
  755              Jensen, Cheryl                      Driscoll Firm, P.C.     3:20-cv-06231
  756            Johnson, Kellian                      Driscoll Firm, P.C.     3:20-cv-16780
  757              Johnson, Lillie                     Driscoll Firm, P.C.     3:20-cv-07615
  758            Johnson, Martha                       Driscoll Firm, P.C.     3:20-cv-07614
  759              Jones, Denise                       Driscoll Firm, P.C.     3:20-cv-06232
  760               Juarez, April                      Driscoll Firm, P.C.     3:20-cv-06229
  761             Klein, Kathleen                      Driscoll Firm, P.C.     3:20-cv-13686
  762             Lewis, Brittany                      Driscoll Firm, P.C.     3:20-cv-20432
  763               Majko, Kaley                       Driscoll Firm, P.C.     3:20-cv-01341
  764            Marchese, Linda                       Driscoll Firm, P.C.     3:20-cv-20440
  765            Marlow, Audrey                        Driscoll Firm, P.C.     3:20-cv-06234
  766           McDonald, Robin                        Driscoll Firm, P.C.     3:20-cv-12164
  767          McGuire, Charlotte                      Driscoll Firm, P.C.     3:20-cv-12935
  768             Meadows, Judy                        Driscoll Firm, P.C.     3:20-cv-06233
  769               Montez, Eva                        Driscoll Firm, P.C.     3:20-cv-13689
  770               Moore, Katy                        Driscoll Firm, P.C.     3:20-cv-12165
  771             Myrick, Rhonda                       Driscoll Firm, P.C.     3:20-cv-06541
  772        Naranjo, Evangely Nieves                  Driscoll Firm, P.C.     3:20-cv-01342
  773             Nichols, Lasonia                     Driscoll Firm, P.C.     3:20-cv-20447
  774             Copper, Dianne                       Driscoll Firm, P.C.     3:20-cv-18711
  775            Oxendine, Elaine                      Driscoll Firm, P.C.     3:20-cv-06543
  776           Patterson, Rickey                      Driscoll Firm, P.C.     3:20-cv-14207
  777              Peace, Maggie                       Driscoll Firm, P.C.     3:20-cv-06412
  778              Peace, Tammy                        Driscoll Firm, P.C.     3:20-cv-06542
  779                Pikula, Teri                      Driscoll Firm, P.C.     3:20-cv-13522
  780          Chambers, Jasmine                       Driscoll Firm, P.C.     3:20-cv-08972
  781              Roberts, Zaida                      Driscoll Firm, P.C.     3:20-cv-03169


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Row # Case Name                            Plaintiff Firm(s)                          Current Cause #
  782         Sandoval, Kathie Jo                          Driscoll Firm, P.C.          3:20-cv-15215
  783            Santee, Donald                            Driscoll Firm, P.C.          3:20-cv-14267
  784             Judy, Shawn                              Driscoll Firm, P.C.          3:20-cv-14216
  785           Seibles, Brittainy                         Driscoll Firm, P.C.          3:20-cv-06247
  786           Simmons, Terica                            Driscoll Firm, P.C.          3:20-cv-15220
  787             Skiles, David                            Driscoll Firm, P.C.          3:20-cv-01391
  788           Smith, Barbara I                           Driscoll Firm, P.C.          3:20-cv-07622
  789           Stewart, Yolanda                           Driscoll Firm, P.C.          3:20-cv-06167
  790             Stovall, Kyra                            Driscoll Firm, P.C.          3:20-cv-14273
  791            Toney, Heather                            Driscoll Firm, P.C.          3:20-cv-01343
  792           Vasquez, Norma                             Driscoll Firm, P.C.          3:20-cv-12457
  793            Watson, Melisa                            Driscoll Firm, P.C.          3:20-cv-14259
  794         Wilhoite, Leigh Ann                          Driscoll Firm, P.C.          3:20-cv-01344
  795            Rivera, Sandra                            Driscoll Firm, P.C.          3:20-cv-14199
  796            Windsor, Carol                            Driscoll Firm, P.C.          3:20-cv-15244
  797             Yeager, Kelli                            Driscoll Firm, P.C.          3:20-cv-09731
  798             Yuhas, Anna                              Driscoll Firm, P.C.          3:20-cv-01345
  799              Fox, Leslie             Eisenberg, Rothweiler, Winkler Eisenberg &   3:20-cv-14109
                                                               Jeck, P.C.
  800              Lanoy, Karen            Eisenberg, Rothweiler, Winkler Eisenberg &   3:20-cv-03242
                                                               Jeck, P.C.
  801          Wertheimer, Barbara         Eisenberg, Rothweiler, Winkler Eisenberg &   3:20-cv-13028
                                                               Jeck, P.C.
  802              Elswick, Rhonda                         Feldman & Pinto              3:20-cv-05539
  803              Myers, Halina S                         Feldman & Pinto              3:20-cv-06561
  804               Doub, William                     Fitzgerald Law Group, LLC         3:20-cv-08990
  805               Adams, Brenda                        Fletcher V. Trammell           3:20-cv-11115
  806                 Allen, Peter                       Fletcher V. Trammell           3:20-cv-09838
  807               Baker, Melissa                       Fletcher V. Trammell           3:20-cv-09485
  808              Barber, Danielle                      Fletcher V. Trammell           3:20-cv-09849
  809              Barnett, Michael                      Fletcher V. Trammell           3:20-cv-10979
  810             Rowe-Barth, Brian                      Fletcher V. Trammell           3:20-cv-08258
  811               Bell, Margaret                       Fletcher V. Trammell           3:20-cv-06324
  812      Bluitt-Hechavarria, Schevonne                 Fletcher V. Trammell           3:20-cv-11141
  813               Brooks, Denise                       Fletcher V. Trammell           3:20-cv-08182
  814                Brown, Kerry                        Fletcher V. Trammell           3:20-cv-08372
  815                Brown, Onrik                        Fletcher V. Trammell           3:20-cv-11934
  816             Causway, Juanita                       Fletcher V. Trammell           3:20-cv-09848
  817                Becker, Jaime                       Fletcher V. Trammell           3:20-cv-08746
  818               Chester, Veda                        Fletcher V. Trammell           3:20-cv-13369
  819              Chestnut, Willie                      Fletcher V. Trammell           3:20-cv-10001
  820                Collins, Terry                      Fletcher V. Trammell           3:20-cv-02087
  821              Laster, Michaun                       Fletcher V. Trammell           3:20-cv-12003
  822               Cooper, Shirley                      Fletcher V. Trammell           3:20-cv-06650
  823              Murray, Carolyn                       Fletcher V. Trammell           3:20-cv-12127
  824              Griffin, Timothy                      Fletcher V. Trammell           3:20-cv-12140


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Row # Case Name                       Plaintiff Firm(s)                   Current Cause #
  825              Brock, Roger                    Fletcher V. Trammell     3:20-cv-14044
  826           Crawford, Megan                    Fletcher V. Trammell     3:20-cv-08282
  827              Davis, Evelyn                   Fletcher V. Trammell     3:20-cv-02962
  828              Dereg, Peggy                    Fletcher V. Trammell     3:20-cv-02103
  829               Dictor, Paul                   Fletcher V. Trammell     3:20-cv-17322
  830          Dipaolo-Copp, Jodi                  Fletcher V. Trammell     3:20-cv-03004
  831               Drook, Joye                    Fletcher V. Trammell     3:20-cv-04254
  832            Dunn, Nakeisha                    Fletcher V. Trammell     3:20-cv-13111
  833             Flores, Patricia                 Fletcher V. Trammell     3:20-cv-08409
  834             Enciso, Robert                   Fletcher V. Trammell     3:20-cv-09639
  835             Ginobile, Carlo                  Fletcher V. Trammell     3:20-cv-06618
  836          Gonzales, Jerilyn D                 Fletcher V. Trammell     3:20-cv-09487
  837             Granger, Terry                   Fletcher V. Trammell     3:20-cv-14287
  838         Gravitt-Evans, Brenda                Fletcher V. Trammell     3:20-cv-12970
  839               Hamm, Joe                      Fletcher V. Trammell     3:20-cv-13366
  840          Hamolton, Melodie                   Fletcher V. Trammell     3:20-cv-02021
  841            Green, Deborah                    Fletcher V. Trammell     3:20-cv-08185
  842               Hollen, Lesa                   Fletcher V. Trammell     3:20-cv-16180
  843              Homan, Ruth                     Fletcher V. Trammell     3:20-cv-08412
  844           Hudson, Barbara                    Fletcher V. Trammell     3:20-cv-08771
  845            Hunter, Kenneth                   Fletcher V. Trammell     3:20-cv-04619
  846           Jackson, Barbara                   Fletcher V. Trammell     3:20-cv-08777
  847          Jackson, Maureen                    Fletcher V. Trammell     3:20-cv-00102
  848              James, Kayla                    Fletcher V. Trammell     3:20-cv-09468
  849             Johnson, Mary                    Fletcher V. Trammell     3:20-cv-09881
  850             Johnson, Judy                    Fletcher V. Trammell     3:20-cv-09821
  851           Johnson, Avonna                    Fletcher V. Trammell     3:20-cv-12202
  852             Johnson, Doris                   Fletcher V. Trammell     3:20-cv-09813
  853         Harris, Harriet Jones                Fletcher V. Trammell     3:20-cv-09462
  854             Jones, Yashika                   Fletcher V. Trammell     3:20-cv-09644
  855              Lee, Deborah                    Fletcher V. Trammell     3:20-cv-11993
  856           Leonard, Latanya                   Fletcher V. Trammell     3:20-cv-01983
  857           McCracken, Kelly                   Fletcher V. Trammell     3:20-cv-14037
  858          McCully, Kimberly                   Fletcher V. Trammell     3:20-cv-01615
  859           Meadows, Luana                     Fletcher V. Trammell     3:20-cv-09887
  860             Meehan, Judy                     Fletcher V. Trammell     3:20-cv-03123
  861            Mendoza, Maria                    Fletcher V. Trammell     3:20-cv-16815
  862              Wise, William                   Fletcher V. Trammell     3:20-cv-10018
  863               Miller, Linda                  Fletcher V. Trammell     3:20-cv-02860
  864              Mills, Donna                    Fletcher V. Trammell     3:20-cv-01867
  865           Mitchell, Kathryn                  Fletcher V. Trammell     3:20-cv-06319
  866           Lalaind, Clarence                  Fletcher V. Trammell     3:20-cv-00401
  867         Morris, Teazu-Tatiana                Fletcher V. Trammell     3:20-cv-08418
  868          Stephenson, Cathy                   Fletcher V. Trammell     3:20-cv-13474
  869              Schults, Stacy                  Fletcher V. Trammell     3:20-cv-06318
  870           Stutsman, Mickey                   Fletcher V. Trammell     3:20-cv-02215


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Row # Case Name                         Plaintiff Firm(s)                   Current Cause #
  871          Nwokogba, Melody                      Fletcher V. Trammell     3:20-cv-12152
  872            Overton, Brenda                     Fletcher V. Trammell     3:20-cv-08097
  873             Hughes, Nicole                     Fletcher V. Trammell     3:20-cv-16244
  874             Parker, Juanita                    Fletcher V. Trammell     3:20-cv-08249
  875            Pastore, Jennifer                   Fletcher V. Trammell     3:20-cv-12889
  876          Pierre-Louise, Glynis                 Fletcher V. Trammell     3:20-cv-05122
  877        Pinckney-Dugan, Kristen                 Fletcher V. Trammell     3:20-cv-11955
  878           Haynes, Maranda                      Fletcher V. Trammell     3:20-cv-12144
  879             Delgrolice, Judy                   Fletcher V. Trammell     3:20-cv-02835
  880            Rodriguez, Daisy                    Fletcher V. Trammell     3:20-cv-11006
  881           Bernard, Marthea                     Fletcher V. Trammell     3:20-cv-09874
  882        Schaefer-Rogers, Kristin                Fletcher V. Trammell     3:20-cv-13023
  883             Shepard, Sherri                    Fletcher V. Trammell     3:20-cv-06411
  884              Silliven, Craig                   Fletcher V. Trammell     3:20-cv-09879
  885              Simons, Jean                      Fletcher V. Trammell     3:20-cv-04431
  886            Simonson, Joann                     Fletcher V. Trammell     3:20-cv-08767
  887            Smith, Catherine                    Fletcher V. Trammell     3:20-cv-17461
  888              Smith, James                      Fletcher V. Trammell     3:20-cv-18632
  889                Smith, Tina                     Fletcher V. Trammell     3:20-cv-09518
  890                Soto, Fred                      Fletcher V. Trammell     3:20-cv-13040
  891              Sparks, Jesse                     Fletcher V. Trammell     3:20-cv-05114
  892               Staley, Stacy                    Fletcher V. Trammell     3:20-cv-04262
  893             Starks, Dorothy                    Fletcher V. Trammell     3:20-cv-05120
  894           Venedicto, Norma                     Fletcher V. Trammell     3:20-cv-12048
  895             Suchanek, Paul                     Fletcher V. Trammell     3:20-cv-08344
  896          Livingston, Lashawn                   Fletcher V. Trammell     3:20-cv-06219
  897              Taylor, James                     Fletcher V. Trammell     3:20-cv-09845
  898              Tornes, Leyla                     Fletcher V. Trammell     3:20-cv-06323
  899            Torres, Kimberly                    Fletcher V. Trammell     3:20-cv-12135
  900               Twait, Brian                     Fletcher V. Trammell     3:20-cv-06647
  901             Warga, Nancie                      Fletcher V. Trammell     3:20-cv-16817
  902          Wagenmann, Ronald                     Fletcher V. Trammell     3:20-cv-04599
  903              Weaver, Lori                      Fletcher V. Trammell     3:20-cv-00604
  904              West, Donnel                      Fletcher V. Trammell     3:20-cv-09815
  905            White, Charlotte                    Fletcher V. Trammell     3:20-cv-13492
  906             Brand, Marilyn                     Fletcher V. Trammell     3:20-cv-13652
  907             Williams, Diane                    Fletcher V. Trammell     3:20-cv-12978
  908               Bond, Skyler                     Fletcher V. Trammell     3:20-cv-08278
  909             Williams, La Va'                   Fletcher V. Trammell     3:20-cv-08166
  910            Williams, Jeffery                   Fletcher V. Trammell     3:20-cv-12131
  911            Williams, Mable                     Fletcher V. Trammell     3:20-cv-09563
  912             Winters, Patsy                     Fletcher V. Trammell     3:20-cv-09867
  913         Wynn-Yeldell, Adriana                  Fletcher V. Trammell     3:20-cv-09872
  914           Culpepper, James                     Fletcher V. Trammell     3:20-cv-02850
  915              Zornes, Karen                     Fletcher V. Trammell     3:20-cv-09486
  916        Anderson, Rachel Marie                       Frazer PLC          3:20-cv-18476


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Row # Case Name                         Plaintiff Firm(s)                           Current Cause #
  917             Baker, Hattie                            Frazer PLC                 3:20-cv-17863
  918            Hage, David G                             Frazer PLC                 3:20-cv-16325
  919       Wilson, Loretta Anderson                       Frazer PLC                 3:20-cv-18464
  920           Ackeraman, Tracy          Frazer PLC // Visram-Giraldo Law Group,     3:20-cv-14705
                                                              LLP
  921             Combs, Jodie            Frazer PLC // Visram-Giraldo Law Group,     3:20-cv-14690
                                                              LLP
  922              Sorrow, Vivian                   Gancedo Law Firm, Inc             3:20-cv-14196
  923              Rubido, Oscar                        Girardi & Keese               3:20-cv-13437
  924           Worsley, Charlotte                    Goldstein Greco PC              3:20-cv-08190
  925             Zanghi, Frances                     Goldstein Greco PC              3:20-cv-00090
  926            Shelton, Patricia              Heninger Garrison Davis, LLC          3:20-cv-06554
  927             Acosta, Fayetta              Hilliard Martinez Gonzales, LLP        3:20-cv-14539
  928             Adams, Beverly               Hilliard Martinez Gonzales, LLP        3:20-cv-14966
  929            Barbic, Samantha              Hilliard Martinez Gonzales, LLP        3:20-cv-14067
  930           Benjamin, Sinquisa             Hilliard Martinez Gonzales, LLP        3:20-cv-14985
  931              Serrano, Delia              Hilliard Martinez Gonzales, LLP        3:20-cv-13347
  932        Brockelmeyer, Christiane          Hilliard Martinez Gonzales, LLP        3:20-cv-09347
  933             Clinton, Jaquel              Hilliard Martinez Gonzales, LLP        3:20-cv-13553
  934           Coatney, Stephanie             Hilliard Martinez Gonzales, LLP        3:20-cv-14515
  935             Danner, Janine               Hilliard Martinez Gonzales, LLP        3:20-cv-14072
  936              Davis, Marsha               Hilliard Martinez Gonzales, LLP        3:20-cv-14438
  937          Demouchet, Jeanette             Hilliard Martinez Gonzales, LLP        3:20-cv-08686
  938              Dobbins, Leah               Hilliard Martinez Gonzales, LLP        3:20-cv-14071
  939             Duncan, Latoya               Hilliard Martinez Gonzales, LLP        3:20-cv-14069
  940               Fang, Sarah                Hilliard Martinez Gonzales, LLP        3:20-cv-08894
  941              Garcia, Carola              Hilliard Martinez Gonzales, LLP        3:20-cv-14959
  942            Garner, Christina             Hilliard Martinez Gonzales, LLP        3:20-cv-15641
  943           Giblin, Anne Marie             Hilliard Martinez Gonzales, LLP        3:20-cv-12984
  944            Gibson, Lawanna               Hilliard Martinez Gonzales, LLP        3:20-cv-15238
  945            Gonzalez, Juanita             Hilliard Martinez Gonzales, LLP        3:20-cv-14955
  946           Graham, Elizabeth              Hilliard Martinez Gonzales, LLP        3:20-cv-09432
  947              Gruber, Kristy              Hilliard Martinez Gonzales, LLP        3:20-cv-09410
  948           Hernandez, Susana              Hilliard Martinez Gonzales, LLP        3:20-cv-13346
  949            Huffman, Colleen              Hilliard Martinez Gonzales, LLP        3:20-cv-14680
  950             Johnson, Shelia              Hilliard Martinez Gonzales, LLP        3:20-cv-13278
  951               Lynn, Eloise               Hilliard Martinez Gonzales, LLP        3:20-cv-13345
  952             Maine, Jennifer              Hilliard Martinez Gonzales, LLP        3:20-cv-13224
  953            Malone, Kandice               Hilliard Martinez Gonzales, LLP        3:20-cv-13500
  954             Manning, Sheila              Hilliard Martinez Gonzales, LLP        3:20-cv-14057
  955            Manuel, Josefea               Hilliard Martinez Gonzales, LLP        3:20-cv-13234
  956             Marshall, Tonya              Hilliard Martinez Gonzales, LLP        3:20-cv-13348
  957           Martinez, Rosalinda            Hilliard Martinez Gonzales, LLP        3:20-cv-08415
  958            MItchell, Anselma             Hilliard Martinez Gonzales, LLP        3:20-cv-15245
  959             Moore, Lindsay               Hilliard Martinez Gonzales, LLP        3:20-cv-15650
  960              Nisar, Darline              Hilliard Martinez Gonzales, LLP        3:20-cv-15407


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Row # Case Name                         Plaintiff Firm(s)                           Current Cause #
  961             Parks, Lillian               Hilliard Martinez Gonzales, LLP        3:20-cv-09215
  962            Patton, Tonya                 Hilliard Martinez Gonzales, LLP        3:20-cv-14476
  963          Portugal, Elizabeth             Hilliard Martinez Gonzales, LLP        3:20-cv-15775
  964             Raouf, Fariba                Hilliard Martinez Gonzales, LLP        3:20-cv-15637
  965              Rape, Chris                 Hilliard Martinez Gonzales, LLP        3:20-cv-14725
  966         Rhea-Guy, Christina              Hilliard Martinez Gonzales, LLP        3:20-cv-11546
  967         Richardson, Natasha              Hilliard Martinez Gonzales, LLP        3:20-cv-14475
  968           Robinson, Kelsey               Hilliard Martinez Gonzales, LLP        3:20-cv-15417
  969         Rodriguez, Kathleen              Hilliard Martinez Gonzales, LLP        3:20-cv-15413
  970            Rubatt, Dawn                  Hilliard Martinez Gonzales, LLP        3:20-cv-08433
  971            Thomas, Olivia                Hilliard Martinez Gonzales, LLP        3:20-cv-14775
  972           Thomas, Sandra                 Hilliard Martinez Gonzales, LLP        3:20-cv-14480
  973            Janecka, Kerry                Hilliard Martinez Gonzales, LLP        3:20-cv-15508
  974         Wellington, Soniqua              Hilliard Martinez Gonzales, LLP        3:20-cv-14761
  975          Wilkerson, Angela               Hilliard Martinez Gonzales, LLP        3:20-cv-15496
  976            Woods, Ingria                 Hilliard Martinez Gonzales, LLP        3:20-cv-13228
  977         Devargas, Casandra        Holland Law // Mueller Law // Gori Julian &   3:20-cv-00911
                                                         Associates, P.C.
  978              Barnett, Jadie              Jason J. Joy & Assciates P.L.L.C.      3:20-cv-01238
  979              Bentley, Janet              Jason J. Joy & Assciates P.L.L.C.      3:20-cv-15478
  980             Camacho, Maria               Jason J. Joy & Assciates P.L.L.C.      3:20-cv-07210
  981             Delgado, Jenna               Jason J. Joy & Assciates P.L.L.C.      3:20-cv-10031
  982              Heriot, Corry               Jason J. Joy & Assciates P.L.L.C.      3:20-cv-09948
  983             Cooper, Melissa              Jason J. Joy & Assciates P.L.L.C.      3:20-cv-07301
  984           McLennan, Marianne             Jason J. Joy & Assciates P.L.L.C.      3:20-cv-15111
  985             Morris, Claudia              Jason J. Joy & Assciates P.L.L.C.      3:20-cv-03713
  986           Newton, Mary Gene              Jason J. Joy & Assciates P.L.L.C.      3:20-cv-02878
  987           Desmarais II, Randall          Jason J. Joy & Assciates P.L.L.C.      3:20-cv-16965
  988         Stuckenscheider, Chanel          Jason J. Joy & Assciates P.L.L.C.      3:20-cv-16371
  989           Boundy, Lynnette A             Joel E. Brown & Associates, P.C.       3:20-cv-07013
  990               Reed, Dena                       Johnson Becker, PLLC             3:20-cv-17473
  991             Fraser, Nicole L            Kiesel Law, LLP // LAW OFFICE OF        3:20-cv-13545
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                               Inc.
  992            Loo-Lew, Carolyn             Kiesel Law, LLP // LAW OFFICE OF        3:20-cv-00584
                                        HAYTHAM FARAJ // Martinian & Associates,
                                                               Inc.
  993            Ahner, Patricia D                    Kline & Specter, P.C.           3:20-cv-15115
  994             Barner, Jessica                     Kline & Specter, P.C.           3:20-cv-06022
  995           Bollinger, Rebecca                    Kline & Specter, P.C.           3:20-cv-07572
  996           Boyle, Patricia Ann                   Kline & Specter, P.C.           3:20-cv-14704
  997           Cassel Jr., Joseph T                  Kline & Specter, P.C.           3:20-cv-10442
  998            Chen, James Choi                     Kline & Specter, P.C.           3:20-cv-14652
  999            Culver, Barbara A                    Kline & Specter, P.C.           3:20-cv-00384
 1000          Gonzalez-Sed, Olga M                   Kline & Specter, P.C.           3:20-cv-10063
 1001           Grimstad, Tamara                      Kline & Specter, P.C.           3:20-cv-14684


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Row # Case Name                          Plaintiff Firm(s)                           Current Cause #
  1002            Bratten, Krystal                     Kline & Specter, P.C.           3:20-cv-14968
  1003             Kelly, Laurie J                     Kline & Specter, P.C.           3:20-cv-15192
  1004         Kerins, Bernadette M                    Kline & Specter, P.C.           3:20-cv-06154
  1005        Dodge, Susan Kingree                     Kline & Specter, P.C.           3:20-cv-18176
  1006             Kinsey, Sue R                       Kline & Specter, P.C.           3:20-cv-12500
  1007           Krawczyk, Sheryl                      Kline & Specter, P.C.           3:20-cv-07488
  1008          O'Laughlin, Linda A                    Kline & Specter, P.C.           3:20-cv-12498
  1009          Quitter, Patricia A                    Kline & Specter, P.C.           3:20-cv-10361
  1010           Robinson, Felicia                     Kline & Specter, P.C.           3:20-cv-08523
  1011          Schuman, Donna C                       Kline & Specter, P.C.           3:20-cv-16433
  1012           Trainor, Taylor N                     Kline & Specter, P.C.           3:20-cv-10417
  1013        Napoli, Maria Christina                 Knapp & Roberts, P.C.            3:20-cv-18220
  1014       Sorensen-Bauman, Alice                   Larsen Advocates, PC             3:20-cv-15265
  1015              Ogg, Karen            Law Office of Isaac Toveg Professional Law   3:20-cv-00126
                                                           Corporation
 1016              Galang, Audra          Law Office of Isaac Toveg Professional Law   3:20-cv-00166
                                                           Corporation
 1017         Plaisance, Marcy Lachney          Law Office of John D. Sileo, LLC       3:20-cv-10115
 1018                 Acker, Ester              Law Offices of Donald G. Norris        3:20-cv-06836
 1019                Bunch, Bobby               Law Offices of Donald G. Norris        3:20-cv-10005
 1020                 Davis, Joy D              Law Offices of Donald G. Norris        3:20-cv-10168
 1021            Decker Jr., Darryll W          Law Offices of Donald G. Norris        3:20-cv-09997
 1022               Johnson, Robert             Law Offices of Donald G. Norris        3:20-cv-10288
 1023              Jones, Anthony J             Law Offices of Donald G. Norris        3:20-cv-10332
 1024                Jones, Rolene              Law Offices of Donald G. Norris        3:20-cv-10282
 1025          Paluso, Joseph Thomas            Law Offices of Donald G. Norris        3:20-cv-09998
 1026             Williams, Veronica            Law Offices of Donald G. Norris        3:20-cv-09993
 1027               Wingfield, Mary             Law Offices of Donald G. Norris        3:20-cv-10003
 1028              Brooks, Ramona                 Law Offices of Theida Salazar        3:20-cv-10348
 1029               Bates, Margaret                    Lenze Lawyers, PLC              3:20-cv-09688
 1030                Bernand, Judy                     Lenze Lawyers, PLC              3:20-cv-07458
 1031             Blackmon, Carolyn                    Lenze Lawyers, PLC              3:20-cv-00473
 1032               Braxton, Sandra                    Lenze Lawyers, PLC              3:20-cv-14837
 1033                 Burke, Eileen                    Lenze Lawyers, PLC              3:20-cv-13549
 1034               Foster, Shannon                    Lenze Lawyers, PLC              3:20-cv-19285
 1035              Louviere, Tommy                     Lenze Lawyers, PLC              3:20-cv-06107
 1036             Morimitsu, Maria                     Lenze Lawyers, PLC              3:20-cv-00835
 1037                 Manus, Patti                     Lenze Lawyers, PLC              3:20-cv-19167
 1038          Northup-Dalton, Sharon                  Lenze Lawyers, PLC              3:20-cv-13551
 1039            Williamson, Brandy                    Lenze Lawyers, PLC              3:20-cv-14834
 1040                 Higgins, John                  Levin Simes Abrams LLP            3:20-cv-06512
 1041           Beasley, Patricia Ann                   Linville Law Group             3:20-cv-07469
 1042          Hamilton, Linda Dunbar         Lundy, Lundy, Soileau & South, LLP       3:20-cv-19044
 1043                Banderet, Joan                   Marlin & Saltzman LLP            3:20-cv-09188
 1044              Salgado, Carmela           Mary Alexander & Associates, P.C.        3:20-cv-17795
 1045            Kucharski, Debera S                 Matthews & Associates             3:20-cv-06699


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Row # Case Name                       Plaintiff Firm(s)                      Current Cause #
  1046          Slenker, Thomas                 McSweeney/Langevin, LLC        3:20-cv-15204
  1047         Bernard, Nathaniel               McSweeney/Langevin, LLC        3:20-cv-19651
  1048            Burrell, Melva                McSweeney/Langevin, LLC        3:20-cv-14832
  1049         Matthews, Ronald                 McSweeney/Langevin, LLC        3:20-cv-03329
  1050          Morrison, Gerald                McSweeney/Langevin, LLC        3:20-cv-01641
  1051           Tarrio, Dytanial               McSweeney/Langevin, LLC        3:20-cv-03057
  1052             Venters, Lisa                McSweeney/Langevin, LLC        3:20-cv-18645
  1053             Janzen, Tom                  Meshbesher & Spence, Ltd.      3:20-cv-15191
  1054             Singh, Savitri                   Morgan & Morgan            3:20-cv-05421
  1055         St. Pierre, Marielle                Morrell Law Firm, PLLC      3:20-cv-08662
  1056           Buckie, Judith A               Motley Rice New Jersey LLC     3:20-cv-12718
  1057           Delaune, Gary L                Motley Rice New Jersey LLC     3:20-cv-13186
  1058             Jaggi, Lael R                Motley Rice New Jersey LLC     3:20-cv-14121
  1059            Kirk, Kimberly                Motley Rice New Jersey LLC     3:20-cv-14696
  1060        Mehochko, Rebecca J               Motley Rice New Jersey LLC     3:20-cv-13057
  1061           Nunez, Mary R                  Motley Rice New Jersey LLC     3:20-cv-13324
  1062           Owens, Susan R                 Motley Rice New Jersey LLC     3:20-cv-14136
  1063       Oyebamiji, Shalonda M              Motley Rice New Jersey LLC     3:20-cv-13199
  1064            Ponoci, Lumto                 Motley Rice New Jersey LLC     3:20-cv-14765
  1065       Rosen, Elizabeth Jayne             Motley Rice New Jersey LLC     3:20-cv-14852
  1066          Welch, Margaret                 Motley Rice New Jersey LLC     3:20-cv-15461
  1067            Wiles, Gary D                 Motley Rice New Jersey LLC     3:20-cv-11896
  1068           Large, Wanda J                      Motley Rice, LLC          3:20-cv-00071
  1069        Ackley, Christopher J                  Motley Rice, LLC          3:20-cv-08115
  1070         Alverson, Sandra K                    Motley Rice, LLC          3:20-cv-01299
  1071            Alvillar, Helen                    Motley Rice, LLC          3:20-cv-04339
  1072          Anderson, Linda L                    Motley Rice, LLC          3:20-cv-06168
  1073          Andrade, Manuel                      Motley Rice, LLC          3:20-cv-07401
  1074          Argueta, Maria R                     Motley Rice, LLC          3:20-cv-14733
  1075           Austin, Janice K                    Motley Rice, LLC          3:20-cv-14584
  1076           Becker, Gary D                      Motley Rice, LLC          3:20-cv-13395
  1077             Beys, Thalia                      Motley Rice, LLC          3:20-cv-01382
  1078         Bonta, Maureen K                      Motley Rice, LLC          3:20-cv-00779
  1079             Boris, Judi L                     Motley Rice, LLC          3:20-cv-14606
  1080          Bourque, Mary H                      Motley Rice, LLC          3:20-cv-14654
  1081          Bryant, Randalle                     Motley Rice, LLC          3:20-cv-03237
  1082           Cannon, Eldora                      Motley Rice, LLC          3:20-cv-03720
  1083         Castello, Steven W                    Motley Rice, LLC          3:20-cv-14168
  1084           Celauro, Luigia                     Motley Rice, LLC          3:20-cv-02299
  1085            Chavez, David                      Motley Rice, LLC          3:20-cv-05773
  1086           Cherry, David G                     Motley Rice, LLC          3:20-cv-09862
  1087        Cukovic, Aleksandra                    Motley Rice, LLC          3:20-cv-03374
  1088       Cunningham, Virginia K                  Motley Rice, LLC          3:20-cv-03410
  1089           Brazil, Kevin W                     Motley Rice, LLC          3:20-cv-02322
  1090           Eason, Onneta                       Motley Rice, LLC          3:20-cv-03111
  1091          Eastman, Linda C                     Motley Rice, LLC          3:20-cv-13830


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Row # Case Name                         Plaintiff Firm(s)                 Current Cause #
  1092              Ellis, Bruce C                     Motley Rice, LLC     3:20-cv-07400
  1093              Farmer, Tia D                      Motley Rice, LLC     3:20-cv-06830
  1094              Flores, Rene                       Motley Rice, LLC     3:20-cv-06295
  1095             Ferch, Therese                      Motley Rice, LLC     3:20-cv-01413
  1096             Goods, Lolita E                     Motley Rice, LLC     3:20-cv-01376
  1097         Graham, Billie Evelyn                   Motley Rice, LLC     3:20-cv-03465
  1098          Griffith, Diana Rose                   Motley Rice, LLC     3:20-cv-03416
  1099           Hamby, Dorothy T                      Motley Rice, LLC     3:20-cv-01375
  1100           Harvey, Joyce Ann                     Motley Rice, LLC     3:20-cv-00305
  1101           Henson, Denise L                      Motley Rice, LLC     3:20-cv-09131
  1102              Hirsch, Diane                      Motley Rice, LLC     3:20-cv-02298
  1103            Italiano, Victor J                   Motley Rice, LLC     3:20-cv-14490
  1104       Jackson, Tameka Yvette                    Motley Rice, LLC     3:20-cv-06826
  1105          Jacobsen, Angela C                     Motley Rice, LLC     3:20-cv-00082
  1106            Compton, Mary                        Motley Rice, LLC     3:20-cv-05226
  1107      Johnson Smith, Jacqualyn                   Motley Rice, LLC     3:20-cv-05621
  1108           Junes, Peggy Jean                     Motley Rice, LLC     3:20-cv-14064
  1109        D'Ambrose, Patricia A                    Motley Rice, LLC     3:20-cv-06484
  1110           Kelley, Mary Beth                     Motley Rice, LLC     3:20-cv-02302
  1111             Kelly, Kevin M                      Motley Rice, LLC     3:20-cv-06591
  1112        Kirkwood, Lessie Mae                     Motley Rice, LLC     3:20-cv-14734
  1113            Koons, Jacklyn A                     Motley Rice, LLC     3:20-cv-06386
  1114          Leppig, Mary Susan                     Motley Rice, LLC     3:20-cv-02516
  1115            Martin, Dale Lee                     Motley Rice, LLC     3:20-cv-05561
  1116         Marzka Sr., Daniel W                    Motley Rice, LLC     3:20-cv-13985
  1117          McCann, Brittany H                     Motley Rice, LLC     3:20-cv-09398
  1118            Mikula, Wendy F                      Motley Rice, LLC     3:20-cv-02500
  1119            Bisura, Bonnie J                     Motley Rice, LLC     3:20-cv-07612
  1120       Moellendorf, Maralee A                    Motley Rice, LLC     3:20-cv-14160
  1121         Morgan, Catherine M                     Motley Rice, LLC     3:20-cv-05680
  1122            O'Neal, Bonnie L                     Motley Rice, LLC     3:20-cv-02258
  1123          O'Neill, Kathleen A                    Motley Rice, LLC     3:20-cv-05714
  1124            Pizinger, Caryl L                    Motley Rice, LLC     3:20-cv-09547
  1125            Pulido, Joseph A                     Motley Rice, LLC     3:20-cv-02560
  1126             Riaz, Rashda B                      Motley Rice, LLC     3:20-cv-01371
  1127       Rodriguez-Garcia, Laynys                  Motley Rice, LLC     3:20-cv-02300
  1128             Rogers, Linda L                     Motley Rice, LLC     3:20-cv-06675
  1129              Ross, Carol A                      Motley Rice, LLC     3:20-cv-08236
  1130            Russo, Shawna J                      Motley Rice, LLC     3:20-cv-06797
  1131          Samuels, Debora E                      Motley Rice, LLC     3:20-cv-01378
  1132          Sawyers, Karen Sue                     Motley Rice, LLC     3:20-cv-00378
  1133            Shively, Holly M                     Motley Rice, LLC     3:20-cv-12326
  1134        Shuman, Tracey Renee                     Motley Rice, LLC     3:20-cv-02270
  1135            Siemen, Tina M                       Motley Rice, LLC     3:20-cv-09603
  1136          Sizemore, James C                      Motley Rice, LLC     3:20-cv-06287
  1137             Slavin, Elyse C                     Motley Rice, LLC     3:20-cv-14228


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Row # Case Name                        Plaintiff Firm(s)                            Current Cause #
  1138          Smith, Cynthia M                       Motley Rice, LLC               3:20-cv-14066
  1139         Sotello, Joyce Ann                      Motley Rice, LLC               3:20-cv-04340
  1140         Stackman, Garrett                       Motley Rice, LLC               3:20-cv-05709
  1141            Starr, Vickie L                      Motley Rice, LLC               3:20-cv-06500
  1142           Thomas, Tanya                         Motley Rice, LLC               3:20-cv-06766
  1143       Thompson, Helen Faye                      Motley Rice, LLC               3:20-cv-13840
  1144            Thorn, Doris E                       Motley Rice, LLC               3:20-cv-00318
  1145        Thurmond, Margaret                       Motley Rice, LLC               3:20-cv-01935
  1146           Vorell, James A                       Motley Rice, LLC               3:20-cv-03060
  1147         Watters, Denise M                       Motley Rice, LLC               3:20-cv-14166
  1148          Williams, Mary S                       Motley Rice, LLC               3:20-cv-06603
  1149         Wimmer, Tammy V                         Motley Rice, LLC               3:20-cv-03749
  1150      Wolfram, Mary Catherine                    Motley Rice, LLC               3:20-cv-03751
  1151          Bradley, Edward J        Napoli Bern Ripka Shkolnik & Associates,     3:20-cv-14435
                                                              LLP
 1152              Reilly, Alice         Napoli Bern Ripka Shkolnik & Associates,     3:20-cv-04072
                                                              LLP
 1153            Sadler, Drew H          Napoli Bern Ripka Shkolnik & Associates,     3:20-cv-12729
                                                              LLP
 1154            Watson, James           Napoli Bern Ripka Shkolnik & Associates,     3:20-cv-06757
                                                              LLP
 1155             Kyles, Breana                      Napoli Shkolnik, PLLC            3:20-cv-04066
 1156            Quevedo, Rita P                     Napoli Shkolnik, PLLC            3:20-cv-03364
 1157          Carlson, Kimberly A                   Napoli Shkolnik, PLLC            3:20-cv-03366
 1158            Bolger, Dennis                Phillies Worthington and Allen         3:20-cv-12389
 1159             Daly, Sianead                    Phillips & Paolicelli, LLP         3:20-cv-09084
 1160             Bocko, Donna                          Potts Law Firm                3:20-cv-01322
 1161            Hatfield, Teresa                       Potts Law Firm                3:20-cv-18736
 1162             Zirbel, Dianne                        Potts Law Firm                3:20-cv-01326
 1163          Fagan, Philip R., Jr.               Pribanic & Pribanic, LLC           3:20-cv-06283
 1164              Bell, Barbara                   Pribanic & Pribanic, LLC           3:20-cv-12791
 1165            Bush, Margaret                    Pribanic & Pribanic, LLC           3:20-cv-03407
 1166            Lunardini, Gary                   Pribanic & Pribanic, LLC           3:20-cv-05545
 1167         Robinson, Maurice E.                           Pro se                   3:20-cv-12443
 1168          Williams, Kirk et al                          Pro se                   3:20-cv-20423
 1169            Worrall, James                              Pro se                   3:20-cv-01152
 1170             Lasneski, Dale                 Provost Umphrey Law Firm             3:20-cv-12679
 1171              Orah, Debra                   Provost Umphrey Law Firm             3:20-cv-01732
 1172         Ehrenborg, Jeannette           Rappaport, Glass, Levine & Zullo         3:20-cv-05857
 1173           Thompson, Helen              Rappaport, Glass, Levine & Zullo         3:20-cv-05863
 1174              Bailey, Hilda                     Reich & Binstock, LLP            3:20-cv-05681
 1175           Batchelor, Brenda                    Reich & Binstock, LLP            3:20-cv-05672
 1176           Bolstad, Deborah                     Reich & Binstock, LLP            3:20-cv-05667
 1177          Derbyshire, Aimee                     Reich & Binstock, LLP            3:20-cv-03042
 1178           Ebrahimi, Patricia                   Reich & Binstock, LLP            3:20-cv-05685
 1179              Edlund, Judy                      Reich & Binstock, LLP            3:20-cv-03034


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Row # Case Name                          Plaintiff Firm(s)                         Current Cause #
  1180          Hatterman, Pat                        Reich & Binstock, LLP          3:20-cv-05669
  1181          Holder, Rosetta                       Reich & Binstock, LLP          3:20-cv-05677
  1182           Johnson, Lydia                       Reich & Binstock, LLP          3:20-cv-05674
  1183          Lester, Deborah                       Reich & Binstock, LLP          3:20-cv-03037
  1184        Madaj-Berger, Judith                    Reich & Binstock, LLP          3:20-cv-03040
  1185          Ortolano, Nance                       Reich & Binstock, LLP          3:20-cv-03016
  1186          Ouellette, Maria                      Reich & Binstock, LLP          3:20-cv-03043
  1187            Overton, Toni                       Reich & Binstock, LLP          3:20-cv-03038
  1188           Pickett, Janice                      Reich & Binstock, LLP          3:20-cv-05688
  1189           Smith, Sandra                        Reich & Binstock, LLP          3:20-cv-05671
  1190           White, Marsha                        Reich & Binstock, LLP          3:20-cv-03018
  1191           De Alba, Olivia           Robinson, Calcagnie, Robinson, Shapiro,   3:20-cv-11078
                                                             Davis, Inc.
 1192            Dorsey, Roderick          Robinson, Calcagnie, Robinson, Shapiro,   3:20-cv-02675
                                                             Davis, Inc.
 1193            Glover, Melissa           Robinson, Calcagnie, Robinson, Shapiro,   3:20-cv-02673
                                                             Davis, Inc.
 1194             Jordan, Rosie            Robinson, Calcagnie, Robinson, Shapiro,   3:20-cv-01692
                                                             Davis, Inc.
 1195           Lomack, Susannah           Robinson, Calcagnie, Robinson, Shapiro,   3:20-cv-10461
                                                             Davis, Inc.
 1196      Magana, Guadalupe Arrayales     Robinson, Calcagnie, Robinson, Shapiro,   3:20-cv-06578
                                                             Davis, Inc.
 1197            Matthews, Robin           Robinson, Calcagnie, Robinson, Shapiro,   3:20-cv-08741
                                                             Davis, Inc.
 1198            Perkins, Michelle         Robinson, Calcagnie, Robinson, Shapiro,   3:20-cv-10985
                                                             Davis, Inc.
 1199         Mannino, Kathleen Ann                       Rodal Law, P.A.            3:20-cv-01991
 1200           Eaton, Nancy May                      Ross Law Offices, P.C.         3:20-cv-00499
 1201             Karahalis, Paula                    Ross Law Offices, P.C.         3:20-cv-04994
 1202          Kelley, Bruce Lewin                    Ross Law Offices, P.C.         3:20-cv-05737
 1203               Parker, Jami                Sanders Phillips Grossman, LLC       3:20-cv-03684
 1204              Shliger, Dayna                         Seithel Law LLC            3:20-cv-19473
 1205          Duran, III, Hector D                     Shaw Cowart, LLP             3:20-cv-01471
 1206          Ferguson, Thomas J                      Sill Law Group, PLLC          3:20-cv-11783
 1207              Dotson, Maria                     Simmons Hanly Conroy            3:20-cv-10755
 1208            Flores, Anamaria                 Slater, Slater, Schulman, LLP      3:20-cv-15529
 1209             Jones, Shannon                  Slater, Slater, Schulman, LLP      3:20-cv-12138
 1210             Keefover, Betty                 Slater, Slater, Schulman, LLP      3:20-cv-09333
 1211             Keller, Melanie                 Slater, Slater, Schulman, LLP      3:20-cv-16158
 1212         McElmurray, Krystal R               Slater, Slater, Schulman, LLP      3:20-cv-13724
 1213           Diliberto, Carol A        Sullivan Papain Block McGrath & Cannavo    3:20-cv-12829
                                                                P.C.
 1214           Gamelin, Rosemary         Sullivan Papain Block McGrath & Cannavo    3:20-cv-15437
                                                                P.C.



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Row # Case Name                        Plaintiff Firm(s)                        Current Cause #
  1215          Hobbs, Sarah            Sullivan Papain Block McGrath & Cannavo   3:20-cv-15439
                                                              P.C.
 1216          Lopresti, Joanna M       Sullivan Papain Block McGrath & Cannavo   3:20-cv-13984
                                                              P.C.
 1217           Parshall, Shirley       Sullivan Papain Block McGrath & Cannavo   3:20-cv-12808
                                                              P.C.
 1218            Taylor, Leigh          Sullivan Papain Block McGrath & Cannavo   3:20-cv-12801
                                                              P.C.
 1219            Trayan, Teresa         Sullivan Papain Block McGrath & Cannavo   3:20-cv-16223
                                                              P.C.
 1220            Vilord, Laurie         Sullivan Papain Block McGrath & Cannavo   3:20-cv-12899
                                                              P.C.
 1221           Anyanw, Cathryn                       Sweet & Associates          3:20-cv-08048
 1222              Dent, Annie                        Sweet & Associates          3:20-cv-08013
 1223              Dent, Maria                        Sweet & Associates          3:20-cv-07965
 1224           Hamilton, Marian                      Sweet & Associates          3:20-cv-07956
 1225             Hardy, Evelyn                       Sweet & Associates          3:20-cv-08031
 1226              Hicks, Ruby                        Sweet & Associates          3:20-cv-07954
 1227             Woods, Ruby                         Sweet & Associates          3:20-cv-07935
 1228            Barnett, Glenda                 The Benton Law FIrm, PLLC        3:20-cv-12845
 1229             Green, Joseph                  The Benton Law FIrm, PLLC        3:20-cv-15074
 1230           Hauser, Kenneth                  The Benton Law FIrm, PLLC        3:20-cv-15028
 1231           Maples, Reinesha                 The Benton Law FIrm, PLLC        3:20-cv-14388
 1232              Mata, Elvia                   The Benton Law FIrm, PLLC        3:20-cv-18584
 1233            Mendez, Shirley                 The Benton Law FIrm, PLLC        3:20-cv-15647
 1234              Gandy, Elvin                  The Benton Law FIrm, PLLC        3:20-cv-13469
 1235             Ratliff, Robyn                 The Benton Law FIrm, PLLC        3:20-cv-18391
 1236          Rousseau, Deborah                 The Benton Law FIrm, PLLC        3:20-cv-15059
 1237          San Nicolas, Diana                The Benton Law FIrm, PLLC        3:20-cv-16446
 1238       Singleton-Gaboian, Linda             The Benton Law FIrm, PLLC        3:20-cv-15911
 1239             Merry, Wanda                   The Benton Law FIrm, PLLC        3:20-cv-13052
 1240              Wyatt, Carla                       The Cuffie Law Firm         3:20-cv-20718
 1241             Rios, Dwayne                     The Diaz Law Firm, PLLC        3:20-cv-06183
 1242            Green, Jennifer                     The Driscoll Firm, LLC       3:20-cv-05386
 1243              Perez, Mary                       The Driscoll Firm, LLC       3:20-cv-05393
 1244             Segui, Alyssa                      The Driscoll Firm, LLC       3:20-cv-05400
 1245               Simmons                          The Driscoll Firm, LLC       3:20-cv-14264
 1246         Stephens, Krissandra                   The Driscoll Firm, LLC       3:20-cv-03324
 1247           Witter, Deborah                      The Driscoll Firm, LLC       3:20-cv-05395
 1248         Hudson-Givens, Lydia                  The Dunken Law Firm           3:20-cv-09017
 1249          Musseau, Catherine                The Ferraro Law Firm, P.A.       3:20-cv-14752
 1250           Richardson, Lucy                 The Ferraro Law Firm, P.A.       3:20-cv-00047
 1251            Loomis, Jennie                     The Freeman Law Firm          3:20-cv-14538
 1252            Meyers, Lucille                    The Freeman Law Firm          3:20-cv-14603
 1253            Adams, Michael                       The Miller Firm, LLC        3:20-cv-15187
 1254             Craig, Mary F                       The Miller Firm, LLC        3:20-cv-16510


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Row # Case Name                        Plaintiff Firm(s)                     Current Cause #
  1255             Fritz, Thomas                      The Miller Firm, LLC     3:20-cv-14319
  1256          Johnson, Peggy L                      The Miller Firm, LLC     3:20-cv-16299
  1257             Jones, Ashley                      The Miller Firm, LLC     3:20-cv-15841
  1258           Johnson, Russell                     The Miller Firm, LLC     3:20-cv-18063
  1259           Rasler, Wendi S                      The Miller Firm, LLC     3:20-cv-17354
  1260               Scott, Julia                     The Miller Firm, LLC     3:20-cv-17710
  1261              Shell, Lauren                     The Miller Firm, LLC     3:20-cv-15837
  1262         Smith, Linda Marie                     The Miller Firm, LLC     3:20-cv-16477
  1263            Bogard, Teresa                      The Segal Law Firm       3:20-cv-18620
  1264              Bolieu, Joyce                     The Segal Law Firm       3:20-cv-18359
  1265         Brown, Kimberly D                      The Segal Law Firm       3:20-cv-18362
  1266          Brown, Shirlene D                     The Segal Law Firm       3:20-cv-17022
  1267       Crockett-Turner, Sharon                  The Segal Law Firm       3:20-cv-15576
  1268          Daniels, Frederica                    The Segal Law Firm       3:20-cv-17060
  1269            Jordan, LaKisha                     The Segal Law Firm       3:20-cv-19615
  1270           Farrar, Patricia E                   The Segal Law Firm       3:20-cv-17067
  1271              Bader, Dawn                       The Segal Law Firm       3:20-cv-19544
  1272              Getty, Deena                      The Segal Law Firm       3:20-cv-12727
  1273              Jeffries, Joan                    The Segal Law Firm       3:20-cv-19169
  1274           Mapp, Virginia B                     The Segal Law Firm       3:20-cv-20224
  1275           Dawson, Pamela                       The Segal Law Firm       3:20-cv-18396
  1276          Oberg, Deborah A                      The Segal Law Firm       3:20-cv-15915
  1277           Payton, Kenneth                      The Segal Law Firm       3:20-cv-16355
  1278          Person, Tranetta                      The Segal Law Firm       3:20-cv-20218
  1279           Sasala, Shannon                      The Segal Law Firm       3:20-cv-20244
  1280              Shull, Kimeri                     The Segal Law Firm       3:20-cv-14963
  1281           Smith, Tarnasha                      The Segal Law Firm       3:20-cv-16263
  1282              Butler, Laura                     The Segal Law Firm       3:20-cv-18507
  1283          Swope, James W                        The Segal Law Firm       3:20-cv-16408
  1284               White, Erica                     The Segal Law Firm       3:20-cv-18673
  1285         Williams, Shavonne                     The Segal Law Firm       3:20-cv-17041
  1286           Hayes, Roxanne                The Whitehead Law Firm, LLC     3:20-cv-10125
  1287             Price, Forest A             The Whitehead Law Firm, LLC     3:20-cv-13188
  1288          Whitehead, John                     Thornton Law Firm LLP      3:20-cv-02633
  1289           Osborne, Janice                     TorHoerman Law LLC        3:20-cv-20245
  1290              Joslyn, Robin                         Trammell PC          3:20-cv-20045
  1291           Lamont, Patricia                         Trammell PC          3:20-cv-18630
  1292             Carnley, Steve                     Wexler Wallace LLP       3:20-cv-09665
  1293             Ashby, Sheryl                    Williams Hart Law Firm     3:20-cv-08488




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